Case 1:25-cv-10139-LTS   Document 5-27   Filed 01/21/25   Page 1 of 14




             EXHIBIT Z
      Case 1:25-cv-10139-LTS     Document 5-27   Filed 01/21/25   Page 2 of 14

      THE CONGRESSIONAL GLOBE :

:                                   CONTAINING




    THE DEBATES AND PROCEEDINGS

                                        OF




                     THE FIRST SESSION


                                        OF




        THE THIRTY - NINTH CONGRESS .




                               BY F. & J. RIVES .




                        CITY OF WASHINGTON :
               PRINTED AT THE CONGRESSIONAL GLOBE OFFICE .
                                 1866 .
                  Case 1:25-cv-10139-LTS                             Document 5-27                   Filed 01/21/25                Page 3 of 14

 1866 .                                                 THE CONGRESSIONAL GLOBE .                                                                                  2869
    Mr. CHANDLER .                 I will then renew my      or for payment of bounties or pensions incident           section shall be so construed as to require the dis
motion , that the unfinished business be post                thereto , shall remain inviolate .                        franchisement of any loyal person who is now al
poned until to- morrow at two o'clock .                                                                                lowed to vote .
                                                                Section four , as it now stands , will be changed
  The PRESIDENT pro tempore . The motion                                              I
                                                             to section five , and propose to amend that sec              Mr. SUMNER . I simply wish to have that
of the Senator from Illinois is that the present             tion as follows : strike out the word " already ,'71      amendment     printed .
and all prior orders be postponed , and that the             in line thirty - four , and also the words " or              The PRESIDENT pro tempore . The order
Senate proceed to the consideration of the res               which may hereafter be incurred , " in line               to print will be entered .
olution from the House of Representatives                    thirty -five , and also the words " or of war " in           Mr. SUMNER .         I
                                                                                                                                               also ask the unanimous
proposing an amendment to the Constitution                   lines thirty - five and thirty - six , and insert the     consent of the Senate to introduce a bill of
of the United States . That is now the motion                word " rebellion " in lieu thereof ; and also             which no notice has been given , which I desire
before the Senate .                                          strike out the words " loss of involuntary ser            to have considered in connection with the other
  The motion was agreed to .                                 vice or labor " in line thirty - seven , and insert       measure , as it belongs to this group of recon
                  RECONSTRUCTION           .                 " the loss or emancipation of any slave ; but             struction measures .
                                                                                                                       • There being no objection ,
                                                             all such debts , obligations , and claims shall be                                       leave was granted
    The Senate , as in Committee of the Whole ,              forever held illegal and void . ”                         to introduce a bill ( S. No. 345 ) to enforce the
resumed the consideration of the joint resolu                   After consultation with some of the friends            amendment to the Constitution abolishing sla
tion ( H. R. No. 127 ) proposing an amend                    of this measure it has been thought that these            very by securing the elective franchise to col
ment to the Constitution of the United States ,              amendments will be acceptable to both Houses              ored citizens ; which was read twice by its title .
the pending question being on the amendment                  of Congress and to the country , and I now                   Mr. SUMNER .         I move that the bill be
                                                             submit them to the consideration of the Senate .          printed and laid upon the table .
offered by Mr. JOHNSON to strike out the third
 section , in the following words :                             The PRESIDENT pro tempore . The first                     The motion was agreed to .
  SEC. 3. Until the 4th day of July , in the year 1870,      question in order is the amendment proposed                          MESSAGE FROM THE HOUSE .
all persons who voluntarily adhered to the late              to the joint resolution by the Senator from
insurrection , giving it aid and comfort , shall be ex                                                                    A message from the House of Representa
                                                             Ohio , [ Mr. WADE . ]                                     tives , by Mr. MCPHERSON , its Clerk , announced
cluded from the right to vote for Representatives in
Congress and for electors for President and Vice                Mr. WADE .        I ask leave to withdraw that
                                                                                                                       that the House of Representatives had agreed
President of the United States .                             amendment      .
                                                                                                                       to the amendment of the Senate to the bill ( H.
  Mr. HOWARD .
taken on that motion .
                           I hope the vote will be               The PRESIDENT pro tempore . It is still
                                                             in the power of the mover , and he can with
                                                                                                                       R. No. 459 ) granting a pension to Anna E.
                                                                                                                       Ward .
    Mr. JOHNSON . Is there anything pro                       draw it if he pleases . The amendment is with               The message further announced that the
posed as a substitute for that section ?                      drawn . The question now is on the amend                 House of Representatives had passed the fol
    Mr. CLARK . Your motion precludes that                   ments proposed by the Senator from Michigan .             lowing bills of the Senate with amendments to
now . You move to strike out , simply .                          Mr. SAULSBURY . It is very well known                 each , in which it requested the concurrence
    Mr. JOHNSON .              I
                              ask for the yeas and            that the majority of the members of this body            of the Senate :
nays upon the amendment .                                    who favor a proposition of this character have               A bill (S. No. 184 ) to define more clearly
    The yeas and nays were ordered ; and being               been in very serious deliberation for several

         -
                   -
taken , resulted yeas 43 , nays 0 ; as follows :
   YEAS Messrs . Anthony, Buckalew , Chandler ,
                                                             days in reference to these amendments , and
                                                              have held some four or five caucuses on the
                                                                                                                       the jurisdiction and powers of the supreme
                                                                                                                       court of the District of Columbia , and for other
                                                                                                                       purposes ; and
Clark , Conness , Cowan , Cragin , Creswell , Davis , Doo     subject .   Perhaps they have come to the con               A bill ( S. No. 237 ) granting a pension to
little , Edmunds , Fessenden , Foster , Grimes , Guthrie ,    clusion among themselves that the amendments             Mrs. Martha Stevens .
Harris , Henderson , Hendricks , Howard , Howe , John
son , Kirkwood , Lane of Indiana , Lane of Kansas ,          offered are proper to be made , but this is the                           PRIVATE CLAIMS .
Morgan , Morrill , Nesmith , Norton , Nye , Poland ,          first intimation that the minority of the body
Pomeroy , Ramsey , Riddle , Saulsbury , Sherman ,
Stewart , Sumner , Trumbull , Van Winkle , Wade ,
                                                              has had of the character of the proposed change             Mr. CLARK .      I  ask that the Senate give
Willey , Williams , and Wilson 43.
  NAYS 0.-                             -                     in the constitutional amendment . Now , sir ,
                                                              it is nothing but fair , just , and proper that the
                                                                                                                       me a little time on Friday next for the purpose
                                                                                                                       of disposing of certain private claims , if there
  ABSENT     -                     -
               Messrs . Brown , Dixon , McDougall ,           minority of the Senate should have an oppor              be no objection .
Sprague , Wright , and Yates 6.
   So the amendment was agreed to .
                                                             tunity to consider these amendments ; and             I     Mr. FESSENDEN . I shall object to that
                                                             rise for the purpose of moving that these amend           unless the constitutional amendment is disposed
   Mr. HOWARD .            Inow offer a series of            ments , together with the original proposition ,          of by that time .
amendments to the joint resolution under con                 be printed , so that we may see them before we              Mr. CLARK .       I will state that   Iwill not
sideration , which I will send to the Chair .                 are called upon to vote on them . Certainly              antagonize them with the constitutional amend
   Mr. FESSENDEN . Take them one section                     there can be no graver question , no more seri            ment , or a public necessity of that kind , but   I
at a time .                                                  ous business that can engage the attention of             should like to have an understanding that         I .
   Mr. HOWARD . I will state very briefly                    this Senate than a proposed change in the                 may have an hour or so on Friday next for the
what they are .        I
                       propose to amend section              fundamental law .                                         consideration of private claims , if there is no
one of the article by adding after the words                     Mr. FESSENDEN . I will say to the Sena                other public business of pressing importance
"  section one" the following words , which will             tor that if any gentleman on that side of the             in the way .
of course constitute a part of section one :                  Chamber desires that these amendments            be                    APPROVAL OF BILLS .
  All persons born in the United States and subject          laid upon the table and printed , there is no               A  message from the President of the United
to the jurisdiction thereof are citizens of the United       objection to that .
States and of the States wherein they reside .                                                                         States , by Mr. COOPER , his Secretary , announced
                                                                 Mr. SAULSBURY . Then I will defer any                 that the President of the United States had
   The second amendment                                      further remarks , and make that motion .                  approved and signed , on the 26th instant , the
   Mr. FESSENDEN . Let us take a vote on                         The PRESIDENT pro tempore . It is moved
the first one .                                                                                                        following act and joint resolutions :
                                                             that the amendments be printed and that the                  An act ( S. No. 318 ) to authorize the appoint
   Mr. TRUMBULL . The Senator had better                     further consideration of the joint resolution be
state all the amendments .
                                                                                                                       ment of an additional Assistant Secretary of
                                                             postponed until to - morrow .
                                                                                                                       the Navy ;
   Mr. JOHNSON .           I
                           hope we shall hear them               The motion was agreed to .
                                                                                                                          A joint resolution ( S. R. No. 74 ) providing
all .
   Mr. HOWARD . The second amendment
                                                                 Mr. SUMNER .             I
                                                                                       wish to give notice of an       for the acceptance of a collection of plants
                                                             amendment which at the proper time I intend               tendered to the United States by Frederick
is to amend the second section by striking out               to offer to Senate bill No. 292 , entitled " A bill
the word " citizens , " in the twentieth line ,                                                                        Pech ; and
                                                             to provide for restoring to the States lately in             A joint resolution ( S. R. No. 97 ) to author
where it occurs , and inserting after the word               insurrection their full political rights . " It is        ize certain medals to be distributed to veteran
" male " the words " inhabitants , being citizens            to strike out all after the enacting clause of the        soldiers free of postage .
of the United States ; " and by inserting 11
                                                     at      first section and to insert a section as a substi
the end of that section the words            any such
                                                                            I
                                                             tute which ask to have printed .
                                                                                                                                      MARTHA STEVENS .
        99
State . '
   The third section has already been stricken
                                                                 Mr. JOHNSON and Mr. STEWART . Let
                                                             it be read .
                                                                                                                         Mr. LANE , of Indiana .      Imove to take up
                                                                                                                       Senate bill No. 237 , granting a pension to Mrs.
out . Instead of that section , or rather in its                The PRESIDENT pro tempore . The pro                    Martha Stevens , which has been returned from
place , I offer the following :                              posed amendment will be read , if there be no             the House of Representatives with an amend
  SEC. 3. No person shall be a Senator or Represent          objection .                                               ment. The bill as it passed the Senate gave a
ative in Congress , or an elector of President and
Vice President , or hold any office, civil or military ,        The Secretary read it , as follows :                   pension of twenty dollars a month ; the amend
under the United States , or under any State , who ,           Strike out all after the enacting clause of the first   ment of the House reduces it to seventeen dol
having previously taken an oath as a member of               section of the bill and insert in lieu thereof the fol    lars a month , the amount allowed in the case .
Congress, or as an officer of the United States , or as      lowing :
a member of any State Legislature , or as an execu             That when any State lately in rebellion shall have      of a first lieutenant .
tive or judicial officer of any State , to support the       ratified the foregoing amendment and shall have              The amendment was concurred in .
Constitution of the United States , shall have engaged       modified its constitution and laws in conformity
in insurrection or rebellion against the same; , or          therewith , and shall have further provided that there              DISTRICT SUPREME COURT .
given aid or comfort to the enemies thereof but              shall be no denial of the elective franchise to citi
Congress may , by a vote of two thirds of each House ,       zens of the United States because of race or color ,         On motion of Mr. WADE , the amendments
remove such disability.                                      and that all persons shall be equal before the law,       of the House of Representatives to the bill ( S.
   The following is to come in as section four :
                                                             the Senators and Representatives from such State ,  if
                                                             found duly elected and qualified , may , after having
                                                                                                                       No. 184 ) to define more clearly the jurisdiction
  The obligations of the United States incurred in,          taken the required oaths of office , be admitted into     and powers of the supreme court of the Dis
                                                             Congress as such : Provided , That nothing in this        trict of Columbia , and for other purposes ,
suppressing insurrection , or in defense of the Union                                                                                                               were
                   Case 1:25-cv-10139-LTS                                                            Document 5-27                                         Filed 01/21/25                                   Page 4 of 14

 2890                                                                                    THE CONGRESSIONAL GLOBE .                                                                                                                                                       May 30 ,
                                                                                                               DEATH           OF GENERAL SCOTT                                               No State shall make or enforce any law which shall
   The motion was agreed to ; and Messrs .




                                                                                                                                                                   .
                                                                                                                                                                                              abridge the privileges or immunities of citizens of
 WILSON , ANTHONY , and HENDRICKS were ap                                                         The PRESIDENT pro tempore laid before                                                       the United States nor shall any State deprive any
                                                                                                                                                                                              person of life liberty or property without due pro




                                                                                                                                                                                                                              ,
 pointed conferees on the part of the Senate .                                                  the Senate the following message from the




                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                   ,



                                                                                                                                                                                                                                       ,
                                                                                                                                                                                              cess of law nor deny to any person within its juris
                                                                                                President of the United States




                                                                                                                                                                                                                ,
     FORTIFICATION   APPROPRIATION    BILL .                                                                                                                                                  diction the equal protection of the laws




                                                                                                                                                          :




                                                                                                                                                                                                                                                                         .
                                                                                                 To the Senate and House of Representatives                                                      Mr. DOOLITTLE




                                                                           its
   The Senate proceeded to consider      amend                                                                                                                                                                           presume the honor




                                                                                                                                                                                       :




                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                            .
                           No. 255 making ap



                                     H.
          the bill                                                                                 With sincere regret announce          Congress                                             able Senator from Michigan does not intend




                                             R.
          to




                                                                                                                                                                   to
 ment




                                                                 )
                                 (




                                                                                                                                        I
 propriations for the construction preservation                                                  that Winfield Scott late lieutenant general                                                  by this amendment




                                                                                                                                                                                       in
                                                                                                                                                                                                                     include the Indians




                                                                                                                                                                                                                                            to




                                                                                                                                                                                                                                                                                             II
                                                                                          ,




                                                                                                                                   ,
                                                             ,




                                                                                                                                                                                                                                                                                         .
                                                                                                the Army of the United States departed this




                                                                                                                                                                                                                                                                                     --
 and repair of certain fortifications and other                                                                                                                                               move therefore       amend the amendment




                                                                                                                                                                                                                                       to
                                                                                                                                                                                                                              ,
                                                                                                                                                          ,




                                                                                                                                                                                                       ,
           defense for the year ending June




                                                                                         30




                                                                                                                                                                                                                                                                                              by
                                                                                                                      the State of New York on
           of




 works                                                                                          life   West Point                                                                             presume he will have no objection




                                                                                                                                   in




                                                                                                                                                                                                                                                                                 to
                                                                                                     at




                                                                                                                                                                                                                                                                                 it
                                                                                         ,




                                                                                                                              ,




                                                                                                                                                                                  ,
 1867 which was disagreed       by the House of



                                                      to
                                                                                                the 29th day     May instant                                                                  inserting after the word




                                                                                                                        . of




                                                                                                                                                         at
                                                                                                                                   eleven o'clock                                                                         thereof the words
      ,




                                                                                                                                                                                                                                                     "
                                                                                                                                                  ,




                                                                                                                                                                                                                                                                          "
                                                                                                in the forenoon      feel well assured that Con




                                                                                                                                                                                              (6
 Representatives                                                                                                                                                                                excluding Indians not taxed      The amend




                                                                                                                              I




                                                                                                                                                                                                                                                                   "
                            .




                                                                                                                                                                                                                                                               .
     Mr. FESSENDEN                                 move that the Sen                                               the grief    the nation which                                              ment would then read




                                                                                                                                                     of
                                                                                                gress will share




                                                                                                                              in
                                             I
                                        .




                                                                                                                                                                                                                                               :
ate insist on its amendment and agree                                                           must result from its bereavement of citizen




                                                                                 to
                                       the




                                                                                                                                                                        a
                                                      ,                                                                                                                                         All persons born in the United States and subject




                                                                                                                                                                                                                                                                           ,
conference asked by the House                                                                   whose high fame      identified with the military                                             to the jurisdiction thereof excluding Indians not




                                                                                                                               is




                                                                                                                                                                                                                                                 ,
                                                            ; .                                                                                                                               taxed are citizens of the United States and of the
                                                          to
  The motion was agreed        and Messrs                                                       history of the Republic




                                                                                                                                                                                                     ,
MORGAN MORRILL and SAULSBURY were ap
                                                                                                                                                                                              States wherein they reside




                                                                                          .




                                                                                                                                            .
                                                                                                                                    ANDREW JOHNSON




                                                                                                                                                                                                                                                 .
                                                                                                                                                                                  .
              ,




                                 ,




pointed conferees on the part of the Senate                                                                                    May                                                                  Mr. HOWARD                  hope that amendment




                                                                                                                                            30
                                                                                                    WASHINGTON                                   1866




                                                                                                                                                                                                                                            I
                                                                                      .




                                                                                                                         ,




                                                                                                                                            ,




                                                                                                                                                                                                                                       .
                                                                                                                                                      .




                                                                                                                                                                                              to
                                                                                                    Mr. WILSON                                                                                     the amendment will not




                                                                                                                                                                                                                                                          be
                       WOMEN'S HOSPITAL                                                                                                 offer the following reso                                                                        adopted      Indians




                                                                                                                                 I




                                                                                                                                                                                                                                                                              .
                                                                                                                            .
                                                               .




    Mr. MORRILL There                bill on the table                                          lution                                                                                         born within the limits of the United States




                                                                                                                                                                                                                                                                                              ,
                                                   is
                                                       a




                                                                                                        :
                                 .




                                                                                                   Resolved by the Senate the House of Representa                                              and who maintain their tribal relations are not
which comes from the House of Representa




                                                                                                                                                                                                                                                                               ,



                                                                                                                                                                                                                                                                                              ,
                                                                                                                                     ,
                                                                                                                                    (
                                               up and                                           tives concurring    That the Committee on Military                                             in the sense of this amendment born subject
                                                       to




 tives amended                        call
                                                                      it


                         desire




                                                                                                                                                                                                                                                                    ,
                                                                                                                        )
                                                                                                                        .
                                                                                                Affairs and the Militia of the Senate and the Com
                              I
                          .




                                                                                                                                                                                                   the jurisdiction                                     They




                                                                                                                                                                                                                                        of
                                                                                                                                                                                               to
                                           Senate bill                                                                                                                                                                      the United States
                                                                 is




 concur in the amendments
                                                          It




                                                                                                mittee on Military Affairs                Represent




                                                                                                                                            of




                                                                                                                                                                   of
                                                                                                                             the House




                                                                                                                                                                                                                                                                                  .
                                                  .




                                                                                                                                                joint                                          are regarded        and always have been




                                                                                                                                                                                                                                                                                      in
               incorporate the Women's Hospital                                                 atives be and they are hereby appointed                                                                                                                    our
                  to




 No. 167




                                                                                                                                                                                                                       ,
                                                                                                                                                                             a
                                                                                                     ,

                                                                                                             ,




                                                                                                                                                      ,
          ,




                                                                                                committee of the two Ilouses of Congress to take into                                          legislation and jurisprudence                   being quasi




                                                                                                                                                                                                                                                                      as
 Association of the District of Columbia




                                                                                                                                                                                                                                                               ,
                                                                                                consideration the   message  of the President of the
                                                                            .




    Mr. HOWARD                      very nearly one                                                                                                                                            foreign nations
                                                                                                United States announcing to Congress the death of
                                                   is
                                             It




                                                                                                                                                                                                                           . .
                                                                                                                                                                                                   Mr. COWAN
                                  .




                    hope the joint resolution                                                   Lieutenant General Winfield Scott and to report                                                                          The honorable Senator from
 o'clock and
                                                                                          to




                                                                                                                                                           ,
          ,



                       I




                                                                                                what method should be adopted by Congress to man                                                Michigan has given this subject
amend the Constitution will be taken up                                                                                                                                                                                                             have no




                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                         ,
                                                                                                ifest their appreciation    the high character tried




                                                                                                                                        of
                                                                                                                                                                                                           good deal of his attention and am
                                                                                 .




    Mr. MORRILL This                                                                                                                                                                           doubt




                                                                                                                                                                             ,
                                  pending simply on                                             patriotism and distinguished public services of Licu




                                                                                                                                                                                                        a




                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                        ,




                                                                                                                                                                                                                                                                             ,
                                                  is




                                                                                                               ,
                                 .




                                                                                                                                                                                               really desirous                        legal




                                                                                                                                                                                                                                                                                             of
                                                                                                tenant General Winfield Scott and their deep sensi                                                                        have                definition




                                                                                                                                                                                                                                   to
                  concurring
                       of




                                                   in




    question




                                                                                                                                                                                                                                                     a
                                   the amendments




                                                                                                                                                  ,
                                                                                                bility upon the announcement of his death
a




                                                                                                                                                                                                                            of
 made by the House           bill of the Senate and                                                                                                                                               citizenship          the United States               What




                                                                                                                                                                                                                                                                              "
                                                                                                                                                                                              "
                                        to




                                                                                                                                                                        .




                                                                                                                                                                                                                                                                             .
                                        a




                                                                                 ,




                                                                                                   There being no objection the Senate pro                                                     does     mean         What       its  length




                                                                                                                                                                                                       it




                                                                                                                                                                                                                                                is
will not occupy two minutes                                                                                                                                                                                                                  and breadth




                                                                                                                                                                                                                       ?




                                                                                                                                                                                                                                                                                              in ?
                                                                                                                                                      ,
                                                                                                                                                                                                                 glad
                                                      .




                                                                                                                                                                                                   would be                the honorable Senator
                                                                                                             to




                                                                                                                                                                                                                                    if
                                                                           go
                                        If




    Mr. HOWARD                                 beyond                                           ceeded     consider the resolution and




                                                                                                                                                                                              I
                                does not




                                                                                                                                                                              it
                                                                                                                                           was
                                              it




                                                                                                                                                                ;
                                 .




                                                                                                adopted unanimously                                                                            good earnest would favor us with some such
one o'clock      shall not object
                  I




                                                                                                                                        .

                                                                                                   Mr. WILSON As this committee                                                                                 Is the child of the Chinese immi
                                                       .




    Mr. MORRILL Let come up                                                                                                              to be                                                 definition




                                                                                                                                                                         is
                                                 move
                                                                         I
                                                  it




                                                                                                                                                                                                                .
                                                                                                                            .
                                 .




                                                                                                  joint one and the resolution will have                                                       grant in California                           the child of
                                                                      .




                                                                                                                                                                                                                                                                    Is
                                                                                                                                                                                                                             citizen




                                                                                                                                                                               to
to take up                                                                                                                                  be
          it




                                                                                                                                                                                                                                         a
                                                                                                                                                                                                                                                                                             If




                                                                                                                                                                                                                                                              ?
                                                                                                a




                                                                                                                   ,




                                                                                                acted on by the House                                                                             Gypsy born            Pennsylvania
                   .




                                                                                                                                                                                                                              in
                                                                                                                                                                                                                                               citizen
                                                                                                                                                of

    The motion was agreed                                                                                                   Representatives
                                                      to




                                      and the Senate




                                                                                                                                                                                              a




                                                                                                                                                                                                                                                                       a




                                                                                                                                                                                                                                                                                       ?
                                                      ;




                                                                                                                                                                                   I
                                                                                                                                                                                  ,
                                                                                                                                                                                                     what rights have they                Have they any




                                                                                                                                                                                               so
                                                                                                move for the present that the message




                                                                                                                                                                              of
                 consider the amendments of the
                   to




proceeded                                                                                                                                  the




                                                                                                                                                                                                                                                         ?
                                                                                                                                                                                               ,
                                                                                                     ,




                                                                                                                                        ,




                                                                                                President be laid upon the table and printed                                                   more rights than              sojourner          the United




                                                                                                                                                                                                                                                                        in
              of




 House       Representatives         the bill     No.
                                                                                                                                                                                                                  If
                                                       to




                                                                            S.




                                                                                                                                                                                                                                        a
                                                                                                                                                           ,

                                                                                                                                                                                                                  traveler comes here from Ethio
                                                                            (




                                                                                                                                                                                       .
          incorporate the Women's Hospital As                                                      The motion was agreed to                                                                     States




                                                                                                                                                                                                                       a
         to




                                                                                                                                                                                                         ?
167
     )




                                                                                                                                                     .




sociation of the District of Columbia                                                                                                                                                          pia from Australia




                                                                                                                                                                                                                                                                                              he
                                                                                                                                                                                                                                               or
                                                                                                                         RECONSTRUCTION                                                                                         from Great Britain




                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                        ,




                                                                                                                                                                                                                                                                                         ,
                                                                       .




                                                                                                                                                          .




                                                                                                                                                                                                                            to
    The PRESIDENT pro tempore                                                                                                                                                                      entitled



                                                                                                                                                                                              is
                                                                                                                                                                                                                      certain extent            the protec




                                                                                                                                                                                                                                                                        to
                                              The first




                                                                                                                                                                                                                       is . a
                                                                                                                                                                                                                ,




                                                                                                                                                                                                                                                                   ,
                                                                                                    Mr. HOWARD                 now move to take up                                             tion of the laws         You cannot murder him with
                                                                     .
                       of




                                                                                                                                   I




amendment         the House has already been con
                                                                                                                               .




                                                                                                 House joint resolution No. 127                                                                impunity                               kill him the same




                                                                                                                                                                                                                                                       . to
curred in




                                                                                                                                                                                                                    It
                                                                                                                                                                                                                      murder
                                                                                                                                                          .




                                                                                                                                                                                                                                                                             ,
              .




                                                                                                                                                                                                        to kill another man




                                                                                                                                                                                                               .
                                                                                                    The motion was agreed to and the Senate                                                                                             You cannot com


                                                                                                                                                                                                    is
                                                                                                                                                                                               as


                                                                                                                                                                                                    it
    The Secretary read the second amendment
                                                                                                                                                      ;




                                                                                                                                                                                       ,

                                                                                                as in Committee of the Whole resumed the                                                       mit an assault and battery on him                      appre
of




                          of




                                                                                                                                                           ,
                                                                                         in




     the House      Representatives      which was




                                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                              ,
                                                                                                                        the joint resolution H. R.
                                                              ,




                                                                                                                            of




                                                                                                consideration                                                                                            He has right              the protection




                                                                                                                                                                                                                                                 to
                                                                                                                                                                                               hend




                                                                                                                                                                                                                                                                                       of
the first section line three after the name                                                                                                                                                                                                               the




                                                                                                                                                                                                                               a
                                                                                                                                                                         (
                             ,




                                                                                                                                                                                                    ; .
                                                       ,




                                                                                                No. 127 proposing an amendment                   the Con                                                                                      the ordinary




                                                                                                                                                                                                                                                                    in
                                                                                                                                                                    to




                                                                                                                                                                                               laws but he            not




                                                                                                                                                                                                                           is
    Adelaide      Brown       to strike out all the                                                                                                                                                                             citizen
                   J.
"




                                                                                                                                                                                                                                             a
                                                                                                           )
                                          "
                                        ,




                                             Mary                                                stitution of the United States                                                                acceptation of the word
                                                                                         K.
                                                                 of




             and including that
                                                                                                                                                      .
              to




                                                                                                                                                                                                                                                 .
names
                                                                     "




                                                                                                   The PRESIDENT pro tempore                    The ques                                                perfectly clear that the mere fact that
                                                                                                                                                                                                 It

                                      that of    Mary
                                                                                                                                                                                                       is is

Lewis         line seven    except
               " in




                                                                            "




                                                                                                                                                                                                                                                                                              a
                                                                                                                                                               .
         ,




                                         ,
         "




                                                                                                tion       on the amendments           proposed by the
                                                                                                        is




                                                                                                                                                                                                                    the country has not heretofore
W. Kelly                                                                                                                                                                                                                is to in
               and      insert     Elmira W. Knap                                                                                                                                              man      born
                                 , to




                                                   "




                                                                                                 Senator from Michigan
               ,




                                                                                          ,




                                                                                                                                  Mr. HoWARD                                                                         the right         exercise political




                                                                                                                                                                                                                                                       , to
Mary       Havermer Mary Ellen Norment Jane                                                                                                                                                    entitled him
          C.




                                                                                                                                             ,




                                                                                                                                                                         ]
                                                                                                                                            [




                                                                                                                                                                         .




                                                                                                    Mr. HOWARD               The first amendment to
                                                                                 ,




                                                                                                                                                                                  is




                                                                                                                                                                                               power       He       not entitled by virtue of that
Thompson Maria            Harkness Isabella Mar
                                     L.




                                                                                                                               .




                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                        .
                                                          F. ,
               ,




garet Washington and Mary
                                                                                                section one declaring that              all persons born                                      to be an elector             An elector is one who is
                                                                                                                                                     "




                                       Smith
                                                                                                                   ,




                                                                                                                                                                                                                                   .
                                                                             "




                                                                                                                                                the juris
                                 ,




                                                                           .




                                                                                                in




    Mr. MORRILL                                                                                     the United States and subject                                                              chosen by the people              perform that function
                                                                                                                                                                                                                                                to
                                                                                                                                                                   to




                            move that the Senate
                                                                                                                                    ,
                                     I




                                                                                                                                                                                                                                                                                              ,
                                 .




                                                                                                diction thereof are citizens of the United                                                     just the same                               one chosen by
                                                                                                                                                                                                                                   as



concur in that amendment                                                                                                                                                                                                 an officer


                                                                                                                                                                                                                                                               is
                                                                                                                         ,
                                                  .




                                                                                                States and of the States wherein they reside




                                                                                                                                                                                                                                                                                        of
                                                                                                                                                                                              the people
                                                                                                                                                                                                                       I to



                                                                                                                                                                                                                    exercise the franchises                 an
                                                                                                                                                                                      "
                                                   to




    The motion was agreed
                                                                                                                                                                                   .




                                                                                                   do not propose           say anything on that sub
                                                   .




                                                                                                                                   to




                                                                                                                                                                                                         Now         should like           know because
                                                                                                                                                                                                                                                               a to
                                                                                                                                                                                               office
                                                                                                I




    The next amendment was after the word
                                                                                                                                                                                                                       ,




                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                       .




                                                                                                ject except that the question             citizenship has                                      really have been puzzled for long while and
                                                                                                                                                       of




                                                                                                                                                                                                    I




                    the end of section one
                                                                                 to




    Columbia                                      add                                                       fully discussed
                            at
""




                                                                                                                                                                                       to
                                                                                                                                             in
                                                                                                          so




                                                                                                been                                this body                                                                               determine exactly either
                                                                                                                                                                         as




                                                                                                                                                     not                                       have been unable
                   ,




                                                                            ,
                   "




                                                                                                                                                                                                                                        to




                                                                                                                                                                                                                                                                                  ,
    by the name                          Hospital for
                              of




                       the Columbia                                                             need any further elucidation                 my opinion                                       from conversation with those who ought
                                                                                                                                                           in




                                                                                                                                                                                                                                                                                             to
                                     71
                                                                                                                                                      ,




Women and       Lying     Asylum
                                                                                                                                                                                       .
                                        in




                                                                                                This amendment which have offered                   simply                                    know who have given this subject their atten
                                 . -




    Mr. MORRILL
                                                                                                                                                                        is
                                                        .'




                            move that the Senate
                                                                                                                                         I




                                                                                                                                                                                                       ,




                                                                                                declaratory of what regard
                                     I




                                                                                                                                           the law of the
                                                                                                                                                          as




                                                                                                                                                                                                                                            the Supreme
                                                                                                                                                                                                                                                                   of
                                                                                                                                                                                                           or




                                                                                                                                                                                               tion       from the decisions
                                                                                                                                    I




 concur in that amendment
                                                                                                                                                                                                    ,




                                                                                                land already that every person born within the
                                                  .




                                                                                                                                                                                               Court the lines and boundaries which circum
                                                                                                                   ,




                                                                                                                                                                                                       ,




    The motion was agreed
                                                   .to




                                                                                                limits of the United States and subject
                                                                                                                                                                                                                                                                    of



                                                                                                                                                      their
                                                                                                                                                                             to




                                                                                                                                                                                               scribe that phrase              citizen         the United
                                                                                                                                                                                                                                            ?"
                                                                                                                                                 ,




                                                                                                                                                                                                                                        it ,




    The next amendment was in section two                                                        jurisdiction          by virtue
                                                                                                                                                  of




                                                                                                                                        natural law and                                                     What
                                                                                                                                                                                                                                   is
                                                                                                                                                                                                        "
                                                                                                                       a is




                                                                                                                                                                                               States
                                                                                          ,




                                                                                                                   ,




                                                                                                                                                                                                        .




line two to strike out the word twelve and                                                      national law           citizen of the United States                                               So far  as  the   courts     and   the   administration
                                                               "



                                                                                 "




                                                                                                                                                                                       .




         86
insert twenty four            the number of direct                                              This will not of course include persons born
                                             as




                                                                                                                                                                                              of




                                                                                                                                                                                                   the laws are concerned                 have supposed
                                                                                                                   ,




                                                                                                                                            ,
                                     "
                          -




                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                        ,




ors
                                                                                                in




                                                                                                    the United States who are foreigners aliens                                               that every human being within their jurisdic
    .




                                                                                                                                                                        ,



                                                                                                                                                                                       or ,




     The amendment                   was concurred                    in                        who belong                                                                                    tion was in one sense of the word
                                                                                                                                                      of




                                                                                                                                                                                                                                                    citizen
                                                                                                                       to




                                                                                                                    the families         embassadors
                                                                       .




                                                                                                                                                                                                                                                                              a




                                                                                                                                                                                                                                                                                             in ,




                                                                                                foreign ministers accredited                                                                                                          protection but
                                                                                                                                                           to




   The next amendment was in section three                                                                                                  the Govern                                                     person entitled
                                                                                                                                                                                                                                                     to




                                                                                                                                                                                              that
                                                                                                                                                                                                       is




                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                           as a
                                                                                          ,




                                                                                                                                                                                                        ,




after the word directors at the end of line                                                     ment of the United States              but will include                                                    the right           hold property particu
                                                                                                                                                                                                                                            to
                                                                                                                                                                                               so




                                                                                                                                                                                                   far
                                                                                                                                                  ,
                          ""


                                                  "




                                                                                                                                                                                                                                                                              ,




three to insert to consist of the first twelve                                                                                persons                                                                                   acquire title
                                                                                                                                                              It




                                                                                                every other class
                                                                                                                                    of




                                                                                                                                                                                              larly the right
                                                                                                                                                                                                                                                                    to




                                                                                                                                               settles the                                                                                    real estate
                                                                                                                                                                                                                               to




                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                      .




                                                                                                great question           citizenship and removes all                                                                                     subject entirely
                                                                                                                            of




of the above named incorporators                                                                                                                                                              was concerned that was
                                                                                                                                                                                                                                                          a
                                                                                                                                                                                                                            ,
                                                                     "
                      -




                                                                                                                         persons             are not citi                                                                of
                                                                  .




                                                                                                                  to




                                                                                                                                                           or




                                                                                                                                                                                                                                                                           It
                                                                                                             as




   The amendment was concurred in                                                               doubt            what               are                                                       within the control             the   States         has been
                                                                                                                                                                                                                                                                   .
                                                                       .




                                                                                                                                     This has long been                                                                the State of Pennsylvania
                                                                                                        of




                                                                                                zens       the United States
                                                                                                                                                                                                                             in
                                                                                                                                                                                               so




                                                                                                                                                                                                   considered
                                                                                                                                                                                                                                                                                             ;




   The next amendment                             was       in section four
                                                                                                                                             .




                                                                                                                                                                                              and aliens and others who acknowledge no
                                                                                          ,




                                                                                                   great desideratum            the jurisprudence and
                                                                                                                                        in




                                                                                      first
                                                                                                a




line one33 after the word                         the                insert
                                                               to




                                                                                 "




                                                                                                                                                                                                                                                                    or
                                              "




                                                                                                                                                                                                                                                                    to




                                                                                                                                                                                                                                                  the Gen
                                                        "




                                                                                                                   of




                                                                                                legislation       this country
           ,




                                                                                                                                                                                                                                        to




                                                                                                                                                                                              allegiance     either         the State
                                                                                                                                                                                                                ,




twelve
                                                                                                                                             .




                                                                                                   The PRESIDENT              pro
         .




   The amendment was concurred in
                                                                                                                                   tempore       The first                                    eral Government may be limited and circum
                                                                                                                                                                                                                                   ,
                                                                                                                                                                .




                                                                                                amendment proposed by the Senator from
                                                                      .




                                                                                                                                                                                                             that particular
                                                                                                                                                                                                               in




                                                                                                                                                                                              scribed                                     have supposed
                                                                                                                                                                                                                                                        I



                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                     .




   The next amendment was                                                                                                                                                                                                                the existence of
                                                           " in in




                                section five                                                    Michigan will be read
                                                                                                                                                                                                                                                              to




                                                                                                                                                                                              further that        was essential
                                                                                                                                                                                                                    it
                                                                                         to ,




                                                                                                                                        .




                                                                                                                                                                                                        ,




after the word   Women        line three
                             - "




                                                                                                   The Secretary read the amendment                                                           society itself and particularly essential
                                                  "




                                                                                                                                                                                                                                                                                       to
                                                                                     ,




                                                                                                                                                     which                                                                                                the
                                                                                                                                                                    ",




                                                                                                                                                                                                                    ,




insert and Lying   Asylum
                                     in




                                                                                                           line nine after the words               section                                    existence of free State that                   should have
                                                                                                        in




                                                                                                was
                                                                                                                                                                                                                                                                   it
                                                        .




                                                                                                                               ,




                                                                                                                                                                                                                       a




                                                                                                                                                                                                                                                   ,




  The amendment was concurred in                                                                                                                                                                                                declaring
                                                                                                                                                                                                                                             of




                                                                                                         to insert                                                                            the power not only                              who should
                                                                       .




                                                                                                one
                                                                                                    ,
                                                                                                     "



                                                                                                                        :




                                                                                                                                                                                                                ,




                                                                                                                                                                                                                                                                    its




                               section five                                                                               the United States and subject                                       exercise political power within                 boundaries
                                                             in




   The next amendment was                                                                          All persons born
                                                                                                                               in




                                                                                                                                                                                                                                                                                             a ,
                                                                                         ,




                                                                                                                                                                ,




                          with to insert                                                               jurisdiction   thereof are citizens of the United                                                                               by  another and
                                                                                                                                                                                                               if




line four after the word                                                                        to the                                                                                        but that           were overrun
                                                                                                                                                                                                                    it
                                                   "




                                                                                                                                        ,
                                                                     "




                                                                                                States and of the States wherein they reside
               ,




                                                                                                                                                                                                                      would have the right
                                                                                                                                                                                                                                                                                  to




                                                                                                                                                                                                                                                       abso
                                                                                                                                                                        .




                                                                                                                                                                                              different race
                                                                                                                                                                                                                           it




   board lodging
                                                                                                                                                                                                                       ,
                              "
"




                                                                                                   So that the section will read                                                                                                        know     that there
          ,




                                                                                                                                                                                                                                   not
                             .




                                                                                                                                                                                              lutely   expel                  do
                                                                      in




   The amendment was concurred                                                                                                                                                                                 them
                                                                                                                                                                                                                                       I
                                                                                                                                                         :
                                                                      .




                                                                                                                                                                                                                              to .




                                                                                                                                                                                                                                                                                     of in
                                                                                                                                                                                                                                                     of




                                                                                                         All persons born the United States and                                                                                                          this
                                                                                                                                             in




                                                                                                                                                                                                                        many        the States
                                                                                                       1.




                                                                                                  SEC                                                                                              any danger
                                                                                                                                                                              of ,



                                                                                                                                                                                              is




   The PRESIDENT pro tempore The amend
                                                                                                       .




                                                                                                subject   the jurisdiction thereof are citizens  the
                                                                                                     to




                                                                                                                                                                                                                  proposed that the people              Cal
                                                                                                                                                      ,
                                                               .




                                                                                                United States and of the States wherein they reside                                           Union but
                                                                                                                                                                                                                    is
                                                                                                                                                                                                                       it




ments are completed
                                                                                                                                                                                                        ;
                                                                                                                                                                                       .
                                        .
                                Case 1:25-cv-10139-LTS                                                                      Document 5-27                                           Filed 01/21/25                                Page 5 of 14

 1866 .                                                                                               THE CONGRESSIONAL                                                                   GLOBE .                                                                                        2891
  ifornia are to remain quiescent while they are                                                             gara come or whither they go , but it is under                                                         and Mongolians        that favored land




                                                                                                                                                                                                                                                                to
                                                                                                                                                                                                          Chinese




                                                                                                                                                                                                                                                                                                      ,
  overrun by a flood of immigration of the Mon                                                               stood that they are a distinct people . They                                                     may be excused for saying         few words on




                                                                                                                                                                                                                                                                         a
                                                                                                                                                                                                          I
  gol race ? Are they to be immigrated out of                                                                never intermingle with any other . They never                                                the subject
                                                                      I                                                                       believe there is          I




                                                                                                                                                                                                                              .
  house and home by Chinese ?                                                                                intermarry with any other .                                                                         my friend from Pennsylvania who pro




                                                                                                                                                                                                            If
                                          should think




                                                                                                                                                                                                                                                                                   ,
  not . It is not supposed that the people of                                                                no instance on record where a Zingara woman                                                  fesses to know all about Gypsies and little
                                  general                                                                    has mated with a man of any other race , al




                                                                                                                                                                                                                                                           as




                                                                                                                                                                                                                                                                              of
               ,
   California in a broad and                sense , have                                                                                                                                                  about Chinese knew           much       the Chinese




                                                                                                                                                                                                                                       ,
  any higher rights than the people of China ;                                                               though it is true that sometimes the males of




                                                                                                                                                                                                                                                as
                                                                                                                                                                                                          and their habits                           do of the




                                                                                                                                                                                                                                                                                toto
                                                                                                                                                                                                                                  he professes
  but they are in possession of the country of                                                               that race may mate with the females of others ;                                              Gypies     and which        concede       him for
                                                                                                                   I




                                                                                                                                                                                                                                                      I




                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                    ,




                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                   (
   California , and if another people of a different                                                         but think there is no case in history where it                                               know    nothing     the  contrary     he would not




                                                                                                                                                                                                                                          to




                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                     )
  race , of different religion , of different      man                                                       can be found that a woman of that race , so                                                  be alarmed in our behalf because of the oper
  ners , of different traditions , different tastes                                                          exclusive  are they , and so strong are their                                                ation of the proposition before the Senate or




                                                                                                                                                                                                                                                                                              ,
                           to         there  and                                                             sectional antipathies , has been known to mate                                               even the proposition contained              the civil




                                                                                                                                                                                                                                                                                   in
  and   sympathies     are    come                  have
  the free right to locate there and settle among                                                            with a man of another race . These people                                                    rights bill




                                                                                                                                                                                                                                   so



                                                                                                                                                                                                                                                      as
                                                                                                                                                                                                                            far        involves the Chinese




                                                                                                                                                                                                                                                           it
                                                                                                                                                                                                                              ,
                     if
  them , and they have an opportunity of pour                                                                live in the country and are born in the coun                                                 and us




                                                                                                                                                                                                                   .
  ing in such an immigration as in a short time                                                              try . They infest society . They impose upon                                                    The proposition before             will say Mr.




                                                                                                                                                                                                                                                                    us




                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                    ,
                                                                                                             the simple and the weak everywhere .            Are                                          President relates simply




                                                                                                                                                                                                                                                                                              to
  will double or treble the population of Cali                                                                                                                                                                                             that respect     the




                                                                                                                                                                                                                                                                in
                                                                                                                                                                                                                          ,
               I
  fornia , ask , are the people of California pow




                                                                                                                                                                                                                                                      of
                                                                                                             those people , by a constitutional amendment ,




                                                                                                                                                                                                                                                                                         in
                                                                                                                                                                                                          children begotten        Chinese parents        Cal
   erless to protect themselves ?         do not know                    I                                   to be put out of the reach of the State in which                                                                                declare that they




                                                                                                                                                                                                                                                                    to
                                                                                                                                                                                                          ifornia and         proposed




                                                                                                                                                                                                                                       I in is . is
                                                                                                                                                                                                                                   it
                                                                                                             they live ? I mean as a class . If the mere                                                                         We have declared that by




                                                                                                                                                                                                                   ,
  that the contingency will ever happen , but it                                                                                                                                                          shall be citizens
                                                                                                             fact of being born in the country confers that                                                                                   incorporate the




                                                                                                                                                                                                                                                                     to
  may be well to consider it while we are on this                                                                                                                                                         law now             proposed




                                                                                                                                                                                                                                it
                                                                                                                                                                                                               ;
  point .                                                                                                    right , then they will have it ; and I think it will                                         same provision        the fundamental instrument
     As I understand the rights of the States under                                                                                                                                                       of the nation               favor of doing so




                                                                                                                                                                                                                                                           in
                                                                                                                                          .




                                                                                                                                                                                                                                                                                                  I
                                                                                                             be mischievous                                                                                                    am




                                                                                                                                                                                                                                   .




                                                                                                                                                                                                                                                                                              .
                                                                                                                    think the honorable Senator from Michi                                                voted for the proposition




                                                                                                                                                                                                                                                                    to
  the Constitution at present , California has the                                                                                                                                                                                           declare that the
                                                                                                             I
                                                                                                             gan would not admit the right that the Indians




                                                                                                                                                                                                                                                                                                      as in
                                                                                                                                                                                                                                       all
  right , if she deems it proper , to forbid the en




                                                                                                                                                                                                                              of
                                                                                                                                                                                                          children            parentage whatever       born




                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                     in
                                                                                                                                                                                     to
  trance into her territory of any person she                                                                      his neighborhood       would have                                                      California should be regarded and treated
                                                                                                              of


                                                                                                                                                               come




                                                                                                                                                                                                                           ,
 chooses who is not a citizen of some one of                                                                                                       the midst of that                                      citizens of the United States entitled         equal




                                                                                                                                                                                                                                                                                         to
                                                                                                             upon Michigan and settle




                                                                                                                                                                   in




                                                                                                                                                                                                                                                                     ,
 the United States . She cannot forbid his en                                                                 society and obtain the political power of the                                               civil rights with other citizens of the United
 trance ; but unquestionably , if she was likely to                                                           State and wield          perhaps       his exclusion                                        States




                                                                                                                                                                 to




                                                                                                                                                                                                    I

                                                                                                                                                                                                                   .
                                                                                                                                                                  ,
                                                                                                                                              it,
                                                                                                                   ,




                                                                                                                                                                                                .




                                                                                                                                                                                                                                                                                 of
 be invaded by a flood of Australians or people                                                                                                                                                              Now       will say for the benefit          my friend




                                                                                                                                                                                           to
                                                                                                             do not know that anybody would agree                  that




                                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                               ,




                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                      I
                                                                                                                                                                                                     .
 from Borneo , man -eaters or cannibals              you                                    if                        true that our race are not subjected to                                             that he may know something about the Chi
                                                                                                             It
                                                                                                                  is




                                                                                                                                                                                                                    future that this portion           our popula




                                                                                                                                                                                                                                                                               of
 please, she would have the right to say that




                                                                                                                                                                                                                   in
                                                                                                              dangers from that quarter because we are the                                                nese




                                                                                                                                                                                                                                   ,
                                                                                                                                                              ,
                                                      de                                     It                                                                     con                                   tion namely the children             Mongolian parent




                                                                                                                                                                                           in




                                                                                                                                                                                                                                                                    of
 those people should not come there .                                                                         strongest perhaps         but there


                                                                                                                                                                            in is
                                                                                                                                                          race




                                                                                                                                                                               a
                                                                                                                                               ;




                                                                                                                                                                                                               ,



                                                                                                                                                                                                                                in ,
                                                                                                                            ,




 pends upon the inherent character of the men .                                                               tact with this country which             all character                                      age born         California         very small indeed




                                                                                                                                                                                                                                                                is




                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                     ,




                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                              ,
                                                                                                              istics except that of simply making fierce war                                                                           be large notwithstand
          a sir




 Why ,                                                                                                                                                                                                    and never promises




                                                                                                                                                                                                                                                       to
                                                            of




              there are nations     people with whom




                                                                                                                                                                                                     ,




                                                                                                                                                                                                                                                                          ,
             ,




 theft        virtue and falsehood       merit    There                                                          not only our equal but perhaps our superior                                              ing our near neighborhood the Celestial land
                                                                                                          I is




                                                                                                                                                                                                                                                                    to
          is




                                                                     a


                                                                                     .




                                                                                                                                                    ,




                                                                                                                                                                                                     .




                                                                                                                                                                                                                                                                                                      , .
                                                                                                                  mean the yellow race            the Mongol race                                                          those people and their religion
                        is to




                                                                                                                                                                                                                                  of
                                                                              as




                                                                                                       as




 are people         whom polygamy             natural                                                                                                                                                     The habits
                                                                     is




                                                                                                                                                              ;




                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                     .
                                                                                                              They outnumber             largely     Of their indus                                                    demand that they all return             their




                                                                                                                                                                                                                                                                                         to
                                    utterly impossible
                                                                                                                                                  us




                                                                                                                                                                                                                        to
                    with us
                                                      It
                                                           is




 monogamy                                                                                                                                                                                                 appear
                                             .




                                                                                                                                                                   .




that these people can meet together and enjoy                                                                 try their skill and their pertinacity                   all                                 own country         some time or other either alive

                                                                                                                                                                                               in




                                                                                                                                                                                                                                       at




                                                                                                                                                                                                                                                                                ,
                                                                                                                 ,




                                                                                                                                          ,




their several rights and privileges which they                                                                worldly affairs nobody can doubt They are                                                                                              California to




                                                                                                                                                                                                                                                                          in
                                                                                                                                                                                                          or
                                                                                                                                                                                                              dead     There are perhaps
                                                                                                                                      ,




                                                                                                                                                                                                                                                      ,




                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                 .




                                                                                                                                                                                                                      .
                               the same society      and                                                      our neighbors         Recent improvement          the age                                   day about forty thousand Chinese from forty
                   to




                                                  of in




                 be natural




                                                                                                                                                                                                                                                                           -
suppose
                                                                                             ;




                                                                                                                                                                                      ,
                                                                                                                                    .




                                                                                                                  fire has brought their coasts almost
                                                                                                             of
                                                                                     of




                        part                                                                                                                                         im                                       forty five thousand
                                                                                                                                                                                               in
                                                 things


                                                                                                                                                                                                          to
       necessary                the nature                                                                                                                                                                                                Those persons return
     is




                                                                                                                       ,
it




                            a




                                                                                                     It ,
                            ,




                                                                                                                                                                                                                   -




                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                          invariably while others take their places and
                                                              or




that society shall be more           less exclusive                                                           mediate contact with our own                 Distance
                                                                                                                                                                                                     is




                                                                                                                                                                                                                           ,




                                                                                                                                                                                                                                                                                             ,


                                                                                                                                                                                                                                                                                                      ,
                                                                                                 .




                                                                                                                                                                             .




    utterly and totally impossible                                                                                                        They may pour
                                                                                                                                                                                                          as
                                             mingle all                                                                                                                                                                                 they do not return alive




                                                                                                                                                                                                                                                       if
                                                                                                              almost annihilated                                   their
                                                                                                                                                                                          in
                                                                              to




                                                                                                                                                                                                                before observed
is




                                                                                                                                                                                                           I




                                                                                                                                                                                                                                                      ,
                                                                                                                                               .




                                                                                                             millions upon our Pacific coast                 very short
                                                 of




the various families          men from the lowest                                                                                                                                                         their bones are carefully gathered up and sent
                                                                                                                                                                              in
                                                                                                                                                                              a
                                                            to ,




form of the Hottentot up            the highest Cau                                                          time        Are the States to lose control over this                                         back the Flowery Land                     not an unusual




                                                                                                                                                                                                                                                                     It
                                                                                                                                                                                                                   to




                                                                                                                                                                                                                                                                          is
                                                                                                                   .




                                                                                                                                                                                                                                                                .
               in




               the same society                                                                              immigration                                                                                  circumstance that the clipper ships trading be
                                                                                                                                          Is




casian                                                                                                                                the United States          deter
                                                                                                                                                                                    I to
          ,




                                                                                                                                  ?
                                                           .




        must be evident          every man intrusted                                                          mine that they are           be citizens          wish to                                   tween San Francisco and China carry
  It




                                                      to




                                                                                                                                                       to




                                                                                                                                                                                                                                                                time




                                                                                                                                                                                                                                                                                         at
                                                                                                                                                                                                                                                                                         a
                                                                                                                                                                                 ?




with the power and duty           legislation and                                                            be understood that           consider those people                                           three or four hundred human remains of these
                                                                                                                                                                                                     to
                                                                of




                                                                                                                                                I
                                                                                            ,




qualified                                                                                                     have rights just the same                                                                                 When interred in our State they are
                                                      in
                   to




                                                                                                                                                                   as




             exercise         wise and temperate                                                                                                    we have but not
                                             it




                                                                                                                                                                                                          Chinese
                                                                                                                                                                                                     If
                                                          a




                                                                                                                                                                                      ,




                                                                                                                                                                                                                       .



                                                                                                             rights                                                                                                                   the earth but laid very
                                                                                                     in




                                                                                                                                                                                                                                                      in
manner that these things cannot be and                                                                                     connection with our Government
                                                                                                                        in




                                                                                                                                                                                                          not interred deep
                                                                                     ;
            ,




                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                               .




                                                                                                                desire the exercise of my rights                                                          near the surface and then mounds of earth
                                                              be




my judgment there should         some limitation                                                                                                            ought     go
                                                                                                                                                                                                to
                                                                                                             I




                                                                                                                                                                                                                                             ,
                                                                                                                                                                              I
                                                                                                      ,




                                     citizen of the                                                                                                    my own blood                                                                    that the process of dis
                                      to




                                                                                                                                                                            of




                      this term                                                                                  my own people the people
                                                                                                                                                                                                                                                       so
some definition                                                                                                                                                                                           are laid over them
                                                                                                             to
                                                                   "




                                                                                                                                                                                                                                                 ,
                                                                                                                                              ,




United States                       Is simply to                                                             and lineage people                                                                                            very easy
                                                                                                                                                       of




                    What                                                                                                                    the same religion peo                                                                           That       their habit
                                                       is




                                                                                                                                                                                                                                                                               is
                                                                                                                                                                                                          interment
                                                            it




                                                                                                                                                                                                                                ; is
                                                                              it
                           a ."




                                                                ?




                                                                                                                                ,




                                                                                                                                                                                           ,




                                                                                                                                                                                                                                                           .
                  condition that he may be an                                                                ple of the same beliefs and traditions and not                                                                                                        for
                        in




                                                                                                                                                                                                                                                                                              fit
                                                                                                                                                                                                                                                                     as
put man                                                                                                                                                                                                   and custom       and as soon            they are
      a




                                                                                                                                                                                     ,




                                                  put him                                                    thrust myself          upon       society of other men                                       transmission to their own country they are
                                                                                                                                          in
                                                                     Is
                                to of
               in




                                                                                   to




elector      one      the States
                                                                             to it




                                                                                                                                                         a
                                                              ?




                       have the right                                                                         entirely different                                                                          taken up with great regularity and sent there
in




                                                                                                                                          all those respects from
                                                                                                                                                  in




      condition                                 enter the
a




                                                                                                                                                                                                                                                                                                      , . .
United States courts and sue               Or         only                                                   myself          would not claim that right There                                             None of their bones are allowed to remain
                                                                                     is
                                                                                            it
                                                                 ?




                                                                                                                        I
                                                                                                                   I.




                                                                                                                                                                                     .




                                                                                                                         think before we assert broadly that                                              They will return then either living
          of he




                                                                                                                                                                                                                                                                                         or
                            sojourner         the protec                                                     fore
                                            as




that                                                                                                                                                                                                                                                          dead
             is




             entitled
                                                                         to
                                             a




                                                                                                                                   ,




                                                                                                                                                                                                                                            ,


                                                                                                                                                                                                                                                           ,
                                                                                                                                                                              in




         the laws while he           within and under                                                         everybody who shall be born                  the United                                        Another feature connected with them                that

                                                                                                                                                                                                                                                                                             is
                                                           is




tion


                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                               of




                                                                                                                                                                                                          they do not bring their females
                                    of




                                                                                                                                                              to




                                                                                                             States shall be taken
                                                                                             to to




the jurisdiction                                                                                                                                 be     citizen                                                                                        our country
                                                                                                                                                                                                                                                                              to

                                          Or                                                                                                                         the
                                                                                     it
                                                                                is




                       the courts                      set
                                                                                                                                                                            a
                                                                ?




him upon some pedestal some position                   put                                                    United States we ought              exclude others be                                                very limited numbers and rarely ever
                                                                                                                                                                to




                                                                                                                                                                                                          but
                                                                                                                                                                                                                  in
                                                                                                                                     ,
                                                  of ,




                                                                                       ,




                                                                                                                                                                                                                                                                     ,




                                State legislation and                                                                                                        look upon                                        connection with families so that their pro
                of




              the reach                                                                                      sides Indians not taxed because
                                                                                                                                                                                                          in




him out
                                                                                                                                                            ,




                                                                                                                                                                                 I




                                                                                                                                                                                                                                                                    ;




                                                                                                                                          being much less danger                                          geny in California         very small indeed        From
                                                                                                                                                    as




State power                                                                                                  Indians not taxed
                                                                                                                                                                                                                                                      is




                                                                                                                                                                                                                                                                                        .
                     ?




                                             anybody                                                 to      ous and much less pestiferous                society than                                    the description we have had from the honora
                                                 as




                                                                     as




                              liberal
                                                                                                                                                                              to




   Sir     trust     am
                          I
        ,
          I




                       all people but am unwill                                                                 look upon Gypsies             do not know how my                                          ble Senator from Pennsylvania
                                    of of




 ward the rights                                                                                                                                                                                                                                      the Gypsies
                                                                                                                                                                                                                                                                           in of
                                                                                                             I




                                                                                                                                                         I
                                                              ,




                                                                                                                                                                                                                                                                                                      is ,
                                                                         I




                                                                                                                                                    .
  ing




                                                                                                             honorable friend from California looks upon
                                                                                 up




                                                 the right                                                                                                                                                                     all Mongolians
                                                                                                                                                                                                                                   of




         the part      my State                                                                                                                                                                           the progeny                                 California
          on




                                        give
                                                           to
                                                            ,
  ,




                                                                                                                                                                his fel                                   not so formidable in numbers as that of the
                                                                                                                                                                                     of




that she claims and that she may exercise and                                                                 Chinese but do know how some
                                                                                                                                  I
                                ,




                                                                                             ,




                                                                                                                            ,




                                                                                                                                                                                          no




exercise before very long
                                                            of




                                       expelling                                                             low citizens regard them                have         doubt                                    Gypsies      Pennsylvania        We are not troubled
                                                                                                                                                                                                                           in




                                                      cer
                                                                                                                                                                       I
                                                                                            a
                                                       ,




                                                                                                                  -




                                                                                                                                                              .




                                                                                                                                                                                                                                                            .




                                                                                                             that now they are useful and have no doubt                                                                                            only
                                                                                                                                                                                                                         at
                          of




                                                                                                                                                                                                          with them        all     Indeed                    excep
                                                                                                                                                                                                                                                                                        in




                    people who invade her borders
                                                                                                                                                                                                                                                                         is
                                                                                                                                                                                                                                                                    it




 tain number
                                                                                                                                                                   , I
                                                                                                                                                            ,




                                                                                                                                                                                                                                                                ,
                                                                                                      to ;




                                                                                                                                                                                                                                          .




                                                                                                                                                                                                          tional cases that they have children
                                     no




                                                                                                             that within proper restraints             allowing that                                                                                              our
                                                                                                                                                                                                                                                                                             in




               her      allegiance
                ; to




 who owe                                 who   pretend
                                                                ;




                                                                                                             State and the other Pacific States                                                                     and therefore the alarming aspect of
                                                                                                                                                                                     to




 owe none who recognize no authority                   her                                                                                                     manage                                     State
                                                                                            in




                                                                                                                                                                                                                  ;




                                                                                                                                                                                                          the application         this provision
                                                                                                                                                                                                                                             of




                                                                                                                          they may see          they may be useful
                                                                                                                                                                                                                                                                                to
                                                                                                                                                            fit
                                                                                                                        as




 government who have             distinct independent                                                        them                                                                                                                                       California
                                                                                                                                                                                                     ;
                                                      a




                                                                                                                                                                                                                                                                                                      ,
                     ;




                                                                     ,




                                                                                                                                                            ,




                   their own an imperium in im                                                               but would not tie their hands by the Consti                                                  or any other land            which the Chinese may
                                                                                                                                                                                                                                                         to
                                                 -




 government
                          of




                                                                                                                 I




                                                                                                             tution of the United States so as to prevent                                                                                simply fiction
                                     no




                                                                                                                                                                                                                     immigrants
                                                                                                                                                                                                                                                                                              in




 perio who pay                    who never perform                                                                                                                                                                                                               the
                                                                                                                                                                                                                      of as




                                                                                                                                                                                                          come
                                                                                                                                                                                                                                                      is




                        taxes
                                                                                                                                                                                                                                                                           a
                                                                                                                                                                                                                                                       ,
          ;




                                                       ;




                               nothing                                                                       them hereafter from dealing with them                    in
                                                                                                                                                                                                as
                                                  do




 military service who                         fact which                                                                                                                                                              persons who deprecate
                                                                         in




                                                                                                                                                                                                          brain                                           and that
                                                                                                                                                                                                                                                                                   it
                                ;




                                                                     ,



                                                                                       ,




                                                                                                                                                                                                                                                                                    ,




 becomes the citizen and perform none                                                                        their wisdom they see fit                                                                    alone
                                                                                            on of




                                                      the
                                                                                                                                                                                                                  .
                                        ,




                                                                                                                                                             .




 duties which devolve upon him but                                                                               Mr. CONNESS               Mr. President           have                                         wish now to address           few words to what
                                                                                                                                                                                                          I




                                                                                                                                                                                                                                                                a




                                                       the
                                                                                                                                                                                      I
                                                                                                                                                .




                                                                                                                                                                                     ,
                                                                     ,

                                                                                     to ,




                                                                                                                        to




                                                                                                             failed       learn from what the Senator has said                                            the Senator from Pennsylvania has said
                                                                                                                                                                                                                                                                                                 as




 other hand have no homes pretend                 own no                                                                                                                                                                                                            to
                                                                                                                                     ,




                                                                                                                                                                                                     ,
                   ,




                                                           ,




                                                                                                             what relation what he has said has to the first                                              the rights that California may claim
                                                            as




                                                                                                                                                                                                                                                                                        as




 land live nowhere settle            trespassers where                                                                                                                                                                                                      against
      ,




                                       ,




                                                                                                             section of the constitutional amendment be
                    go




                                                  univer
                                                                                                                                                                                                                                       of




 ever they       and whose sole merit                                                                                                                                                                     the incursion        objectionable population from
                                                                               is
                                                                                     a
                    ,
  sal




                                                                                                                          but that part                        propose                                     other States and countries The State of Cal
                                                                                                                                                         of
                                                                                                                       us




                                                                                                             fore                            the question
                                                                                               of




     swindle who delight
                                                            it
                                                           in




                                        who boast
                                                                                                                       ;




                                                                                                                                                                                    I
                    ;




                                                                                                                                                                                                                                                                .
                                                            ,




                                                                                                     a it,




 and whose adroitness and cunning                                                                            leaving         the honorable gentleman who has
                                                                                                                             to
                                                                                      of




                                                                                                                                                                                                          ifornia      various times has passed laws re
                                                                                                                                                                                                                         at




                                                   such
                                                                               is




                                                                                                             charge of this resolution
                                                                                                                                                                                                                                                                                                      be




 transcendent character that no skill can serve                                                                                                    As however the                                                        Chinese immigration
                                                                                                                                                                                                                              of




                                                                                                                                                                                                                                                            will
                                                                                                                                                                                                                                                                                     It




                                                                                                                                                                                                           strictive
                                                                                                                                                                                               ,
                                                                                                                                                                             ,
                                                                                                                                                              .




                                                                                                                                                                                                                                                                               .




                                                                                                             State of California has been so carefully                                                                      that the Chinese came to our
 to




                    or




    correct         punish          mean the     Gypsies                                                                                                                                                  remembered
                    it




                                                      I
                                                       in it;




                                                                                                                                                                                                                                                                          all




                                                                                                                                             time by the Senator
                                                                                                      .




                                 my State       They fol                                                                                                                                                                                             parts
                                                                                                                                                                                                                                                                                             of
                                                                                                                                                        to




                                                                                                                                                                                                                        to as




 They wander         gangs                                                                                   guarded       from time                                                                                    others did from                           the
                                in




                                                                                                                                                                                                           State
                                                                                                                                                                                                                  ,
                                                                             .
                                                    for




                                                                                                             from Pennsylvania and others and the pas                                                                   gather gold          large quantities
                                                                                                                                                                                                                                                               in




         ostensible pursuit           livelihood They
          no




                                                                                                                                                                                                                                                                                                     it




 low                                                                                                                                                                                                      world
                                                                                                                                                                                                                                                                                                 ,
                                                              a




                                                                                                                                                                            ,




                                                                                                                                                                                                                  ,
                                                                                        .




 trade horses tell fortunes and things disappear                                                             sage not only                                                                                being found there The interference with our
                                                                                                                                                                                               of




                                                                                                                                                                     the
                                                                                                                                          of




                                                                                                                                     this amendment         but
                                                                                                                                                                                 ,
                                                                                                                   ,
                                                  ,




                                                                                                                                                                                                                                                .
                     ,




                                                                                                                                                                                                                                                             depre
                                                                                                                                                                                                                             the mines by them was
                                                                                                                                                                                                                                   in




                    Where they came from nobody                                                                   called civil rights bill has been deprecated                                             own people
                                                                                                             so




 mysteriously
                                                                                                                                                            ,




                                                                                                                                                                                                                                                                                             to




                                                                                                                                                                                                                                                                 the
                                                                                                             -
                        .




                                                                                                                                                                                                           cated by and generally The Chinese are re
            Their very origin                                                                                                   pernicious influence upon society                                                                          objectionable
                                                                                                                             of
                                                                                                                                  , its




 knows                                 lost                                                                  because
                                                                               in
                                                              is




                                                 mystery
          .




                 ay can tell from whence the Zin                                                                                                                                                           miners in California
                                                                                                     .




                                                                                                                                                                                               of




 No man                                                                                                            California owing          the contiguity
                   -dto




                                                                                                                                                         to




                                                                                                                                                                     the
                                                                                                             in




                                                                                                                                                                                                                                                       .
                     Case 1:25-cv-10139-LTS              Document 5-27                Filed 01/21/25              Page 6 of 14

2892                                           THE CONGRESSIONAL GLOBE .                                                                       May 30 ,
 garded, also , not with favor as an addition to     not claim our entire attention . Here is a sim       their presence among us. We are entirely
 the population in a social point of view ; not      ple declaration that a score or a few score of       ready to accept the provision proposed in this
 that there is any intercourse between the two       human beings born in the United States shall         constitutional amendment , that the children
 classes of persons there , but they are not re      be regarded as citizens of the United States ,       born here of Mongolian parents shall be de
 garded as pleasant neighbors ; their habits are     entitled to civil rights , to the right of equal     clared by the Constitution of the United States
 not of a character that make them at all an         defense , to the right of equal punishment for       to be entitled to civil rights and to equal pro
 inviting class to have near you , and the people    crime with other citizens ; and that such a pro      tection before the law with others .
 so generally regard them . But in their habits      vision should be deprecated by any person               Mr. HOWARD . There is a typographical
 otherwise , they are a docile , industrious peo     having or claiming to have a high humanity           error in the amendment now under considera
 ple , and they are now passing from mining          passes all my understanding and comprehen            tion . The word " State " in the eleventh line
into other branches of industry and labor .          sion .                                               is printed " States . " It should be in the sin
 They are found employed as servants in a                Mr. President , let me give an instance here ,   gular instead of the plural number , so as to
great many families and in the kitchens of           in this connection , to illustrate the necessity     read " all persons born in the United States
hotels ; they are found as farm hands in the         of the civil rights bill in the State of Califor     and subject to the jurisdiction thereof are
fields ; and latterly they are employed by           nia ; and  I  am quite aware that what    I shall    citizens of the United States and of the State "
thousands      indeed , I suppose there are from     say will go to California , and I  wish it to do     (not States ) " wherein they reside . " I move
six to seven thousand of them now employed           So.    By the influence of our " southern breth      that that correction be made .
in building the Pacific railroad . They are          ren , " who    Iwill not say invaded California ,       Mr. JOHNSON .        I suggest to the Senator
there found to be very valuable laborers , pa        but who went there in large numbers some             from Michigan that it stands just as well as
                             I
tient and effective ; and , suppose , before the     years since , and who seized political power in      it is .
present year closes , ten or fifteen thousand of     that State and used it , who made our statutes          Mr. HOWARD .        I wish to correct the error
 them , at least , will be employed on that great    and who expounded our statutes from the              of the printer ; it is printed " States " instead
work .                                               bench , negroes were forbidden to testify in the     of " State . "
    The State of California has undertaken , at      courts of law of that State , and Mongolians            The PRESIDENT pro tempore . The cor
different times , to pass restrictive statutes as    were forbidden to testify in the courts ; and        rection will be made .
to the Chinese . The State has imposed a tax         therefore for many years , indeed , until 1862 ,         Mr. JOHNSON .       I   doubt whether it is an

it ever since the State has been organized
tax of four dollars a month on each China
                                              -
on their right to work the mines , and collected
                                                 a
                                                     the State of California held officially that a
                                                     man with a black skin could not tell the truth ,
                                                     could not be trusted to give a relation in a
                                                                                                          error of the printer .
                                                                                                             The PRESIDENT pro tempore . The ques
                                                                                                          tion is on the amendment proposed by the
man ; but the Chinese could afford to pay that        court of law of what he saw and what he             Senator from Wisconsin to the amendment of
and still work in the mines , and they have          knew . In 1862 the State Legislature repealed        the Senator from Michigan to the resolution
done so . Various acts have been passed im           the law as to negroes , but not as to Chinese .      before the Senate .
posing a poll tax or head tax , a capitation tax ,   Where white men were parties the statute                 Mr. DOOLITTLE .         I moved this amend
upon their arrival at the port of San Francisco ;    yet remained , depriving the Mongolian of the        ment because it seems to me very clear that
but all such laws , when tested before the su        right to testify in a court of law . What was        there is a large mass of the Indian population
preme court of the State of California , the         the consequence of preserving that statute ?         who are clearly subject to the jurisdiction of
 supreme tribunal of that people , have been         I will tell you . During the four years of re        the United States who ought not to be included
 decided to be unconstitutional and void .           bellion a good many of our " southern breth          as citizens of the United States .          All the
    Mr. HOWARD . A very just and constitu            ren " in California took upon themselves the         Indians upon reservations within the several
 tional decision , undoubtedly .                     occupation of what is there technically called       States are most clearly subject to our jurisdic
    Mr. CONNESS . Those laws have been               "  road agents . "    It is a term well known        tion , both civil and military . We appoint
 tested in our own courts , and when passed          and well understood there . They turned out          civil agents who have a control over them in
 under the influence of public feeling there they    upon the public highways , and became rob            behalf of the Government . We have our mil
 have been declared again and again by the           bers , highway robbers ; they seized the treas       itary commanders in the neighborhood of the
 supreme court of the State of California to be      ure transmitted and conveyed by the express          reservations , who have complete control . For
 void , violative of our treaty obligations , an      companies , by our stage lines , and in one         instance , there are seven or eight thousand
interference with the commerce of the nation .       instance made a very heavy seizure , and             Navajoes at this moment under the control
                     I
 Now , then , beg the honorable Senator from          claimed that it was done in accordance with         of General Carlton , in New Mexico , upon the
 Pennsylvania , though it may be very good cap       the authority of the so - called confederacy .       Indian reservations , managed , controlled , fed
 ital in an electioneering campaign to declaim        But the authorities of California hunted them       at the expense of the United States , and fed
against the Chinese , not to give himself any        down , caught a few of them , and caused them        by the War Department , managed by the War
trouble about the Chinese , but to confine him       to be hanged , not recognizing the commis            Department , and at a cost to this Government
self entirely to the injurious effects of this pro   sion of Jeff . Davis for those kinds of trans        of almost a million and a half of dollars every
vision upon the encouragement         of a Gypsy     actions within our bounds .       The spirit of      year . Because it is managed by the War
invasion of Pennsylvania .       Ihad never heard    insubordination and violation of law , pro           Department , paid out of the commissary fund
myself of the invasion of Pennsylvania by Gyp        moted     and encouraged      by rebellion here ,    and out of the appropriations for quartermas
sies .   Ido not know , and I do not know that       affected us so largely that large numbers of         ters ' stores , the people do not realize the enor
the honorable Senator can tell us , how many          I will not say respectable southern people ,        mous expense which is upon their hands. Are
Gypsies the census shows to be within the State
of Pennsylvania . The only invasion of Penn
sylvania within my recollection was an inva
                                                           -
                                                     and I will not say that it was confined to them
                                                     alone but large numbers of persons turned
                                                                                                          these six or seven thousand Navajoes to be
                                                                                                          made citizens of the United States ? Go into
                                                     out upon the public highways , so that robbery       the State of Kansas , and you find there any
sion very much worse and more disastrous to          was so common upon the highways , particu            number of reservations , Indians in all stages ,
the State , and more to be feared and more           larly in the interior and in the mountains           from the wild Indian of the plains , who lives
feared , than that of Gypsies . It was an inva       of that State , that it was not wondered at ,        on nothing but the meat of the buffalo , to
sion of rebels , which this amendment , if I un      but the wonder was for anybody that trav             those Indians who are partially civilized and
derstand it aright , is intended to guard against    eled on the highways to escape robbery . The         have partially adopted the habits of civilized
and to prevent the recurrence of . On that            Chinese were robbed with impunity , for if a        life . So it is in other States . In my own
                 I
 occasion am not aware , I do not remember           white man was not present no one could testify       State there are the Chippewas , the remnants
that the State of Pennsylvania claimed the ex        against the offender . They were robbed and          of the Winnebagoes , and the Pottawatomies .
clusive right of expelling the invaders , but on     plundered and murdered , and no matter how           There are tribes in the State of Minnesota and
the contrary my recollection is that Pennsyl         many of them were present and saw the per            other States of the Union . Are these persons
 vania called loudly for the assistance of her       petration of those acts , punishment could not       to be regarded as citizens of the United States ,
 sister States to aid in the expulsion of those      follow , for they were not allowed to testify .      and by a constitutional amendment declared
invaders did not claim it as a State right to        Now, sir , I am very glad indeed that we have        to be such , because they are born within the
 exclude them , did not think it was a violation     determined at length that every human being          United States and subject to our jurisdic
 of the sovereign rights of the State when the       may relate what he heard and saw in a court          tion ?
 citizens of New York and New Jersey went to         of law when it is required of him , and that            Mr. President , the word " citizen , " if applied
 the field in Pennsylvania and expelled those        our jurors are regarded as of sufficient intelli     to them , would bring in all the Digger Indians
invaders .                                           gence to put the right value and construction        of California . Perhaps they have mostly dis
   But why all this talk about Gypsies and Chi       upon what is stated .                                appeared ; the people of California , perhaps ,
nese ?       I
           have lived in the United States for           So much for what has been said in connec         have put them out of the way ; but there are
now many a year , and really I have heard more       tion with the application of this provision to       the Indians of Oregon and the Indians of the
about Gypsies within the last two or three
                         I
                have heard before in my life .
                                                                        I
                                                     the State that in part represent here .
                                                     my honorable friend from Pennsylvania to give
                                                                                                   I
                                                                                                  beg     Territories . Take Colorado ; there are more
months than                                                                                               Indian citizens of Colorado than there are
It cannot be because they have increased so          himself no further trouble on account of the         white citizens this moment if you admit it as
much of late . It cannot be because they have        Chinese in California or on the Pacific coast .      a State . And yet by a constitutional amend
been felt to be particularly oppressive  in this     We are fully aware of the nature of that class       ment you propose to declare the Utes , the
or that locality . It must be that the Gypsy          of people and their influence among us , and        Tabahuaches , and all those wild Indians to be
element is to be added to our political agita        feel entirely able to take care of them and to       citizens of the United States , the great Repub
tion , so that hereafter the negro alone shall       provide against any evils that may flow from         lic of the world , whose citizenship should be a
                                       Case 1:25-cv-10139-LTS                                                  Document 5-27                                              Filed 01/21/25                                             Page 7 of 14

        1866 .                                                                        THE CONGRESSIONAL                                                                       GLOBE .                                                                                                          2893
        title as proud as that of king , and whose danger                                    selves their own tribal regulations ? Does the    provision




                                                                                                                                                                                                                                    on
                                                                                                                                                             the subject    creates the relation




                                                                                                                                                                                                                                                               ,
        is that you may degrade that citizenship .                                            Government     of the United States pretend to of citizen to the United States




                                                                                                                                                                                                                                                                        .
            Mr. President , citizenship , if conferred , car                                 take jurisdiction of murders and robberies and       The amendment proposed by my friend from
        ries with it , as a matter of course , the rights ,                                  other crimes committed by one Indian upon                                                  the Sen




                                                                                                                                                                                                                                                                               to
                                                                                                                                               Wisconsin think and submit




                                                                                                                                                                                                                                                                               it
                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                ,
                                                                                             another ? Are they subject to our jurisdictionate , should




                                                                                                                                                                                                                                     be
        the responsibilities , the duties , the immunities ,                                                                                                   adopted    The honorable mem




                                                                                                                                                                                                                                                           .
        the privileges of citizens , for that is the very                                    in any just sense ? They are not subject to our ber from Illinois seems think unnecessary




                                                                                                                                                                                                                                                             to


                                                                                                                                                                                                                                                                              it




                                                                                                                                                                                                                                                                                                          ,
         object of this constitutional amendment                                              jurisdiction . We do not exercise jurisdiction   because according       his interpretation




                                                                                                                                                                                                                                                                                                of
                                                          to                                                                                                                                  the




                                                                                                                                                                                                                                                       to
                            I




                                                                                                                                                                                                                         ,
         extend .     do not intend to address the Sen                                       over them.                 It
                                                                                                              is only those persons who come amendment




                                                                                                                                                                                                                                     to as
                                                                                 I                                                                                stands     excludes those who




                                                                                                                                                                                                                                          it



                                                                                                                                                                                                                                                                it
                                                                                                                                                                                                                                                            ,
        ate at length on this question now .            have                                 completely within our jurisdiction , who are sub  are proposed     be excluded by the amendment
                                           think that it         I




                                                                                                                                                                                                            of
        simply raised the question .                                                         ject to our laws , that we think of making citi       the Senator from Wisconsin and he thinks




                                                                                                                                                                                                                                                                          ,
        would be exceedingly unwise not to adopt this                                        zens ; and there can be no objection to the       that that   done by saying that those only who




                                                                                                                                                                                                                              is
        amendment and to put in the Constitution of                                          proposition that such persons should be citi      are born in the United States are to become
                                                                                                                                                                          the time of birth are




                                                                                                                                                                                                                                                            at
        the United States the broad language proposed .                                      zens                                              citizens thereof who




                                                                                                                                                                                                                                          ,
                                                                                                It .
        Our fathers certainly did not act in this way,                                                                                                      the jurisdiction thereof




                                                                                                                                                                                                                               to
                                                                                                                                                 subject                                   and he




                                                                                                                        to
                                                                                                              me sir that        introduce the




                                                                                                                                                               to
                                                                                                    seems




                                                                                                                                                                                                                                                                                        "
                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                          "
                                                                                                                                 ,

                                                                                                                                           ,
        for in the Constitution  as they adopted it they                                     words suggested by the Senator from Wisconsin     supposes and states very positively that the
        excluded the Indians who are not taxed ; did                                                                                                                         the jurisdiction of




                                                                                                                                                                                                                                                                 to
                                                                                             would not make the proposition any clearer        Indians are not subject
                                                                                                                                                                                               my




                                                                                                                                                                                                                                                                                                to
        not enumerate them , indeed , as a part of the                                                    and that    by no means embraces     the United States     With due deference




                                                                                                                                      it
                                                                                                              is
                                                                                                       it
                                                                                             than




                                                                                                                                                                                                ,
                                                                                                               ,




                                                                                                                                                                                                                                              .




                                                                                                                                                                                                                                                                                   in
                                                                                                                                                                                                            friend from Illinois           think he          error




                                                                                                                                                                                                                                                                                   is
                                                                                             or by any fair construction by any construc




                                                                                                                                                -
        population upon which they based representa




                                                                                                                                                                                                                                                       I
                                                                                                                                                                                                                                                       ,




                                                                                                                                                                                                                                                                                                          .
                                                                                                                       -
        tion and taxation ; much less did they make                                          tion may say could embrace the wild Indians                                                                    They are within the territorial limits




                                                                                                                                                                                                                                                                                                of
                                                                                                                                                                                                                                                                the
                                                                                                                                                                                                                                 If they were not the provision

                                                                                                     I
                                                                                                     ,
        them citizens of the United States .                                                     the plains    any with whom we have treaty                                                                  United States
                                                                                             of




                                                                                                                            or




                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                            would be altogether inapplicable            them     In




                                                                                                                                                                                                                                                                                   to
           Mr. President , before the subject of the con                                     relations for the very fact that we have treaty




                                                                                                                                                                                                                                                                                                .
                                                                                                              ,
        stitutional amendment passes entirely from the                                       relations with them shows that they are not                                                                    one sense therefore they are           part    the peo




                                                                                                                                                                                                                                                                                        of
                                                                                                                                                                                                                                                                          a
                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                             ,
                        I
                    may desire to avail myself of the                                                    our jurisdiction                                                                                   ple      the United States and independent




                                                                                                                                                                                                                   of




                                                                                                                                                                                                                                                                                                          of
                                                                                                              to
        Senate ,                                                                             subject                       We cannot make




                                                                                                                                                                                                                                                             ,
                                                                                                                                                    .
                                                                                                treaty with ourselves                                                                                                          which we have been dealing with




                                                                                                                                                                                                                                     in
        opportunity to address the body more at length ;                                                                   would be absurd                                                                  the manner




                                                                                                                                                     it
                                                                I
                                                                                           it I a




                                                                                                                                               ;




                                                                                                                                                                                                as .
                        I                                                                                                                                                                                                                 follow necessarily that




                                                                                                                                                                                                                                                       to
                    simply direct what     have to say to                                      think that the proposition                                                                                   them would seem




                                                                                                                                                                                                                        it
        but now                                                                                                             clear and safe




                                                                                                                                                          is
        the precise point contained in the amendment                                                                                                                                                                                 the jurisdiction     the Uni




                                                                                                                                                                                                                                                                                    of
                                                                                                                                                                                                            they are subject




                                                                                                                                                                                                                                                to
                                                                                                  is




                    I
                                                                                                  .




        which     have submitted .                                                                                                        Mr. President the partic                                                                anybody else who may be born




                                                                                                                                                                                                                                    as
                                                                                                    Mr. JOHNSON                                                                                             ted States




                                                                                                                                                                                                                                          is
                                                                                                                                                                                                                              ,
                                                                                                                                                                     ,
                                                       I
                                                                                                                                 .
            Mr. FESSENDEN .            rise not to make any ular question before the Senate            whether the                                                                                          within the limits of the United States              But




                                                                                                                                                                    is




                                                                                                                                                                                                                                                                                               .
         remarks on this question , but to say that if                                     by the Senator from                                                                                              when the United States took possession             Eng




                                                                                                                                                                                                                                                                                         -
                                                             amendment        proposed
         there is any reason to doubt that this provision                                          But while                                                                                                land for us         the beginning and our limits




                                                                                                                                                                                                                                     in
                                                                                                                                 be
                                                             Wisconsin shall          adopted                      am




                                                                                                                                                                                   I




                                                                                                                                                                                                                                                                          ,
         does not cover all the wild Indians , it is a seri                                                                                                                                                                                       of the territory
                                                                                                                                                    I to.
                                                                                                                                                                                                            have been extended




                                                                                                                                                                                                                                                                 -
                                                             up and before proceed             consider the neces                                                                                                                        since
                                                                                                                            I
                                                                                                ,




                                         I
         ous doubt ; and should like to hear the opin        sity for that amendment            will say word                                                                                                which was originally peopled exclusively by




                                                                                                                                                                                                or
                                                                                                                                                                          a
                                                                                                                                                ,
        ion of the chairman of the Committee on the          two upon the proposition itself                                                                                                                                                             recognize




                                                                                                                                                                                                                                                                                    to
                                                                                                         mean that                                                                                          the Indians we found           necessary




                                                                                                                                                                                                                                                           it
                                                                                                                                                                I
                                                                                                                                                               ;




                                                                                                                                                                                                                                 ,
         Judiciary , who has investigated the civil rights   part                                                                                                                                            some kind of national existence on the part




                                                                                                                                                                                                it as
                                                                                                          of




                                                                        section one which
                                                                                                                                                         is
                                                                                                  recommended




                                                                                                                                                                                                                                         a
        bill so thoroughly , on the subject , or any other an amendment               the old proposition                                                                                                        the aboriginal settlers




                                                                                                                                                                                                            of
                                                                                                                                 to




                                                                                                                                                                                           as




                                                                                                                                                                                                                                                                   of
                                                                                                                                                                                                                                               the United States
                                                                             I




                                                                                                                                                                                                                                                                                                          ;
                                                              originally stood                                                                                                                               but we were under no obligation




                                                                                                                                                                                                                                                                                                so
        gentleman who has looked at it .                                                                                                                                                                                                                do      and




                                                                                                                                                                                                                                                                                   to
                                                    had the




                                                                                                                                                                                                                                                                                                ,
                                                                                                                             .




                                                                                            be informed that very                                                                                            we are under no constitutional obligation




                                                                                                                                                                                                                                                                                                    to
        impression that it would not cover them .                The Senate are not                                                                                                                                                                              do
                                                                                                                                            to




            Mr. TRUMBULL . Of course my opinion




                                                                                                                                                                                                                                                                                    in
                                                              serious questions have arisen and some                                                                                                        so now for although we have been              the habit
                                                                                                                                                                                   to of
                                                                                                                them
                                                                                                                                                         ,




        is not any better than that of any other member      have given rise                                                                                                                                     making treaties with these several tribes we




                                                                                                                                                                                                            of
                                                                                                                                 to




                                                                                                                                                                              as
                                                                                     embarrassments              who
                                                                                                                                                                      ,




                                                                                                                                                                                                                                                                                                   in ,
         of the Senate ; but it is very clear to me that      are citizens of the United States and what are                                                                                                                               time legislated       re




                                                                                                                                                                                                                                                           to
                                                                                                                                                                                                             have also from time
                                                                                                                                                                ,




                                                                                                                                                                                                                             ,




                                                                                                                                                                                                                                                                      ,
        there is nothing whatever in the suggestions         the rights which belong                                                                                                                                                             We punish mur




                                                                                                                                                                                                                         to
                                                                                                                                                    to



                                                                                                                                                                     to as




                                                                                               them      such     and                                                                                        lation     the Indian tribes
                                                                                                                                                                                   ;




                                                                                                                                                                                                                                                                 .
        of the Senator from Wisconsin . The provision the object
                                                                                                                I of




                                                                               this amendment             settle that                                                                                        der committed within the territorial limits




                                                                                                                                                                                                                                                                                                          in
                                                                                                                                                                is




        is , that    all persons born in the United States ,  question       think therefore with the commit                                                                                                 which the tribes are to be found             think we




                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                              .
                                                                                                                                 ,




                                                                                                                                                         ,
                                                                                                             .




        and subject to the jurisdiction thereof, are cit               whom the matter was referred and by                                                                                                  punish the crime           murder committed by one




                                                                                                                                                                                                                                                  of
                  "
                                                                                                      to




                                                             tee
                                                                                                                                                                              it ,




        izens  .    That means                    "
                                    subject to the complete  whom the report has been made that                  very                                                                                        Indian upon another Indian            think my friend
                                                                                                                                                                                   is




                                                                                                                                                                                                                                                                      I
                                                                                                                                                                ,




                                                                                                                                                                                                                                                                      .
        jurisdiction thereof. " Now , does the Senator                                                                                                                                                       from Illinois      wrong
                                                                                                                   in




                                                                                                                                                    or




                                                                             some form        other to define what                                                                                                                          supposing that that



                                                                                                                                                                                                                                         is



                                                                                                                                                                                                                                                            in




                                                                                                                                                                                                                                                                                                          is
                                                             advisable
        from Wisconsin pretend to say that the Nava           citizenship                know no better way of                                                                                               not done
                                                                                                                        is




                                                                                 and                                                                                                                                         .
                                                                                                                                     I
                                                                                                                            ;




        joe Indians are subject to the complete juris        accomplishing that than the way adopted by                                                                                                          Mr. TRUMBULL             Not except where




                                                                                                                                                                                                                                                                                                     is
                                                                                                                                                                                                                                                                                                     it
        diction of the United States ? What do we



                                                                                                                                                                                                                                                       .
                                                             the committee         The Constitution as           now                                                                                         done under special provision         not with the wild




                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                   it
                                                                                                                            .




         mean by " subject to the jurisdiction of the                                  citizenship                                                                                                                         the plains
                                                                                                                                                                    of




                                                                                                                                                                                                                             of

                                                             stands recognizes                          the United                                                                                           Indians
                                                                                                                                    a




                                                                                                                                                                                                                                                       .
         United States ?      Not owing allegiance to any.                  provides that no person shall be                                                                                                     Mr. JOHNSON            By special provision of
                                                                                                               It




                                                             States
                                                                                                                                                                                                                                                 I .
                                                                                                         .




         body else . That is what it means .
                                                    Can you  eligible     the Presidency                                                                                                                     legislation                                 am refer
                                                                                                                                                         of




                                                                                                 the United States                                                                                                            That     understand
                                                                                                             or a to




                                                                                                                                                                                                                                                                                   I
                                                                                                                                                                                                                               .




                                                                                                                                                                                                                                                                              .
         sue a Navajoe Indian in court ? Are they in         except                                                                                                                                           ring to that
                                                                                                                                                                    of




                                                                          natural born citizen         the United
                                                                                                                                                                                                                                    .
                                                                                                                                 -




                                                                                                                                                                                                                 Mr. TRUMBULL




                                                                                                                                                                                                                                                                                            to
         any sense subject to the complete jurisdiction || States                                                                                                                                                                          We propose
                                                                                                                                                                                                to ; at




                                                                                             the United States
                                                                                                                                               in




                                                                         one who was                                                                                                                                                                          make
                                                                                                                                                                                                                                                       .


         of the United States ?   By  no means . We make     the time of the adoption of the Constitution                                                                                                    citizens of those brought under our jurisdic
         treaties with them , and therefore they are not        provides that no person shall             eligible                                                                                                    that way        Nobody objects
                                                                                                                                                                                                                    in
                                                                                                                                                                     be




                                                                                                                                                                                                             tion                                            that



                                                                                                                                                                                                                                                                                          to



                                                                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                        ,
                                                                                             it




                                                                If
                                                                                                                                                                                                                                            .




          subject to our jurisdiction .      they were , we the office of Senator who has not been            citizen                                                                                        reckon
                                                                                                                                                                              a




                                                                         If
                                                                                                                                                                                                                        .




         would not make treaties with them .        we want                                                                                                                                                      Mr. JOHNSON            Yes             am not ob
                                                                                             is of




                                                                 the United States for nine years but there                                                                                                                                     do
                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                 .




                                                                                                                                                                                                                                                                          .
                                                                                                                                                                         ;




         to control the Navajoes , or any other Indians           no definition in the Constitution as           now                                                                                          jecting
                                                                                                                                                                                   it




                                                                                                                                                                                                                          all     their being citizens now what
                                                                                                                                                                                                                             toat

                                                                                                                                                                                                                                            to




                                                                                                                                                                                                                                                                                                ;
                                                                               citizenship                                                                                                                                         that over all the Indian tribes
                                                                                                                                                                                                of




                                                                                                                                                                                                                          say
                                                                                                                       to
                                                                                                              as




        of which the Senator from Wisconsin has                                                 Who         citizen                                                                                             mean
                                                                                                                                                                                                                                         is
                                                                                                                                                                    is




                                                                stands
                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                          I
                                                                                                                                                                         a
                                                                                                                                              an .




    "   spoken, how do we do it ? Do we pass a law                                             open question       The                                                                                                               the United States the Uni
                                                                                                                                                                                                                                                  of




                                                                the United States                                                                                                                           within the limits
                                                                                                                                      is




                                                                                                                                                                                                                                 that the test exercise juris
                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                  .




        to control them ? Are they subject to our juris- || decision
                                                                                                                 of




                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                            ted States may
                                                                                                                                                                                     a of




                                                                             the courts and the doctrine            the
                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                        is
                                                                                                                                                                                                       ||




        diction in that sense ? Is it not understood                                 that every man who             citi                                                                                    diction Whether they exercise               point fact
                                                                                                                                                                                                                                                                                                   of
                                                                                                                                                                                                                                                                            in
                                                                                                                                                                               is




                                                                 commentators
                                                                                                                             is




                                                                                                                                                                                                                                                                            it
                                                                                                                              ,




                                                                                                                                                                                                                        .




        that if we want to make arrangements with the                     State becomes ipso facto                                                                                                                                     whether they propose
                                                                                                                                                                                                                                                                                                          to is to
                                                                                                      of




                                                                                                                                                                                                of




                                                                zen                                         citizen                                                                                            another question
                                                                                                                                                                                                            is
                                                                                                          a




                                                                                                                                                                         a




                                                                                                                                                                                                                                                   ;




        Indians to whom he refers we do it by means             the United States      but there       no definition                                                                                        govern them under the treaty making power
                                                                                                                                                               is
                                                                                                                                 ;




                                                                                                                                                                                                                                                                        -




        of a treaty ? The Senator himself has brought                 how citizenship can exist                                                                                                             quite another question         but the question
                                                                                                                                                                    in
                                                                                                     to
                                                                                              as




                                                                                                                                                                                                                                                                                                     as




                                                                                                         the United
                                                                                                                                                                                                                                                            ;




        before us a great many treaties this session in         States except through the medium                                                                                                            the authority
                                                                                                                                                                                                                                          to
                                                                                                                                                                         of




                                                                                                               citizen                                                                                                          legislate              think about
                                                                                                                                                                                                                                                                 is




                                                                                                                                                                                                                                              one
                                                                                                                                                                                                                                                                           I
                                                                                                                                                                              a




                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                           ,




        order to get control of those people.
                                                                                                                                                                                                                                                        to




                                                                                                                                                                                                                                                          the courts
                                                                                                                                                                                                                            if




                                                                ship
                                                                                                       in




                                                                           State                                                                                                                            which         we were         exercise
                                                                                                                                                                                                                                                                               it,
                                                                                                           a




                                                                                                                                                                                                                        ,
                                                                                                                            .




I            If you introduce the words " not taxed , "            Now all that this amendment provides                                                                                                     would have no doubt and when therefore
                                                                                                                                                                                            is




                                                                                                                                                                                                                                                            ;




                                                                                                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                                                                                          ,
                                                                                                          ,




                                                                                                                                                                                             ,




         that is a very indefinite expression . What does       that all persons born                                                                                                                                               consider the meaning
                                                                                                                                                                                                                                               allto




                                                                                                                                                                                                                                                                                                   of




                                                                                            the United States and                                                                                           the courts come                                       this
                                                                                                                                            in




         "  excluding Indians not taxed " mean ? You            not subject      some foreign Power                                                                                                         provision that          persons born within the lim
                                                                                                                                                                    - -
                                                                                                                        to




                                                                                                             for that
                                                                                                                                                                                                                                                            the juris
                                                                                                                                                                                                ,




                                                                                                                                                                                                                             ,
                                                                                                                                                                                                             its




         will have just as much difficulty in regard to
                                                                                                                                                                                                                                                                                       to
                                                                                                                                                     of




                                                                              the meaning        the committee who                                                                                                 the United States and subject
                                                                                                                                                                                                                   of




                                                                no doubt
                                                                                                                   is
                                                                                                              ,




                                                                                                                                                                                                a . be




         those Indians that you say are in Colorado ,           have brought the matter before                                                                                                              diction thereof are citizens and are called upon
                                                                                                                                                                         us




                                                                                                              shall
                                                                                                                                                                                                                                                                 ,




         where there are more Indians than there are            considered as citizens of the United States                                                                                                 to decide whether Indians born within the Uni
         whites. Suppose they have property there , and         That would seem to be not only wise but                                                                                                     ted States with whom we are now making trea
                                                                                                                                                                     a




                                                                                                                                                                                                                              ,




                                                                                                               be citi
                                                                                                                                           If




         it is taxed ; then they are citizens.                  necessary provision                                                                                                                                               think they will decide that they
                                                                                                                                                                          to




                                                                                              there are                                                                                                     ties are citizens
                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                           I
                                                                                                                                     .




             Mr. WADE . And ought to be.                        zens of the United States           entitled every                                                                                          have become citizens by virtue of this amend
            Mr. TRUMBULL . The Senator from Ohio                where to the character of citizens of the United                                                                                            ment But          any rate without expressing any
                                                                                                                                                                                                                                     at




                                                                                                                                                                                                                                                           ,




                                                       If
                                                                                                                                                                                                                    .




                                         they are there and                                                                                                                                                 decided opinion
                                                                                                                                          as , be




                                                                                                                                                                                                                                                 to




                                                                                                                                                                                                                                                                               as




         saysthey ought to be .                                 States there should        some certain definition                                                                                                                   that effect          would not
                                                                                                                                                                                                                                                                          ,

                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                             do




         within the jurisdiction of Colorado , and subject          what citizenship                                                                                                                            when the honorable member from Illinois
                                                                                              of




                                                                                            what has created the
                                                                                                                                            is
              the




                                                                                                                                                                                                                                the opposite opinion when the
                                                                                                                       of
                                                                         be




                                                                                                                                                                                                                                         in
                                                                     It to




                                                                                                                                                                                                                   so




                 laws Colorado they ought                       character       citizen      between himself and
                                of




         to                                          citizens                                                                                                                                                     decided
                                                                                                                                                                                                            is
                                                                                      ;
                                                 ,




                                                                                                                                                                                                                                                                                        to ,
                                 all




                                                                the United States and the amendment says                                                                                                    honorable member from Wisconsin                 say noth
                        is




         and that                  proposed
                                             is




                          that                     cannot be
                                                                                                                                 ,




                                                                                                                                                                                                                                                                                   ,
                                                                .




                                                        partial that citizenship may depend upon birth and                                                                                                  ing      myself entertains
                                                                                                                                                                                                                    of




                   any Indian who owes allegiance                                                                                                                                                                                                reasonable doubt
                  of




         said
                                                                                                                                                                                                                                         ,




                                                                                                                                                                                                                                                                      a
                                                                             ,




                                                                                                                                                                                  ,


                                                                                                                                                                                            I




                                                                                                                                                                                                            that Indians would be embraced within the
                                                                                                                   no




                                                                              better way        give rise
                                                                                                          of




                                                                                                                                                    to




          allegiance you please          some other Govern      know                                           citizen
                                                  to




                                                                                                                                                                             to
                            he if




                                                   ,




                                                                                                                                                                                                                                                                                                    be




                                          the jurisdiction      ship than the fact       birth within the territory                                                                                         provision what possible harm can there
                                                                                      of




                                                                                                                                      of




                                                                                                                                                                                                                                                                                                          in
                                                           to




         ment that            subject
                            is




                                                                                                                                                                                                                             ,




         the United States                                                                                                                                                                                  guarding against
                                                                                              of




                                                                                                                                                          of




                                   Would the Senator from          the United States born            parents who                                                                                                                             does not affectThat  the
                                                                                                                                                                                                                                                             It
                                                                                                                                                                                                 at
                                             "




                                                                                                                                                                                                                                                   it
                                                                                                                                      ,
                                         .




                                                                                                                                                                                                                                                       ?




         Wisconsin think for         moment of bringing                                        the authority of the                                                                                                                               any way
                                                                                                                                                                                                                                                                      in
                                                                                                                                               to




                                                                the time were subject                                                                                                                       constitutional amendment
                                                  a




                                                                                      a




                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                     by




                                                                                                                                                                                                                                             presume         not  the
                                                                                                                                                                              no




                                                                                                                                                                                                                                                                                         . is




                                                                                                                                                                                                                not my purpose and
                                             to




         bill into Congress       subject these wild Indians    United States         am however                means
                                                                                                                                                                                                                                                            I
                                                                                                                                                                                                            is
                                                                                                                             I




                                                                                                                                                                                                                                                  ,
                                                                                                                                      I ,


                                                                                                                                                                ,
                                                                                                                            .




                                                                                                                                                                                                            purpose of my friend from Wisconsin
                                 of we




                                                                                                                                     as




                                                                                             prepared
                                                  no




                                                                 to




                                                                                                                       to




         with whom      have       treaty   the laws and                                                 say     think   have intimated                                                                                                                          says
                                                                                                                                                                                                                                                      Illinois
                                                                                                                                                         I
                                                                                                                                ,




                                                                                                                                                                                                                                              from
                                                                                 he




         regulations    civilized life    Would    think                                     before that being born within the United                                                                          The honorable member                      from Wis
                                                            ?




                                                                                                         ,




            punishing them for instituting among them                                        States independent   any new constitutional                                                                    that the terms which the member
                                                                                                                                          of
         of




                                                                                                         ,
                                                                                      .
                 Case 1:25-cv-10139-LTS                         Document 5-27                Filed 01/21/25            Page 8 of 14

2894                                        THE CONGRESSIONAL GLOBE .                                                           May 30 ,
consin proposes to insert would leave it very pend on taxation . I am not willing , if the Sen extend the laws of the United States over the
uncertain . I suppose that my friend from Illi ator from Wisconsin is , that the rich Indian   republic of Mexico , or the empire of Mexico ,
nois agreed  to the second section of this con residing                  in the State of New York shall be a if
                                                                                                 you please               ,       so to call it and had sufficient
stitutional amendment , and these terms are used             citizen and the poor Indian residing in the         physical power to enforce it . I suppose you
in that section . In apportioning the repre             State                                           If
                                                                       of New York shall not be a citizen .      may say in this case we have the power to do
sentation , as you propose to do by virtue of the            you put in those words in regard to citizenship ,   it , but it would be a violation of our treaty
second section , you exclude from the basis                  what do you do ? You make a distinction in          obligations , a violation of the faith of this na
"  Indians not taxed . " What does that mean ?               that respect , if you put it on the ground of       tion , to extend our laws over these Indian tribes
The honorable member from Illinois says that                 taxation . We had a discussion on the civil with whom we have made treaties saying we
that is very uncertain . What does it mean?                  rights bill as to the meaning of these words ,      would not do it.
                                 if
It means , or would mean inserted in the first               " excluding Indians not taxed . " The Senator           Mr. FESSENDEN . We could extend it .
section , nothing , according to the honorable               from Maryland , [ Mr. JouNsoN , ] I think , on      over Mexico in the same way .
member from Illinois . Well ,         if
                                  it means noth              that occasion gave this definition to the phrase        Mr. TRUMBULL .         I say we could extend
ing inserted in the first section it means noth         "        excluding Indians not taxed , " that it did not it over Mexico just as well ; that is , if we have
ing where it is proposed to insert it in the                 allude to the fact of taxation simply but it the power to do it . Congress might declare
                           I   think my friend from                                                              war , or , without declaring war , might extend
second section . But
 Illinois will find that these words are clearly civilized Indians .         I
                                                             meant to describe a class of persons ; that is ,
                                                                                       was inclined to fall into its laws , or profess to extend them , over Mex
                                                                    I
                                                             that view .       was inclined to adopt the sug     ico , and if we had the power we could enforce
understood and have always been understood ;
they are now almost technical terms . They                   gestion of the Senator from Maryland , that the     that declaration ; but     I think it would be a
             I
are found , think, in nearly all the statutes                words " excluding Indians not taxed " did not       breach of good faith on our part to extend
upon the subject ; and if I am not mistaken ,                mean literally excluding those upon whom a          the laws of the United States over the Indian
the particular statute upon which my friend                  tax was not assessed and collected , but rather     tribes with whom we have these treaty stipula
from Illinois so much relied as one necessary meant to define a class of persons , meaning tions , and in which treaties we have agreed
to the peace of the country , the civil
                                                   rights     civilized Indians ; and I think I gave that an     that we would not make them subject to the
                                                                                                    , [ Mr. HEN  laws of the United States . There are numer
bill , has the same provision in it , and that bill swer to the Senator from Indiana
I   believe was prepared altogether , or certainly           DRICKS , ] who was disposed to give it the tech      ous treaties of that kind .
                                                                                                                     Mr. VAN WINKLE . If the Senator will
 principally , by my friend from Illinois .     I    read nical meaning that " Indians not taxed " meant
 now from the civil rights bill as it passed :               simply those upon whom no tax was laid .   If                  I
                                                                                                                  permit me , wish to remind him of a citation
    " That all persons born in the United States and not it does mean that , then it would be, very objec from a decision of the Supreme Court that he
 subject to any foreign Power , excluding Indians not         tionable to insert those words here because it                            I
                                                                                                                 himself made here , think , when the veto of
 taxed , are hereby declared to be citizens ."                would make of a wealthy Indían a citizen and the civil rights bill was under discussion ; and
     What did these words mean ? They meant                  would not make a citizen of one not possessed        if I correctly understood it , as he read it , the
 something ; and their meaning as they are                    of wealth under the same circumstances . This Supreme Court decided that these untaxed
 inserted in that act is the same meaning which               is the uncertainty in regard to the meaning of      Indians were subjects , and distinguished       be
 will be given to them if they are inserted in the those words . The Senator from Maryland and tween subjects and citizens .
 first section of this constitutional amendment .             myself , perhaps , would understand them alike          Mr. TRUMBULL       .  I think  there are decis
  But I conclude by saying that when we are                   as embracing all Indians who were not civil         ions that treat them as subjects in some re

  all time , it is advisable   -
  trying to settle this , among other questions , for
                                  and if my  friend will
  permit me to say so , our clear duty to put every
                                                              ized ; and yet , if you insert that language ,
                                                                                     ,
                                                              understand them that way ; and  I        remember
                                                                                                                  spects . In some sense they are regarded as
                                                              " Indians not taxed " other persons may not within the territorial boundaries of the United
                                                                                                                            I
                                                                                                                  States , but     do not think they are subject to
  provision which we adopt in such plain lan                  that the Senator from Indiana was disposed to the jurisdiction of the United States in any
  guage as not to be capable of two interpreta               understand them differently when we had the          legitimate sense ; certainly not in the sense that
  tions , if we can . When Senators upon the                  discussion upon the civil rights bill . There       the language is used here . The language seems
  floor maintain the opinion that as it now stands            fore I think it better to avoid these words and to me to be better chosen than it was in the
  it is capable of an interpretation different from           that the language proposed in this constitu         other bill . There is a difficulty about the
  that which the committee mean , and the amend               tional amendment is better than the language        words , " Indians not taxed . " Perhaps one of
  ment proposed gets clear of that interpretation            in the civil rights bill . The object to be arrived the reasons why I think so is because of the
  which the committee do not mean , why should                 at is the same .                                   persistency with which the Senator from Indi
                                                            I
  we not adopt it ?
     I                                  -                            have already replied to the suggestion as
       hope , therefore , that the friends and I am to the Indians being subject to our jurisdic
                                                                                                                  ana himself insisted that the phrase " excluding
                                                                                                                  Indians not taxed , " the very words which the

             -
  the friend of this provision as far as we have tion . They are not subject to our jurisdiction
  gone in it that the friends of this constitutional
  amendment will accept the suggestion of the                  United States ; and the Senator from Mary
                                                                                                                  Senator from Wisconsin wishes to insert here ,
                                                              in the sense of owing allegiance solely to the would exclude everybody that did not pay a
                                                                                                                  tax ; that that was the meaning of it ; we must
  honorable member from Wisconsin .                           land , if he will look into our statutes , will     take it literally . The Senator from Maryland
      Mr. TRUMBULL . The Senator from Mary search in vain for any means of trying these did not agree to that , nor did ; but if the Sen            I
  land certainly perceives a distinction between              wild Indians . A person can only be tried for       ator from Indiana was right , it would receive
  the use of the words " excluding Indians not                a criminal offense in pursuance of laws , and       a construction which      I am sure the Senator
  taxed " in the second section and in the first .            he must be tried in a district which must have      from Wisconsin would not be for ; for if these
                                                          ;   been fixed by law before the crime was com
  The second section is confined to the States                                                                    Indians come within our limits and within our
  it does not embrace the Indians of the plains mitted . We have had in this country , and jurisdiction and are civilized , he would just as
  at all . That is a provision in regard to the               have to - day , a large region of country within    soon make a citizen of a poor Indian as of the
  apportionment of representation among the                   the territorial limits of the United States , un    rich Indian .
  several States .                                             organized , over which we do not pretend to            Mr. HENDRICKS .           I
                                                                                                                                               expected the Senator
      Mr. JOHNSON . The honorable member                       exercise any civil or criminal jurisdiction , from Illinois , being a very able lawyer , at the
   did not understand me .         Idid not say it meant       where wild tribes of Indians roam at pleasure ,    head of the Judiciary Committee , to meet the
  the same thing .                                             subject to their own laws and regulations , and                  I
                                                                                                                  question that asked him and to answer it as
      Mr. TRUMBULL .           I   understood   the  Sen       we do not      pretend   to interfere with them .  a question of law , and not as a question of
         I
   ator , think .  I   know he did not say that the            They would not be embraced by this provision . | military power .
                                                                                 I
                                                                                                                                    I   did not ask him the ques
   clause in the second section was extended all                   For these reasons      think this language is tion whether the Government of the United
   over the country, but he did
                                      say that the words       better than the language employed by the           States had the military power to go into the
 "   excluding Indians not taxed " were in the
                                        I       had said
                                                               civil rights bill .
                                                                   Mr. HENDRICKS . Will the Senator from
                                                                                                                  Indian territory and subjugate the Indians to
   second section , and inasmuch as                                                                               the political power of the country ; nor had he
   that those words were of uncertain meaning ,                Illinois allow me to ask him a question before a right to understand the question in that sense .
   therefore , having gone for the words in the
                                                              he    sits down ?                                   I asked him the question whether , under the
   second section  I    was guilty of a great incon                Mr. TRUMBULL . Certainly .                     Constitution , under the powers of this Govern
   sistency .   Now,   I   merely wish to show the                 Mr. HENDRICKS .       I   wish to know if, in  ment , we may extend our laws over the Indi
   Senator from Maryland that the words in the                 his opinion , it is not a matter of pleasure on    ans and compel obedience , as a matter of legal
   second section may have a very clear and def               the part of the Government of the United            right , from the Indians . If the Indian is bound
                                                               States , and especially of Congress , whether      to obey the law he is subject to the jurisdiction
   inite meaning, when in the first section they
   would have a very uncertain meaning , because              the laws of the United States be extended over      of the country ; and that is the question
                                                              the Indians or not ; if it is not a matter to be desired the Senator to meet as a legal ques
                                                                                                                                                                  I
   they are applied under very different circum
   stances . The second section refers to no
                                                      per      decided by Congress alone whether we treat         tion , whether the Indian would be bound to
   sons except those in the States of the
                                                  Union ;      with the Indians by treaty or govern them by        obey the law which Congress in express terms
   but the first section refers to persons every               direct law ; in other words , whether Congress extended over him in regard to questions within
   where , whether in the States or in the
                                                    Terri has not the power at its pleasure to extend the the jurisdiction of Congress .
   tories or in the District of Columbia . There              laws of the United States over the Indians and          Now , sir , this question has once or twice
   fore the criticism upon the language that had    I         to govern them .                                    been decided by the Attorney General , so far
   used , it seems to me , is not a
                                       just one .                  Mr. TRUMBULL .    I     suppose it would have  as he could decide it . In 1855 he was inquired
      But the Senator wants to insert the words
                                                           ,   the same power that it has to extend the laws       of whether the laws of the United States regu
    " excluding Indians not taxed . "       I     am not       of the United States over Mexico and govern || lating the intercourse with the Indian tribes ,
   willing to make citizenship in this country de              her if in our discretion we thought proper to      by the general legislation in regard to Oregon ,
                                   Case 1:25-cv-10139-LTS                                                           Document 5-27                                             Filed 01/21/25                                    Page 9 of 14

1866 .                                                                                         THE CONGRESSIONAL                                                                 GLOBE .                                                                                           2895 .
had been extended       Oregon                                                                           Suppose we adopt the amendment as sug                                                                              the very Constitution itself there




                                              to
                                  and he gave




                                                                                                                                                                                                                            in
                                                                                                                                                                                                                    for




                                                                                               it
                                                                                                                                                                                                       cerned




                                                                ;




                                                                                                                                                                                                                 ,
                                                                                                      gested by the honorable Senator from Wiscon                                                             provision that Congress shall have power
to as

   his opinion that the laws had been extended




                                                                                                                                                                                                       to is
                                                                                                                                                                                                          a
   Oregon and regulated the intercourse be                                                            sin , in what condition will it leave us as to the                                                     regulate commerce            not only with foreign
                  ,




                                                                                                                                                                                                                                               ,
tween the white people and the Indians there                                                          Indian tribes wherever they are found ? Ac                                                       nations and among the States but also with the




                                                                                                                                                                                                                                                            ,
                                                                                               .
                                                                                                                                                                                                                                                     my judgment




                                                                                                                                                                                                                                                               in
Subsequently the Attorney General was asked                                                           cording to the ideas of the honorable Senator ,                                                  Indian tribes          That clause
                                                                                                           I




                                                                                                                                                                                                                                                           ,




                                                                                                                                                                                                                                                                                              ,
                            ,




                                                                                                                                                                                                                             .
whether Indians were citizens of the United




                                                                                                                                                                                                                                                                                      of
                                                                                                      as    understand them , this consequence would                                                   presents         full and complete recognition the




                                                                                                                                                                                                                        a
                                                                                                      follow all that would remain to be done on                                                        national character of the Indian tribes the

                                                as
                         that they could become
             in



States    such sense




                                                                                                                                                                                                                                                                                     ,
               the public lands where the right                                                       the part of any State would be to impose a tax                                                                               which they have been recog




                                                                                                                                                                                                                                     in
                            of


the owners                                                                                                                                                                                             same character




                                                                                               in
   acquire them was limited              and                                                          upon the Indians , whether in their tribal con                                                   nized ever since the discovery of the continent
to




                                                               to
                                citizens




                                                                                   ;
                that opinion he says that the                                                         dition or otherwise , in order to make them cit                                                  and its occupation by civilized men
                            a of




the course                                                                                                                                                                                                                                                   the same




                                                                                                                                                                                                                                                                           ;
                              the United States by                                                    izens of the United States . Does the honor                                                      light         which the Indians were viewed and




                                                                                                                                                                                                                 in
                                                     of
           not citizen
             : of is




Indian
           his birth but that he           subject                                                    able Senator from Wisconsin contemplate that ?                                                               by    Great Britain from the earliest com

                                                                         is
virtue                                                                                                                                                                                                 treated



                                                                              a
                                         ,




                                                                                               .
He says                                                                                               Does he propose to leave this amendment         in                                               mencement of the settlement of the continent




                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                     in
    The simple truth plain that the Indians are the                                                   such a condition that the State of Wisconsin ,                                                   They have always been regarded even                            our
                                         is
 "




                                                                                                                                                                                                                                                                      ,
subjectsof the United States and therefore are not                                                                                                                                                                                                 being independ
                                                                                                      which he so ably represents here , will have the                                                  ante revolutionary history




                                                                                                                                                                                                                                                            as
                                                      , ,




                                                                                               ,




                                                                                                                                                                                                                                                       ,
in mere right of home birth citizens of the United                                                                                                                                                                                                                     of




                                                                                                                                                                                                             -
                                                                                                      right to impose taxes upon the Indian tribes                                                     ent nations with            whom     the   other    nations
                                             -




States. The two conditions are incompatible    The




                                                                                                                                                                                                                            ,
moment comesto be seen that the Indians are do                                         .              within her limits , and thus make of these In                                                    the earth have held treaties and




                                                                                                                                                                                                                                                                         in
                                                                                                                                                                                                                                                            no case




                                                                                                                                                                                                                                                                                           I
                 it




                                                                                                                                                                                                                                                           ,




                                                                                                                                                                                                                                                                                           ,
mestic subjectsof this Government that moment                                                                                                                                                          believe has either the Government of Great
                                                                                               it
                                                                                                      dians constituting the tribes , no matter how
                                                                    ,




                                                                                                                                                                                                                 ,
   clear the perception that they are not the sov
              to
is




                                                                                                                                                                                                                        of the United States recognized the




                                                                                                                                                                                                                      or
ereign constituent ingredients of the Government                                                      numerous , citizens of the United States and                                                     Britain




                                                                                                                                                                                                                                                                      to
                                                                                                       of the State of Wisconsin ? That would be the                                                                                                      transfer or




                                                                                                                                                                                                                 of
                                                                                               .
This distinction between citizens proper that   the                                                                                                                                                    right          an individual Indian
                                                                                        , is
                                                                             ,



                                                                                           ,


constituentmembersof the political sovereignty and                                                    direct effect of his amendment if it should be                                                                           Why




                                                                                                                                                                                                                                                   If




                                                                                                                                                                                                                                                                                              in
                                                                                                                                                                                                       convey lands                           he was        citizen




                                                                                                                                                                                                                                                                         a



                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                             ?
subjectsof that sovereignty who are not therefore




                                                                                                                                                                                                                            if .
                                                                                                                        It                                                                                                   he was not        subject of foreign
                                                      ,




                                                                                                      adopted .      would , in short , be a naturaliza                                                other words




                                                                                                                                                                                                                                                                               a
                                                                                                                                                                                                                                                       a
citizens recognized the best authorities of public




                                                                                                                                                                                                                           ,
                                          in
         is
          ,




                                                                                                                                                                                                                        he did not belong




                                                                                                                                                                                                                                                                 to
law                                                                                                                                           impose                                                                                                     tribe whose




                                                                                                                                                                                                                    if
                                                                                                                                                                    fit
                                                                                                                                                                          to
                                                                                                      tion , whenever the States saw                                                                    Power
     "




                                                                                                                                                                                                                                                                      a
    .




                                                                                                                                                                                             a




                                                                                                                                                                                                                 ,
                                                                                                      tax upon the Indians of the whole Indian race                                                    common law                that land as well as almost




                                                                                                                                                                                                                                 is
    He then cites some authorities                                               Again he




                                                                                                                                            ,
                                                                                                      within the limits of the States                                                                  every other description of property shall be
                                                                                           ,
                                                                         .




says




                                                                                                                                                                .
                                                                                                          Mr. CLARK                                                                                    held in common among the members of the
        :




    Not being citizens of the United States by mere                                                                     The Senator will permit me
                                                                                                                               .
"




                                                                                                                          Suppose the State of Kan                                                     tribe subject                  chief why               that the




                                                                                                                                                                                                                                    to




                                                                                                                                                                                                                                                                           it
                                                                                                                                                                                                                                                                      is
birth can they become so by naturalization        Un
                                                                                                      to




                                                                                                         suggest   case




                                                                                                                                                                                                                                         a



                                                                                                                                                                                                                                                       ,
                                                                                                                        a




                                                                                                                                                                                                             ,
        ,




                                                                                       ?




                                                                                                                                     , .
                                                                                                                        should tax her Indians for                                                     reservation has been imposed and always ob
doubtedly                                                                                             sas for instance
                                                                                                          ,
              .




    But they cannot becomecitizens by naturalization                                                                                                                                                   served upon the act                                     the part




                                                                                                                                                                                                                                               of




                                                                                                                                                                                                                                                                             on
                                                                                                      five years they would be citizens                                                                                                  conveyance
 "




under existing general acts of Congress
                                                                                                                   ,




                                                                                                                                                                    .
                                              Kent's                                                                                                                                                   of the Indian
                                                                              (2




                                                                                                          Mr. HOWARD              Undoubtedly
                                                                              .




                                                                                                                                                                                                                                ?
Commentaries page 72.
                                                                                                                                       .
                        ,




                                                                                                                                                                       .
                                                                                                         Mr. CLARK
                                              )




                                                                                                                                                                                                                                                                opinion




                                                                                                                                                                                                                                                                             an
    Those acts apply only                                                                                                     But      she refuse to tax them
                                                                                                                                                 if
                               foreigners subjects                                                                                                                                                             passage has been read from
                                                      to




                                                                                               , of




                                                                                                                                                                                                         A
 "




                                                                             ,




                                                                                                                               .




another allegiance The Indians are not foreigners                                                                                                                                                      given by Mr. Attorney General Cushing on
                                                                                                      for the next ten years how would they be then
                                   .




and they are in our allegiance without being citizens




                                                                                                                                                                                             ?
                                                                                                      Would they be citizens




                                                                                                                                                                                                                                in




                                                                                                                                                                                                                                                                    to
                                                                                                                                                                                                                                                        me he takes
                                                                                                                                                      or
                                                                                                                                          not                                                           this subject          which        seems




                                                                                                                                                                                                                                                 it
of the United States




                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                             ,
                                                                                                                                                                ?




                                                                                                                                                                                                                           ,
                                         "
                                         .




                                                                                                          Mr. HOWARD                                                                                                                                              speak




                                                                                                                                                                                                                                                                                in
                                                                                                                                     take      for granted thatit                                      great liberties with the Constitution
                                                                                                                                            I

    Mr. JOHNSON        Whose opinion
                                                                                                                                       .




                                                                                                      when                             citizen of the United                                           ing of the Indian                 being       subject of the




                                                                                                                                                                                                                                             as
                                                                                  is




                                           that                                                                  man becomes
                                                                                            I of?

                                                                                                               a




                                                                                                                                                     a
                                         .




                                                                                                                                                                                                                                                               a
    Mr. HENDRICKS          That    the opinion
                                                                  is




                                                                                                       States under the Constitution he cannot cease                                                                            Certainly do not




                                                                                                                                                                                                                                                                              so
                                                                                                                                                                                                        United States                                          hold
                                               .




                                                                                                                                                                                                                                                                                          I
                                                                                                                                                                                                                                                       I
                                      July 1856




                                                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                .
                                                 on




 Mr. Cushing given
                                                                         of




                          the 5th                                                                                                                                                                       cannot so hold because                  has been the habit
                                                                                                          be citizen except by expatriation




                                                                                                                                                                                                                                                       it
                                                                                                                                                                                        or
                                                                                                      to
                        ,




                                                                                   , ,




                                                                                                                                                                the
                                                                                               .




                                                                                                                                                                                                                                 ,
                                                                                                               a



                                                                                                                             ,




                     discuss this question but
                                     to




   did not intend
                                                                                                       commission of some crime by which his citi                                                                                                beginning




                                                                                                                                                                                                       of
I




                                                                                                                                                                                                                                                                                     to
                                                                                                                                                                                                            the Government from the                                 treat
will make one further reply
                                                               to




                                 the Senator from




                                                                                                                                                                                                                                                       as
                                                                                                       zenship shall be forfeited                                                                       with the Indian tribes                  sovereign Powers
                                                                                                                                                      .




                                                                                                                                                                                                                                                                                              .
Illinois    When the civil rights bill was under                                                          Mr. CLARK                                                                                    The Indians are our wards                   Such        the lan
                                                                                                                                       If




                                                                                                                                                                                                                                                                           a is
                                                                                                                                    depends upon taxation
                                                                                                                                                it
            .




                                                                                                                                                                                                                                                        .
                                                   of




                           the opinion that the
                                                                                                                               .




                                                                                                                                                                                             .
consideration      was
                            I




                                                                                                          Mr. HOWARD                                                                                   guage                              They have
                                                                                                                                                                                        of




                                                                                                                                                                                                                     of
         not taxed                                                                                                                 The continuance               the                                                    the courts                            national
                                                                                                                                       .




term                 meant not taxed and when




                                                                                                                                                                                                                                                               an
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                They have            absolute right
        "




                                                                                                                                                                                                       independence
                                                                              ;
                                     in"




                                                                                                      quality citizenship would not think depend
                                                                                                                   of




            plain                            their
                                                                                       in




                     the law take them
                                                                                                                                                                               ,
                                                                                                                                                                ,




                                                                                                                                                                                                                                .
words are
                                                                                                                                                                   I




                                                                                                      upon the continuance of taxation                                                                                                                    which they
                                                         I




                                                                                                                                                                                                                  occupancy                       upon




                                                                                                                                                                                                                                          of
                                                                                                                                                                                                                                      the soil
                                                                                                                                                                                                       to
natural sense                                                                                                                                                                                               the
                                                                                                                                                                    .




                   When there       no ambiguity                                                          Mr. CLARK
                                                                    is




                                                                                                                                But still he would be an                                                             and the only ground of claim which
                            .




                                                                                                                                                                                                       reside

                                                                                                                                                                                                               ;
                                                                                                                                  .




the law says there shall be no construction                                                              Indian not taxed                                                                               the United States has ever put forth
                                                                                               ;




                                                                                                                                                                                                                                                                                      to
                                                                                                                                                                                                                                                                      the
                                                                                                      "




                                                                                                                                           "




and when you say
                                                                                                                                           .




                                not taxed     pre
                                                          is




                       man                                                                               Mr. HOWARD




                                                                                                                                                                                                                                                            of
                                          a




                                                                                                                                                                                                                                     of
                                                                                                                                  He has been taxed once                                               proprietorship              the soil        an Indian terri
         it
                                                                                   I




                           not taxed       do not
                                                                                                                                       .




sume     means that he
                                                   is




                                                                                                                                                                                             .




                                                                                                         Mr. CLARK
                                                                              I




                                                                                                                              The point wish              bring the                                                                right     preemption
                                                                          .




                                                                                                                                                                                                       tory        simply the




                                                                                                                                                                                                                                                     of
                                                                                                                                                                            to




                                                                                                                                                                                                                                                                                              is
                                                                                                                                                                                                                                                                 that
                                                                                                                                                                                                               is
                                                                                                                                                          I




                                                                                                                                                                                                                                                                               ;



                                                                                                                                                                                                                                                                                               ,
know any words that express the meaning more
                                                                                                                               .




                                                                                                      Senator to is this would not the admission of                                                    the right of the United States to be the first
                                                                                                                                      :




clearly than the words themselves      and there                                                                                                                                                                                                             We     have
                                                                         ,




                                                                                                         provision                                         shifting                                     purchaser from the Indian tribes
                                                                                                                         of




                                                                                                                                                                               of




                                                                                                                        that kind make
                                                                                               .




                                                                                                                                                  sort
                                                                                                      a




                                                                                                                                                                a




fore cannot express the meaning         any more
                                                                             in




                                                                                                                                                                                                                                                                      .
                                                                                                      use of the Indians                                                                                always recognized
    I




                                                                                                                                                                                                                                          in
                                                                                                                                                                                                                                       an Indian tribe the same
                                                                                                                                       ?




apt words than the words used by the Sen
                                                                                                         Mr. HOWARD                  might depending upon




                                                                                                                                                                                                                                                                                              in as
                                                                                                                                                It




                                                                                                                                                                                                        sovereignty over the soil which                  occupied




                                                                                                                                                                                                                                                                      it
ator from Wisconsin
                                                                                                                                                               ,




                            Indians not taxed
                                                                                                                                       .
                                                                                           I "




                                                                                                                                                                                                                                                              power
                                                     "




                                                                                                                                                                                                                                                                    of
                                                                                                      the construction which would happen                         be                                    we recognize               foreign nation
                                               ,




                                                                                                                                                                                        to




                                                                                                                                                                                                                                 in
                                                                                             .




                                                                                                                                                                                                                                                                           a
                                                                                                                                                                                                                                     a
                                                                                                               by




When       said that that was making citizenship                                                      given                                                                                             itself over its national domains                They sell the
        I




                                                                                                                                            to




                                                                                                                 the courts        the language
                                                                                                                                                                              of




                                              think                                                                                                       the Con
                                                                          or




                             recollect


                                                                                                                                                                                                                                                                .
    rest upon property
   to




                                                                                                                                                                                                                      us by treaty and they sell the lands
                                                                          I




                                                                                                                                                                                                                   to




                                                                                                                        great    objection
                                                                    ,




                                                                                                                   The                                           the                                   lands
                                                                                                                                                                                   to
                                               I




                                                                                                      stitution                                therefore
                                                                                                                                                                                                                                              ,
                                                                                                                                                               ,




                                                                                                                                                                                    ,
do




                                                                                                                .




      the indignant terms         which the Senator
                                                        , in




                                                                                                                          that          an actual naturaliza                                            as the sovereign Power owning holding and
                                                                                                                             is




                                                                                                                                                     is




                                                                                                      amendment
,




                                                                                                                                            it
                                                                                                                              ,




                                                                                                                                                                                                                                                                    ,




                                                                                                                                                                                                                                                                                      ,
from Illinois then replied conveying the idea                                                         tion whenever the State sees fit to enact                                                         occupying the lands
                                                                                                                                                                                                a
                                                                                                           ,




                                                                                                                                                                                                                                          it .
                                                                                       in




that      was     demagogical      argument       this
        to it




                                                                                                      naturalization law in reference to the Indians                                                                                                 me Mr. Presi
                                                                                                                                                                                                            But                                                to
                            a




                                                                                                                                                                                                                      is




                                                                                                                                                                                                                         useless       seems
                                                                                                                                                                                                                   to it




                                                                                                                                                                                                                                      ,




                                                                                                                                                                                                                                                                       ,
body      speak          subject like that    and yet
                                 to of




                                                                                                                          the imposition of tax of the                                                                enlarge further upon the question of
                                                                                                                             of
                                                                                                      in
                                     a




                                                                                                          the shape                                                                                     dent
                                                                              ;




                                                                                                                                                                          a




                                                                                                                                                                                                             ,
                                                                                                                                                                                   ,
              he




      ay     says     the Senator from Wisconsin
to




                                                                                                                                                                                                                                                                                of
                                                                                                                                                                                                                                                     of



                                                                                                      whole Indian population within their limits                                                       the real political power              Indians             Indian   or
-d




                   statesmanlike proposition       He
                                                                                                                                                                                             .




that        not
        is
        it




                                                                                                                                                                                                                      Our legislation has always recognized
                            a




                                                                                                      There      no evading this consequence but still                                                   tribes
                                                                                                               is
                                                                                       .




                                                                                                                                                                              ,




makes the same point upon the Senator from
                                                                                                                                                                                                               .




                                                                                                         cannot impute                                                                                                                            The Indian who
                                                                                                                                                                                                                   as




                                                                                                                                the honorable Senator from                                                            sovereign Powers
                                                                                                                                       to




                                                                                                                                                                                                       them
                                                                                                      I




                                          make upon
                                                                       to




 Wisconsin which he undertook
                                                                                                                                                                                                                                                        .




                                                                                                                                                                                                            still connected by his tribal relation with the
                                                                                                                                                                                                       is




                                                                                                      Wisconsin purpose like that                    think he has
                                                                                                                                                                    I
                                                                                                                        a




me on the civil rights bill
                                                                                                                                                               .




                                                                                                                                                   the language                                         government
                                                                                                                                                                of




                                                                                                                                                                                                                                of




                                                                                                      misapprehended                                                                                                           his tribe         subject for crimes
                                                                                                                                                                                                                                                        is




                                                                                                                              the effect
                                                      .




                                                                              to




            the pleasure       Congress
                                                   of




                                             make the
                                                                                                                                                                                                                                                                                      of
                                                                                                                                                                                                                                                                 or
    If




                                                                                                                                                                                                        committed against the laws
                                                                                                                is he
        is




                                                                                                                                                                                                                                                       usages         the
                                                                                                                                                                                        It as




                                                                                                                  suggests                         language
        it




                                                                                                      which                         think the
                                                                                                                                                                                             is it
                                                                                                                                           I
                             of of




 wild Indians       the desert citizens and then
                                                                                               if




                                                                                                                                       .




                                                                                                                                                                                                                                                          any foreign
                                                                         ,




                                                                                                                                                                                                                 to




                                                                                                                                                                                                                                                                      to




                                                                                                      stands      sufficiently certain and exact                                                        tribe       the tribe itself and not
                                                  pre                                                        ..
                                                                                                                                                                                                                                                 ,




three fourths        the States agree
                                                                                                                                                                                   .
                                                                             to




                                                                                                                                                                                                                                       believe that has been the
                                                                                 it




                                                                                                      that all     persons                                                                              or other tribunal
                                                                                                                                                      in
                                                                                   I




                                                                                                                               born        the United States
                                                                                                                                                                                                                                         I
                                                                                  ,




                                                                                                                                                                                                                                     .
                                                                                                                                                                                                ,




 sume we will get along the best way we can
                                                                                                      and subject        the jurisdiction thereof are cit                                               uniform course of decision on that subject
                                                                                                                             to
                                                                                               ;




                                                                                                                                                                               ,




 and what shall then be the relations between
                                                                                                                                                                                                                                                                                               to .



                                                                                                      izens of the United States and of the State                                                       The United States courts have no power
                                                                                        be




these people and the United States will            for                                                wherein they reside                                                                               punish an Indian who                connected with tribe
                                                                                                                                                                                                                                                  is




                                                                                                                                                                                                                                                                                     a
                                                                                                                                            "
 us




                                                                                                                                           .




     and for our descendants         work out They
                                                             to




                                                                                                            concur entirely with the honorable Senator                                                  for crime committed by him upon another
                                                                                   .




                                                                                                                                                                                                             a
                                                                                                      I




 are not now citizens       they are subjects     For                                                                       holding that the word             juris
                                                                                                                                                                                                                        of




                                                                                                      from Illinois
                                              of ;




                                                                                                                                                                                                                         the same tribe
                                                                                                                               in




                                                                                                                                                                                                        member
                                                                                   .




                                                                                                                                                                                   "
                                                                                                                         ,




                             policy we regulate our
                as




                                                                                                                                                                                                                                                       .




 safety,        matter                                                                                                                        ought                                                         Mr. FESSENDEN                   Within the territory
                                                                                                                                                           be con
                                                                                                                        as




                                                                                                                                                                              to




                                                                                                      diction         here employed
                a




                                                                                                                                                                                                                                               .
                                                                                                               ,




                                    large extent by
                                                                                                                                                           ,
                                                                                                               "
                                                      to




 intercourse with them
                                                                                                                                                                                                                                                                                               .




                                                                                                                                                                                                                                      Yes sir Why
                                                                                                                   so




                                                                                                                              imply                                                                         Mr. HOWARD
                                                            a




                                                                                                                                           full and complete
                                                                                                                                  to
                                                                                                                         as




                                                                                                      strued                                                                                                                                                   Because
                                                                                                                                                         ofa




                                                                                                                                                                                                                                                                           ?




                    that they shall assent to the
                                                                                                                                                                                                                                                    ,
                       so
                            as




                                                                                                                                                                                                                                      of .



                                                                                                                                                                                                                                                            .




 treaties                                                                                              jurisdiction       the part                                                                      the jurisdiction
                                                                                                                             in on
            ,




                                                                                                                                          the United States                                                                          the nation intervenes and
                                                                                                                                                                                             ,




 regulations that govern them          That      mat                                                                       all respects with the constitu                                                                                            perhaps        right
                                                                                   is




                                                                                                                                                                                                        ousts what would otherwise be
                                                                                   a




                                                                                                      coextensive
                                                               .




                                                                                                                                                                                                                                                                                     a




         policy but we need not treat with an
        of




  ter
                                                                                                      tional power
                                                                                                                                  of




                                                                                                                                                                                                                                     of




                                                                                                                                                                                                             jurisdiction
                                                                                                                                                                                                        of




                                                                                                                             the United States whether                                                                             the United States            But the
                        ,




                                                                                                                                                                            ,




                                                                                                                                                                                                                                                                           .
                                                                                                                                                          by




  Indian     We can make him obey our laws                                                            exercised by Congress                                                                             great objection
                                                                                                                                                                                                                                                                       to




                                                                                                                                                                                                                                                          the amend
                                                                                                                                                                                                                             is to
                                                                                                                                                                                             as , or




                                                                                                                                             the executive                                                                        the amendment
                                                                                               ,
            .




                                                                                                                                                 ,




                                                                                                                                                                                         ,




  and being liable
                                         to




                         such obedience he       sub
                                                                                   is




                                                                                                      by the judicial department                                say
                                                                                                                                                                                    to




                                                                                                                                                that                                                    ment that               an unconscious attempt on the
                                                                                                                                                                                                                 is
                                                                                                                                                                              is




                                                                                                                                                                                                                             it
                                                                                                                                                               ;




  ject     the jurisdiction
                                                        of




                                  the United States
            to




                                                                                                                  jurisdiction         extent and quality                                               part of my friend from Wisconsin                       natural
                                                                                                                                                                                                                                                                              to




                                                                                                      the same
                                                                                                                                                 in
                                                                                            I.




    did not intend                                                                                                                                                                                      ize all the Indians within the limits of the Uni
                                     to




                        discuss this question but                                                                   every citizen of the United States
                                                                                                                   to




                                                                                                      applies
I




                                                                                   ,




 got into     by the inquiry made
                                                                         of




                                          the Senator
                 it




                                                                                                      now                                                                                               ted States           do not    agree        that         am not
                                                                                                                                                                                                                                                             to




                                                                                                                Certainly gentlemen cannot contend
                                                     I




                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                            I
                                                                                                           .




                                                                                                                                                                                                                        .




 from Illinois
                                                                                                                                                                                                                                                                  I .
                                                                                                                                     ,




                                                                                                                                                                                                                    so




                                                                                                      that an Indian belonging                                                                                                         my views           am not yet
                                                                                                                                                          to




                                                                                                                                                 tribe although                                          quite
                        .




                                                                                                                                                                                                                       liberal
                                                                                                                                                                                                                                         in
                                                                                                                                                          a

                                                                                                                                                                          is ,




   Mr. HOWARD
                                                                                                                                                                                                                                                               .




                         hope sir that this amend
                                                                                                                                                                                                                                                                      of




                                                                                                                                                         subject
                                                                                                                                                     of




                                                                                                      born within the limits                                                                                                         sweeping act         naturaliza
                                                                                                                                                                                                                          to




                                                                                                                                                                                                                          pass
                                                                                                                                                                                                to




                                                                                                                                            State                                                       prepared
                                                        ,

                                                            I ,
                                         I
                                     .




                                                                                                                                                          a




                                                                                                                                                                                                                                      a
                                                                                                                                                                    ,




 ment will not be adopted            regard the lan                                                   this full and complete jurisdiction That ques                                                     tion by which all the Indian savages wild
                                                                                                                                                                                                                                                                                              toor
                                                        .




                                                                                                                                                                                                                                                                               , ,
            . of




 guage
                                                                                                                                                                     .
                                                 as




            the section     sufficiently certain aud
                                                                                                      tion has long since been adjudicated                                                                        belonging
                                                                                                                                                                                        so




                                                                                                                                                                                                                                          to




                                                                                                                                                                  far                                   tame                             tribal relation are
                                                                                                                                                                                                                                          a
                   If




                                                                                                                                                                                   ,




                                                                                                                                                                                                               ,




 definite                                   the sug
                                                                                                                                                                                                                                                                      go
                                                                             to




                 amended according
                                                                                                                                                                                                        become my fellow citizens and                        the polls
                                                                                                                                                                                                                                                                           to
                                                                                                                              of




                                                                                                          the usage        the Government              concerned
                                                                                                      as




                                                                                                                                                                       is




 gestion of the honorable Senator from Wis
                                                                                                                                                                                             .




                                                                                                                                                                                                                                         -




                                                                                                      The Government of the United States have                                                          and    vote   with    me    and   hold lands and deal in
 consin will read as follows
             it




                                                                                                      always regarded and treated the Indian tribes                                                     every other way that               citizen of the United
                                                                                                                                                                                                                                                 . a
                                                               :




   All personsborn in the United States and subject                                                                                                                                                     States has         right to do
                                                                                                                                                                                             soas




                                                                                                                                  foreign Powers
                                                                                                                                                                                                                           a
                                                                                                                                           as




                                                                                                                                                                                 , so




                                                                                                      within our limits                                       far
                                                                          ,




    the jurisdiction thereof excluding Indians not
 to




                                                                                                                                                                                                            Mr. DOOLITTLE Mr. President the Sen
                                                                                                                                                                           ,




                                                                                                      the treaty making power
                                                     ,




                                                                                                                                                                                                                                                                            ,




                                                                                                                                            concerned        and
                                                                                                                                                          is




 taxed are citizens
                                                                                                                                                                                                                                             .
                                         of




                       the United States and of the
        ,




                                                                                                                                                                                                                                                      purpose
                                                                                                                                                                                                                                                                                      to




                                                                                                                                                                                                                                                                       be
                                                                                                                    -




                                                                                                                                                                                                        ator from Michigan declares his
                                                                              ,




 Statewherein they reside                                                                                  especially                               power       con
                                                                                                                                  as




                                                                                                      far                   the commercial
                                                                                                                                                                                    is
                                                 .
                Case 1:25-cv-10139-LTS                                                  Document 5-27                                      Filed 01/21/25                                 Page 10 of 14

· 2896                                                                     THE CONGRESSIONAL GLOBE .                                                                                                                                               May 30 ,
 not to include these Indians within this consti                                    States expressly refused to make treaties with                                               the constitutionality of the civil rights bill that
 tutional amendment . In purpose I agree with                                       the Indians of California , on the ground that                                               this proposition       amend the Constitution now




                                                                                                                                                                                                              it to
  him . I do not intend to include them . My                                                                                                                                                           validity and force




                                                                                                                                                                                                                                                              It
                                                                                    they had no title and no jurisdiction whatever                                               appears




                                                                                                                                                                                                to
                                                                                                                                                                                               give                                    not




                                                                                                                                                                                                                                                                   is
                                                                                                                                                                                                                                                      .
 purpose is to exclude them ; and the question                                      in the soil ; they were absolutely subject to                                                an  imputation     upon any one




                                                                                                                                                                                                                                        .
                                                                                    the authority of the United States , which we                                                   Mr. GRIMES                 an imputation upon




                                                                                                                                                                                                                      It
 between us is whether his language includes




                                                                                                                                                                                                                             is
                                                                                                                                                                                                               .
 them and mine excludes them , or whether his                                       derived from our treaty with Mexico .                                                        every member who voted for the bill the in




                                                                                                                                                                                                                                                           ,
 language excludes them and mine includes                                             The opinion of Attorney General Cushing ,                                                  ference being legitimate and logical that they
 them . The Senator says , in the first place , if the                              one of the ablest men who has ever occupied the




                                                                                                                                                                                                                                                               so
                                                                                                                                                                                 violated their oaths and knew they did             when
 words which are suggested by me , " Indians not                                    position of Attorney General , has been read                                                 they voted for the civil rights bill




                                                                                                                                                                                                                                                 .
 taxed , " are to govern , any State has it in its                                  here , in which he states clearly that the Indians ,                                            Mr. DOOLITTLE             The Senator goes too




                                                                                                                                                                                                                       .
 power to naturalize the Indian tribes within                                       though born upon our soil , owing us allegiance ,                                            far What say that they had doubts




                                                                                                                                                                                                                  is
                                                                                                                                                                                                    I
                                                                                                                                                                                   .




                                                                                                                                                                                                                                                               .
 its limits and bring them in as citizens . Can                                     are not citizens ; they are our subjects ; and                                                  Mr. FESSENDEN                will say




                                                                                                                                                                                                                                                      to
                                                                                                                                                                                                                                the Sen




                                                                                                                                                                                                                             I
                                                                                                                                                                                                                        .
 a State tax them unless they are subject to the                                    that is the very word which is used in this                                                  ator one thing whatever may have been Mr.




                                                                                                                                                                                                          :
 State ? Certainly not . My friend from Michi                                       amendment proposed to the Constitution of                                                                                bringing




                                                                                                                                                                                                                        in
                                                                                                                                                                                 BINGHAM'S motives                          forward he




                                                                                                                                                                                                                                             it



                                                                                                                                                                                                                                                                    ,
gan will not contend that an Indian can be                                          the United States , declaring that if they be                                                brought      forward some time before the civil




                                                                                                                                                                                               it
taxed if he is not subject to the State or to the                                   " subject" to our jurisdiction , born on our                                                 rights bill was considered         all and had re




                                                                                                                                                                                                                                    at




                                                                                                                                                                                                                                                                   it
 United States ; and yet , if they are subject to                                   soil , they are , ipso facto , citizens of the United                                        ferred to the committee        and      was discussed




                                                                                                                                                                                                                                            it
                                                                                                                                                                                                                               ,
                                                                                                                                                                                    the committee long before the civil rights




                                                                                                                                                                                 in
the jurisdiction of the United States they are                                      States .
declared by the very language of his amend                                             Mr. President the celebrated civil rights bill                                            bill was passed       Then      will say        him fur




                                                                                                                                                                                                                                                      in to
                                                                                                                                                                                                                               I
                                                                                                                 ,




                                                                                                                                                                                                           .
 ment to be citizens .                                                              which has been passed during the present Con                                                 ther that during all the discussion            the com
                                                   I




                                                                                                                                                                                      ,
    Now , sir , the words which have used are                                       gress which was the forerunner of this consti                                                mittee that heard nothing was ever said about




                                                                                                                                                                                                I
                                                                                         ,
borrowed from the Constitution as it stands                                                                           give validity to                                           the civil rights bill     connection with that




                                                                                                                                                                                                                      in




                                                                                                                                                                                                                                                                           It
                                                                                                                                       to
                                                                                    tutional amendment       and




                                                                                                                          ,




                                                                                                                                                                                                                                                                   .
the Constitution adopted by our fathers . We                                        which this constitutional amendment brought                                                  was placed on entirely different grounds




                                                                                                                                                         is
                                                                                                                                                                                    Mr. DOOLITTLE




                                                                                                                                                                                                                                                              .
have lived under it for seventy years ; and                                         forward and which without this constitutional                                                                               will ask the Senator




                                                                                                                                                                                                                               I
                                                                                                                                                                                                                       .
                                                                                                ,
these words , " Indians not taxed , " are the very                                                              has no validity so far                                           from Maine this question




                                                                                                                                                                                                                                    if
                                                                                    amendment to enforce                                                                                                             Congress      under




                                                                                                                              it




                                                                                                                                                                                                                                                          to ,
                                                                                                                                                                                                                             :
words which were used by our fathers in form                                           this question      concerned uses the follow                                              the Constitution now has the power
                                                                                    as


                                                                                                                                                                                                                                  declare




                                                                                                                 is




                                                                                                                                           ,
ing the Constitution as descriptive of a certain                                                                                                                                         all  persons




                                                                                                                                                                                                                                  in
                                                                                    ing language                                                                                 that                    born     the United States




                                                                                                                                                                                      "




                                                                                                                                                                                                                                                                           ,
                                                                                                            :
class of Indians which should not be enumer                                                                                                                                      and not subject        any foreign Power exclud




                                                                                                                                                                                                               to
                                                                                        That all persons born in the United States and




                                                                                                                                                                                                                                                         ,
                                                                                                                                                                  ,
                                                                                     "



 ated as a part of our population , as distin                                                                                                                                    ing Indians not taxed are hereby declared




                                                                                                                                                                                                                                                                           to
                                                                                    not subject to any foreign Power excluding Indians




                                                                                                                                                                                                                           ,
                                                                                                                                       ,
guished from another class which should be                                          not taxed are hereby declared to be citizens of the                                          be citizens of the United States                      the




                                                                                                                                                                                                                                                                   at is
                                                                                                                                                                                                                             what




                                                                                                                                                                                                                                                 "
                                                                                                   ,




                                                                                                                                                                                                                                             .
                                                                                    United States
                                                                                                                                                                                 necessity of amending the Constitution
                                                                                                            "

                as a part of our population ; and                                                                                                                                                                                       all
                                                                                                         .


enumerated
these are words of description used by them                                            Why should this language be criticised any                                                on this subject




                                                                                                                                                                                                           ?
                                                                                                             brought forward here                                                   Mr. FESSENDEN                do not choose that




                                                                                                                                                                           in
under which we have acted for seventy years                                         more now when
                                                                                                                       is
                                                                                                                     it




                                                                                                                                                                                                                               I
                                                                                                                                                                                                                        .
                                                                                                    ,




and more . They have come to have a mean                                            this constitutional amendment than when was                                                  the Senator shall get off from the issue he pre




                                                                                                                                                                  it
                                                                                                                                           ,
ing that is understood as descriptive of a cer                                         the civil rights bill     Why should the lan                                                             meet him right there on the first
                                                                                    in




                                                                                                                                                                                 sented
                                                                                                                                                                                               If




                                                                                                                                                                                            I
                                                                                                                              ?




                                                                                                                                                                                          .
tain class of Indians that may be enumerated                                                                                         the




                                                                                                                                                              in
                                                                                    guage be more criticised here than                                                                        he wants my opinion upon other




                                                                                                                                                              is
                                                                                                                                                        it
                                                                                                                                                                                 issue




                                                                                                                                                                                       .
within our population as a part of the citizens                                     second section of this constitutional amend                                                  questions he can ask           afterward        He was




                                                                                                                                                                                                                               it
                                                                                                                                                                                                ,




                                                                                                                                                                                                                                                     .
of the United States , to constitute a part of                                                                                                                                                                         fifteen brought




                                                                                                                                                                                                                                        of
                                                                                    ment where the same words are used              The                                          saying that the committee



                                                                                                                                                              ?
                                                                                         ,




the basis of the political power of the United                                                           apportioning representation                                             this proposition forward for         specific object
                                                                                                                 in




                                                                                    second section




                                                                                                                                                                                                                                        a
                                                                                                             ,




                                                                                                                                                                           ,




                                                                                                                                                                                                                                                                           .
States , and others not included within it are to                                                                                   per                                             Mr. DOOLITTLE

                                                                                                                                                                  of
                                                                                    proposes                                                                                                                     said the committee
                                                                                                       to




                                                                                                  count the whole number




                                                                                                                                                                                                                             I
                                                                                                                                                                                                                       .
be excluded from that basis . The courts of                                                                    excluding Indians not                                             of fifteen brought forward because they had
                                                                                             " in




                                                                                    sons      each State




                                                                                                                                                                                                                   it
                                                                                                                          "
                                                                                                                      ,




                                                                                               Why not insert those words                                                                         the constitutional power of Con




                                                                                                                                                                                                     to
                                                                                                                                                                                                as
the United States have had occasion to speak                                        taxed                                       the first                                        doubts
                                                                                                                                                             in
                                                                                            .




 on this subject , and from time to time they                                                              in the second      Why not                                                      pass the civil rights bill
                                                                                                    as




                                                                                                                     as




                                                                                     section     well




                                                                                                                                                                                           to
                                                                                                                                                                                 gress
                                                                                                                                                     ?




                                                                                                                                                                                                                                             ; .
have declared that the Indians are subjects of                                      insert them in this constitutional amendment                                                    Mr. FESSENDEN             Exactly and say




                                                                                                                                                                                                                                                                           in
                                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                        .
the United States , not citizens ; and that is the                                                  the civil rights bill                                                        reply that        they had doubts no such doubts
                                                                                    as



                                                                                                    as




                                                                                       well                                   The civil
                                                                                                         in




                                                                                                                                                                                                     if
                                                                                                                                                                            ||
                                                                                                                                                     ?




                                                                                                                                                                                       ,




                                                                                                                                                                                                                                         ,
very word in your amendment where they are




                                                                                                                                                                                                                                                 of
                                                                                    rights bill undertook      do this same thing




                                                                                                                                                                                                          in
                                                                                                                                                                                 were stated         the committee
                                                                                                                                                                          It
                                                                                                                                                                                                                            fifteen and
                                                                                                                              to




                                                                                                                                                                                                                                                                  at ,
                                                                                                                                                                      .




" subject to the jurisdiction " of the United
                                                                                                         to




                                                                                    undertook        declare that     all persons born                                           the matter was not put on that ground                 all
                                                                                                                                       "




                                                                                                                                                                                                                                                                           .
                                                                                    in




States . Why , sir , what does it mean when                                            the United States and not subject            any                                          There was no question raised about the civil
                                                                                                                                                                  to
                                                                                                                          ,




you say that a people are subject to the juris                                      foreign Power excluding Indians not taxed                                                    rights bill
                                                                                                             ,




                                                                                                                                                                           ,




                                                                                                                                                                                                .
                                                                                                                                                                                    Mr. DOOLITTLE
diction of the United States ? Subject , first ,                                    are hereby declared       be citizens of the Uni                                                                                     put the ques
                                                                                                                          to




                                                                                                                                                                                                              Then




                                                                                                                                                                                                                                        I
                                                                                                                                                                                                                       : .
                                                                                                     But sir the committee of fif
                                                                      to




         military power second subject                                              ted States                                                                                   tion to the Senator           there are no doubts




                                                                                                                                                                                                                             if
                                                     its
      its




                                                                                                       "




to




                                                                                                                                                                                                                                                                           ,
                                                                                                                     ,

                                                                                                                              ,
                                                                                                    .
                                                   to ,
                                  ;




                                                                                                                                                      by




                                            legislative                             teen fearing that this declaration        Congress                                           why amend the Constitution on that subject
                                                           its




political power third subject
                                  ,
                        ;




                                                                                                                                                                                                                                                                           ?
                                                                                         ,




power and who doubts our legislative power                                          was without validity unless          constitutional                                             Mr. FESSENDEN That question the Sen
                                                                                                                                            a
        ;




                                                                                                                                                                                                                        .
                                                                                                                                     en




                                                                                                                                                                                                                                                       It
over the reservations upon which these Indians                                      amendment should be brought forward                                                          ator may answer to suit himself                  has no
                                                                                                                                                                  to




                                                                                                                                                                                                                                                 .
                  Speaking upon that subject                                                  have thought proper          report this                                                           the civil rights bill
                                                                                                                                                                                                 to




                                                                                    force
                                                                                                                                                to




                                                                                                                                                                                 reference
                                                                                             it




are settled
                                                                                              ,
                                                                           I
                                                                       ,
                 ?




                                                                                                                                                                                                                                            .
           say that one of the most distinguished                                                                                                                                   Mr. DOOLITTLE             That does not meet the
        to




have                                                                                amendment
                                                                                                        .




                                                                                                                                                                                                                      .


                              this body certainly                                       Mr. FESSENDEN                              say                                                    all         If
                                                                                                                                                                                                    my friend maintains that          this
                                  in




                                                                                                                                                   to


                                                                                                                                                                  to




                                                                                                                                                                                                                                                                  at
                                                                                                                                                                                          at




men who ever sat                                                                                                     want                  the                                   case
                                                                                                                              I
                                                                                                                          .
                                                           ,




                    this body since have been                                       honorable Senator who has great regard for                                                   moment the Constitution of the United States
                       in




that have sat
                                                                           a
                                               I




                                                                                                                                                                                                                                                                           ,
                                                                                                                                           a
                                                                                                                     ,




member of           the late Senator from Ver                                                            drawing   entirely    upon
                  it




                                                                                    truth that he                                      his im                                    without amendment gives all the power you
                                                                                                                is
                  ,




                                                                                         ,




                                                                                                                                                                                                                      ,




mont Judge Collamer time and again urged                                            agination       There     not one word of correct                                            ask why do you put this new amendment into
                                                                                                                      is is
                                  ,




                                                                                                                                                                                      ,
      ,




                                                                                                    .




                    member of the Committee on                                                all that he
                                                                                            in




upon me as                                                                          ness                      saying   not particle not                                             on that subject
                                                                                                                                                                                 it
                       , a




                                                                                                                                                a
             ,




                                                                                                                                                                                                          If the Senator from Wis
                                                                                                                                       ,




                                                                                                                                                                                                                . ?
                                                                                                                                                                   ,




                       bring forward       scheme of                                   scintilla not the beginning of truth                                                         Mr. HOWARD
                             to




Indian Affairs
                                                          a




                                                                                    a



                                                                                                    .




                                                                                                                                                         .




legislation by which we should pass laws and                                            Mr. DOOLITTLE             take     little issue with                                     consin wishes an answer           will give him one
                                                                                                                                           a
                                                                                                                          I




                                                                                                                                                                                                                              I
                                                                                                                                                                                                                           I. ,
                                                                                                                          .




                                  all the Territories                               my friend from Maine on that point
                                        in




subject all the Indians                                                                                                                                                                                                    give
                                                                                                                                                                                                                      to
                                                                                                                                                             as




                                                                                                                                         ques                                    such as         am able
                                                                                                                                                                                          I
                                                                                                                                                             a




                             the legislation of Con                                 tion of fact                                                                                     Mr. DOOLITTLE             was asking the Sen
                                  to
 of




     the United States
                                                                                                        .




                                                                                                                                                                                                                       .




gress direct      The Senator from Ohio not now                                         Mr. FESSENDEN             In the first place this                                         ator from Maine
                                                                                                                                                                                                              .
                                                                                                                                                                  ,
                                                                                                                          .
                 [ .




     his seat Mr. SHERMAN has contended for                                         was not brought forward by the committee of                                                      Mr. HOWARD              was     member of the
                                                                                                                                                                                                                                        a
 in




                                                                                                                                                                                                                      I
                                                                                                                                                                                                                 .
                                        ]




the same      thing   and other members of Con                                      fifteen at all                                                                                same committee and the Senator's observa
                         ,




                                                                                                         .




                                                                                                                                                                                                               ,




                                                                                        Mr. DOOLITTLE
                                                                 of




gress contend that the very best policy           deal                                                            This proposition was                                                              me equally with the Senator
                                                                                                                                                                                                         to




                                                                                                                                                                                 tions apply
                                                                                                                          .




 ing with the Indian tribes                                                         first introduced into the House by gentleman                                                                                    put this question
                                         to




                                                                                                                                                                                                                                    to




                                      subject them                                                                                                                               from Maine        We desired
                                                                           , . at
                                         is




                                                                                                                                                   a




                                                                                                                                                                                                     .




                                                                                                                                                                                                                                             of




           our legislative power and jurisdiction                                   from Ohio by the name of BINGHAM                                                                  citizenship and the rights         citizens and
        to




                                                                                                                                                                                 of




 once
                                                                                                                                                        .




    Subjects                                 Why sir                                    Mr. FESSENDEN                                                                            freedmen under the civil rights bill beyond the
                  of




                  the United States                                                                                 thought the Senator
"




                                                       "


                                                                  ,
                                                       !




                                                                                                                               I
                                                                                                                          .




 they are completely our subjects          completely                               was speaking          this first part                                                        legislative power
                                                                                                                of




                                                                                                                                                                                                                  of




                                                                                                                                                                                                                              the Sen
                                                                                                                                                                                                                                                       as




                                                                                                                                                                                                         such gentlemen
                                                                                                                                                of




                                                                                                                                 the section
                                                       ,




                                                                                                                                                                           ,




in our power We hold them as our wards                                              the amendment        not the whole                                                           ator from Wisconsin who would pull the whole
                                                                                                                ,
                                                                           .




                                                                                                                                                                                                                      ,
                                                                                                                                            .
                       .




                                                                                                                                                                                                     by
                                                                                                                                       sir




 They are living upon our bounty                                                        Mr. DOOLITTLE No                  that       proposed                                     system up      the roots and destroy         and ex
                                                                                                                                                      is




                                                                                                                                                                                                                                                      it
                                                                                                                                       ;
                                                                                                                                   ,




                                                                                                                                                                                                                                                       ,
                                                       .




                                                                                                                          .




                                                                                                                                                                                                                                                                           of




     Mr. President there           one thing that                                   by the Senator from Michigan                 As under                                        pose the freedmen again          the oppressions
                                                                                                                                                                                                                                   to
                                        is




                                                                                                                                                         I
                                                                           I
                             ,




                                                                                                                                            .




 doubt not Senators must have forgotten              In                             stand      member from Ohio Mr. BINGHAM who                                                  their old masters
                                                                                              a
                                                                                            ,




                                                                                                                                       ,




                                                                                                                                                                  ,




                                                                                                                                                                                                               .
                                                                  .




 all those vast territories which we acquired                                             very able speech                                                                           Mr. DOOLITTLE           The Senator has made
                                                                                                                              in




                                                                                                                  the House maintained
                                                                                    in




                                                                                                                                                                                                                       .
                                                                                        a




 from Mexico we took the sovereignty and the                                        that the civil rights bill was without any author                                             his answer      suppose
                                                                                                                                                                                                 I
                     ,




                                                                                                                                                                                                 ,




                                                                                                                                                                                                                           .




  jurisdiction      the soil and the country from                                   ity the Constitution brought forward prop                                                        Mr. HOWARD Yes sir
                                                                                         in
                       of




                                                                                                                                                                                                                               ,
                                                                                                                          ,




                                                                                                                                                                                                                                        .
                                                                                                                                                              a




                                                                                                                                                                                                                .




                                                                                                                                                                                     Mr. DOOLITTLE
                                                                                                    in




 Mexico just          Mexico herself had held                                       osition        the House of Representatives to                                                                            Mr. President when
                         as




                                                                                                                                                                                                                                                              ,
                                                                           it,
            ,




                                                                                                                                                                                                                        .




  just     Spain had held                                                           amend the Constitution so as to enable Con                                                                                   say that have any
                                                                                                                                                                                                                               to




                                before the Mexican                                                                                                                               the Senator undertakes
        as




                                       ; it




                                                                                                                                                                                                                                                   to I
                                                                                                                                                        all




                                  and what was the                                             declare the civil rights               persons                                     disposition
                                                                                                                                                of




 republic was established
                                                                                              to




                                                                                    gress                                                                                                         subject the freedmen        the des
                                                                                                                                                                                                      to




                                                                                                                                                                                                                                                       -
                                                                                                                                                                           ,




 power that was held by Spain and by Mexico                                         and that constitutional amendment Mr. BING                                                               their old masters he says that which
                                                                                                                                                                                               of




                                                                                                                                                                                 potism
                                                                                                                                                     ,




                                                                                                                                                                                                                                    ,




                                                                                    HAM being himself one of the committee of
                                                                                                                                                                                                                             of




                                                                                                                                                                                                                                                          or




 over the Indian tribes         They did not recog                                                                                                                               there      not particle      foundation        excuse
                                                                                                                                                                                          is


                                                                                                                                                                                                     a
                                  ?




                                                                           in
                                                   of




                                         an Indian                                  fifteen was referred by the House
                                                                                                                                                                                                                   I to




 nize even the possessory title                                                                                                     that com                                     for saying        say    that Senator
                                                                                                                                                     it to




                                                                                                                                                                                                     I
                                                                                             , ,




                                                                                                                                                                                                .




               the jurisdiction
                of




                                              of




                                    those territories                               mittee and from the committee                   has been                                         Mr. HOWARD            beg the Senator        allow
                                                                                                                                                                                                                                                              to




 one foot
                                                                           .




                                                                                                                                                                                                                .




 In reference        the Indians of California we                                                                   right                                                                            made no personal imputation
                       to




                                                                                    reported         say                        infer that                                        me one word
                                                                                                                                                to




                                                                                                                                                                           it




                                                                                                           have
                                                                                                                                                                                                          I
                                                                                                                                   a
                                                                      ,




                                                                                                     I
                                                                                                                 I




                                                                                                                                                                                                      .
                                                                                                   .




 have never admitted that they had sufficient                                                                                                                                     against the Senator from Wisconsin
                                                                                                                                                                  of




                                                                                    was because Mr. BINGHAM and others                     the
                                                                                                                                                                                                                                                      .




 jurisdiction over any part                                                                                                                                                          Mr. DOOLITTLE              desire to finish my
                                                                 to




                                                                                                   of




                                                                                                  Representatives and other persons
                                              of




                                     its soil     make                               House
                                                                                                                                                                                                                           I
                                                                                                                                                                                                                       .




                          The Senate of the United                                  upon the committee had doubts                                                                 sentence before being interrupted
                                                                                                                                                   at




                                                                                                                                                                           to




    treaty with them
                                                                                                                                                                      as




                                                                                                                                  least
a




                                                                                                                                               ,




                                                                                                                                                                  ,
                              .




                                                                                                                                                                                                                                                 .
                                 Case 1:25-cv-10139-LTS                                                        Document 5-27                                                 Filed 01/21/25                                    Page 11 of 14


1866 .                                                                               THE CONGRESSIONAL                                                                      GLOBE .                                                                                              2897
                                         I
                                will not be forced by                                       whom representation    is to be based ? think                                        I                  thereof in the amendment the words ex




                                                                                                                                                                                                  "
     Mr. HOWARD .




                                                                                                                                                                                                                    "




                                                                                                                                                                                                                                                                                      "
                                                                                            it is perfectly clear , when you put the first                                                        cluding Indians not taxed




                                                                                                                                                                                                                                                          so
the Senator into a false position .                                                                                                                                                                                                  that the amend
                                             I




                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                    "
    Mr. DOOLITTLE .               do not desire to be                                                                 together , that Indians                                                               amended would read




                                                                                                                                                                                                            if
                                                                                            and   second sections                                                                                 ment
                                                                                            not taxed are excluded from the term " cit




                                                                                                                                                                                                           ,




                                                                                                                                                                                                                                    ,




                                                                                                                                                                                                                                                              :
interrupted until                I
                          finish one sentence .       Isay                      Is                                                                                                                  All persons born in the United States and subject




                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                  to the jurisdiction thereof excluding Indians not
to that Senator that so far as the rights of the                                            izens ; " because it cannot be supposed for one




                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                  taxed are citizens of the United States and of the
                                                  I                                         moment that the term " citizens ," as employed




                                                                                                                                                                                                           ,
freedmen are concerned ,            am willing to com                                                                                                                                             State wherein they reside

                                                                                                                                                                                                                    -




                                                                                                                                                                                                                                             .
pare my course of action in this body or else                                               in these two sections , is intended to apply to
                                 I
                           say to that Senator that                                   I     Indians who are not even counted under any
                                                                                                                                                                                                     The question being taken by yeas and nays




                                                                                                                                                                                                                                                                                             ,
where with his .




                                                                                                                                                                                                                                 10
                                                                                                                                                                                                  resulted yeas




                                                                                                                                                                                                                                                              as
                                                                                                                                                                                                                       nays 30      follows




                                                                                                                                                                                                                                 ,




                                                                                                                                                                                                                                                     ;
                                                                                            circumstances as a part of the basis of repre
                                                                                                                I




                                                                                                                                                                                                                                                                                :
labored as hard as he has labored to secure                                                                                                                                                          YEAS Messrs Buckalew Cowan Davis Doolittle




                                                                                                                                                                                                            - ,-
                                                                                                           therefore think that the amend




                                                                                                                                                                                                                                                 ,



                                                                                                                                                                                                                                                               ,



                                                                                                                                                                                                                                                                             , ,
                                                                                            sentation .




                                                                                                                                                                                                                           .




                                                                                                                                                                                                                                                                                             , ,
the rights and liberties of the freedmen , to                                                                                                                                                     Guthrie Hendricks Johnson      McDougall   Norton




                                                                                                                                                                                                                                    ,




                                                                                                                                                                                                                                                     ,
 emancipate the slaves of the South , and to put                                            ment of the Senator from Wisconsin is clearly                                                         and Riddle    10.




                                                                                                                                                                                                                -
 an end forever not only to slavery , but to the                                            unnecessary .              I
                                                                                                              do not believe that " Indians                                                          NAYS Messrs Anthony Clark Conness Cragin




                                                                                                                                                                                                                                                 ,


                                                                                                                                                                                                                                                              ,



                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                               .




                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                  Creswell Edmunds Fessenden Foster Grimes Har
                                                                                      I                                                                  I




                                                                                                                                                                                                                ,




                                                                                                                                                                                                                                 ,




                                                                                                                                                                                                                                                     ,



                                                                                                                                                                                                                                                                    ,



                                                                                                                                                                                                                                                                                      ,
 aristocracy that was founded upon it ; and                                                 not taxed" are included , and understand that                                                         ris Henderson Howard Howe Kirkwood Lane of




                                                                                                                                                                                                    ,




                                                                                                                                                                                                                         ,




                                                                                                                                                                                                                                             ,



                                                                                                                                                                                                                                                         , ,




                                                                                                                                                                                                                                                                                ,
have never , by word or deed , said or done
                                                      any                                   to be a description of Indians who maintain                                                           Kansas Morgan       Morrill Nye Poland Pomeroy




                                                                                                                                                                                                            , , ,




                                                                                                                                                                                                                               , ,



                                                                                                                                                                                                                                               , ,




                                                                                                                                                                                                                                                                            ,




                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                  Ramsey Sherman Stewart Sumner Trumbull Van
thing , as a member of this body or elsewhere ,                                             their tribal relations and who are not in all




                                                                                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                                                                 -,
                                                                                                                                                                                                  Winkle Wade Willey Williams and Wilson 30.




                                                                                                                                                                                                                         ,



                                                                                                                                                                                                                                         ,




                                                                                                                                                                                                                                                          ,
tending to build up any oppression against the                                              respects subject to the jurisdiction of the United                                                       ABSENT      Messrs Brown Chandler Dixon Lane




                                                                                                                                                                                                                    -


                                                                                                                                                                                                                                                    ,




                                                                                                                                                                                                                                                                        ,


                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                     , .
freedmen , tending to destroy any of their rights .
                                                                               I
                                                                                            States .
                                                                                                                                                                                                                    -
                                                                                                                                                                                                  of Indiana Nesmith Saulsbury Sprague Wright




                                                                                                                                                                                                                    ,




                                                                                                                                                                                                                                                          ,




                                                                                                                                                                                                                                                                              ,



                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                  and Yates
I                                                                                                   one sense all persons born within the




                                                                                                                                                                                                                    9
                                                                                                In




                                                                                                                                                                                                                    .
     say to that honorable Senator , and                 am




                                                                                                                       ,
                                                                                            geographical limits                                                                                       So the amendment to the amendment was
 ready at any time to meet him in argument




                                                                                                                                    of
                                                                                                                         the United States are
                                                                                            subject                                                                                               rejected
upon it although it is drawing me now from                                                               the jurisdiction




                                                                                                                                               of
                                                                                                                                the United States


                                                                                                          to




                                                                                                                                                                                             ,




                                                                                                                                                                                                                .
                                        myself preparedI                                                                      the jurisdiction of                                                    The PRESIDENT pro tempore




                                                                                                                                             to
the question in dispute , that                                                              but they are not     subject                                                                                                                 The ques
                                                                                                                                                                                                               on the amendment of the Senator




                                                                                                                                                                                                                                                                    .
 and introduced here and urged a bill whose                                                 the United States in every sense               Take the                                               tion now




                                                                                                                                                                                                                    is
                                                                                                                                                                  .
 provisions defended every right of the freed                                               child of an embassador            In one sense that                                                   from Michigan




                                                                                                                                                                                     ,
                                                                                                                                         .




                                                                                                                                                                                                                             .
 men just as much as the bill to which we have                                                                                                                                                       The amendment was agreed




                                                                                                                                                                                             to




                                                                                                                                                                                                                                                                   to
                                                                                            child born        the United States           subject
                                                                                                                in




                                                                                                                                                                  is




                                                                                                                                                                                                                                                                   .
 now made reference , and am prepared to do       I                                         the jurisdiction of the United States because                                                            The PRESIDENT pro tempore             The next




                                                                                                                                                                       ,
                                                                                            if that child commits the crime of murder or




                                                                                                                                                                                                                                                                        .
 so and to defend their rights with the whole                                                                                                                                                     amendment proposed by the Senator from




                                                                                                                                                                                       ,
 power of the Government .                                                                  commits any other crime against the laws of




                                                                                                                                                                                                                                                                   be
                                                                                                                                                                                                   Michigan Mr. HOWARD will           read




                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                 ]
                                                                                                                                                                                                                    [
     But , sir , the Senator has drawn me off from                                          the country                                       subject                                                The Secretary read the amendment
                                                                                                                    to

                                                                                                                  certain extent he                                                                                                           which




                                                                                                                                                                        is
                                                                                                                       a




                                                                                                                                                                                                                                                                                ,
                                                                                                               ,




                                                                                                 the jurisdiction                   of                                                                                       twenty




                                                                                                                                                                                                           " in
the immediate question before the Senate .                                                                               the United States but
                                                                                            to




                                                                                                                                                                                                   was    section two line           two after the




                                                                                                                                                                                     ,




                                                                                                                                                                                                                                     ,




                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                             In
                                                                                                                                                     so
 The immediate question is , whether the lan                                                                                         with these                                                                       strike out the word      citi
                                                                                                   . in




                                                                                                       every respect                                                                              word




                                                                                                                                                                                                                                 to
                                                                                             not                         and                                                                               male




                                                                                                                                                                                                                                                                                     "
                                                                                                                                   ;




                                                                                                                                                                                                                          "
                                                                                                                                                                                                                         ,
                                               all




 guage which he uses , "            persons subject                                         dians       All persons living within judicial                                                                and insert inhabitants being citizens
                                                                                     to




                                                                                                                                                                                                  zens




                                                                                                                                                                       in to a




                                                                                                                                                                                                           "




                                                                                                                                                                                                                                     "




                                                                                                                                                                                                                                                               ,
                                                                                                                                             be sub                                                of the United States     so as to make the sec
                                                                                                                                    in

the jurisdiction
                           I of




                          the United States       includes                                  district may be said          one sense
                                                                     "




                                                                                                                                                                                                                                             "
                                                                                                                                                                                                                                           ;
                                                                    ,




                                                                                                                                ,




                                                                                                                                                                  ,
                                                                                                                                         in of

these Indians            maintain that                and                                    ject     the jurisdiction      the court                                                             tion read
                                                                                                   to




                                                                                                                                            that dis
                                                                it




                                               does
                                                                            ;


                                                                                     ,




                                                                                                                                                                                                                    :
                       .




therefore for the       purpose     relieving     from any                                                they                every   sense subject                                                        Representatives shall be apportioned among
                                                  of




                                                                                             trict but          are not




                                                                                                                                                                                                           2.
                                                                                                                                                                                                     SEC
                                                                     it
              ,




                                                                                                  ,




                                                                                                                                                                                                           .
                                   excluding                                                     the jurisdiction       the court until they are                                                  the several States which may be included within the
                                             of




                                                                                             to




                     purpose
                                                                                                                                of




doubt for the                                    this class                                                                                                                                       Union according       their respective numbers count
         ,




                                                                                                                                                                                                                                    to
                                      my judgment                                            brought by proper process within the reach




                                                                                                                                                                                                            ,




                                                                                                                                                                                                                                                                                   ,
                                                                                     , ut
                        as




                      they are
                                                  in




      persons                                                                                                                                                                                     ing the whole number of persons in each State exclud
of




                                                                                                                                                 ,
                                                                                ,
                                             ,




                                                                                                        ,
                  ,




                                                                                                                                                                                                                                                                                ,
terly unfit        be citizens of the United States                                          of the power of the court              understand the                                                ing Indians not taxed But whenever in any State
                   to




                                                                                                                                                  I




                                                                                                                                                                                                                                                                        ,




                                                                                                                                                                                                                                                                                             ,
                                                                                                                                             .




                                                                                                                                                                                                                                         .
   have proposed this amendment               which Ibor                                     words here        subject     the jurisdiction        the                                of          the elective franchise shall be denied to any portion
                                                                                                                                        to
                                                                ,




                                                                                                                  "
I




                                                                                                               ,




                                                                                                                                                                                                  of its male inhabitants being citizens of the United
row from the Constitution as               stands which                                                              mean fully and completely
                                                                                                                           to




                                                                                                                                                                                                                                         ,
                                                                                             United States
                                                           it




                                                                                                                                                                                                  States not less than twenty one years of age or in
                                                                           ,




                                                                                                                ,
                                                                                                                     "




                                                                                                                                                                                                           ,




                                                                                                                                                                                                                                                                                     in ,
                                                                                                          the jurisdiction




                                                                                                                                                                                                                                                     -
our fathers adopted more than seventy years                                                  subject
                                                                                                                                               of




                                                                                                                                 the United States                                                any way abridged except for participation
                                                                                                          to




                                                                                                                                                                                                                                                  rebel




                                                                                                                                                                                                                                ,
                                                                                                                                                                                              .
                                     the civil rights bill                                                                                                                                        lion or other crime the basis of representation in
                                                 in




ago which                                                                                        there was any doubt
                                                                                            If




                    find also                                                                                                      the meaning of
                                                                                                                                                    to
                                                                                                                                             as




                                                                                                                                                                                                                                     ,
                  I
    ,




                                                                                                                                             entirely                                             such State shall be reduced in the proportion which
which passed this present Congress and which                                                those words          think that doubt
                                                                                                                                                                      is




                                                                                                                                                                                                  the number of such male citizens shall bear to the
                                                                    ,




                                                                                                                ,
                                                                                                                    I




   find also in the second section of this consti                                           removed and explained by the words                    the                                             whole number of male citizens not less than twenty
                                                                                                                                                                                     in in
I




                                                                                                                                                                                                  one years of age
                                                                     to




tutional amendment when applied                   the enu                                    subsequent section and believing that                any



                                                                                                                                                                                                                           .
                                                                                                                               ;




                                                                                                                                                                             ,




meration of the inhabitants            of the States                                                     by any intelligent person these two                                                        Mr. JOHNSON                  supposed that that
                                                                                                        or




                                                                                                                                                                                                                                             Is
                                                                                   I




                                                                                             court




                                                                                                                                                                                                                                                    it
                                                                                .




                                                                                                                                                                   ,




                                                                                                                                                                                                                                     .
                      just proper        every way but                                      sections would be construed              not      include
                                                       in




                                                                                                                                                                                                                                                                                as
                                                                                                                                                                                                                 changes
                                                                                                                                                                        to




insist that                                                                                                                                                                                       amendment                 the section             was




                                                                                                                                                                                                                                                                                      it
                        is
                  it


                                     ,




                                                                               ,




reasonable that we exclude the wild Indians




                                                                                                                                                                                                                                               to


                                                                                                                                                                                                                                                              to
                                                                                            Indians not taxed          do not think the amend
                                                                                                                                                                                                                    It




                                                                                                                                                                                                                                                                                             as
                                                                                                                                                                                                  before        appears       me       be the same
                  ,




                                                                                                                           ,
                                                                                                                            I




                                                                                                                                                                                                                ?



                                          citizens of the                                   ment is necessary
                                          or


                                                           as




from being regarded              held                                                                                                                                                               was before because although the word




                                                                                                                                                                                                                                                                                         in
                                                                                                                                                                                                  it




                                                                                                                                                                                                                                                                                         "
                                                                                                                                                                                                                                         it ,
                                                                                                                                                                                                                        is ,
                                                                                                                           .




 United States                                                                                  Mr. SAULSBURY
                                                                                                                                                    do




                                                                                                                                                                                                                                                    in
                                                                                                                                  not presume that                                                                               connection with the


                                                                                                                                                                                                                                               is
                                                                                                                                                                                                  habitants       used
                        .




                                                                                                                                        I




                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                    "
                                                                                                                                    .




     Mr. WILLIAMS                would not agree
                                                                        I to




                                                                                             any one will pretend                                                                                                                  be citizens of the



                                                                                                                                                                                                                                                         to
                                                                                                                                     to




                                                        this                                                                disguise the fact that                                                other words that they are
                                      I
                                     .




 proposed constitutional                               sup                                  the object                                simply       de                                             United States      As    originally stood       read
                                                                                                                                                                                     to
                                                                      if




                                                                                                                of




                                 amendment                                                                   this first section




                                                                                                                                                                                                                                                                                   it
                                                                                                                                                             is




                                                                                                                                                                                                                                           it




                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                           , .




 posed made Indians not taxed citizens
                                                                                                                                             bebe




                                                                                                                                                                                                    But whenever in any State the elective franchise
                                                                                of




                                                         the                                 clare that negroes shall                       the Uni
                                                                                                                                                                       of
          it




                                                                                                                               citizens
                                                                                                                                                                                                                                                     ,
                       But am satisfied that giving                                                                                                                                                                  any portion of its male citizens
                                                                                                                                                                                             in




  United States                                                                             ted States       There can          no other object                                                   shall be denied to
                                     I




                                                                           ,




                                                                                                                                                                                                                                                                                             .
                        .




                                                                                                            .
 to




     the amendment           fair and reasonable con
                                                                                                                                                                                      of




                                                                                                               than further extension              the                                                Mr. FESSENDEN
                                     a




                                                                                                   presume                                                                                                                    The object   the same



                                                                                                                                                                                                                                                                             to is
                                                                                                                                a
                                                                                                                   ,
                                                                                            it,
                                                                                              I




                                                                                                                                                                                                                                             .



                  does not include Indians not taxed
                  it




  struction                                                                                                                                                                                               the amendment already made        prevent
                                                                                                                                                                                                  a a as




                                                                                            legislative                                 Congress
                                                                                                                                                                       of




                                                                                                                                                                                                           in




                                                                                                         kindness and beneficence
              ,




                                                                                     .




                                                                                                                                                                                                                                                                        ,
  The first and second sections of this proposed                                            toward that class of people                                                                              State from saying that although      person




                                                                                                                                                                                                                                                                                             a is
                                                                                                                                                                                                                                                                            a
                                                                                                                                               .




                                                                                                                                                                                                      citizen of the United States he is not
                             to




  amendment are            be taken together are to be                                          The poor Indian whose untutored mind
                                                                                             "
                                                                     ,




                                                                                                                                ,




                                                                                                                                                                                 ,




  construed together         and the meaning                                                    Sees God in clouds or hears him in the wind                                                        citizen of the State
                                                                               of




                                                         the
                                                                                                                                                                                             "
                                                                                                                              ,




                                                                                                                                                                                         ,
                                     ,




                                                                                                                                                                                                                                         .
                                     as




  word      citizens           employed                                                     was not thought
                                                                 in




                                                 both sec                                                              say this not meaning
                                                                                                                           of




                                                                                                                                                                                                      Mr. HOWARD
                                                                                                                                                                                             it




                                                                                                                                                                                                                                                                                 to
         is "




                                                                                                                                                                                                                           The object         make
                             "
                             ,




                                                                                                                                                                                                                                                                    , is
                                                                                                                                I
                                                                                                                           .




                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                      .




  tions      to be determined from the manner in                                               be any reflection upon the honorable com
                                                                                            to
          ,




                                                                                                                                                                                                   section two conform to section onę to make
  which that word           used in both of those sec
                                 is




                                                                                            mittee who reported the amendment            because                                                   them harmonize
                                                                                                                                                                         ,




                                                                                                                                                                                                                                   .




  tions Section one provides that                                                           for all the gentlemen composing         have    high                                                      Mr. JOHNSON            am satisfied
                                                                                                                                                                                                                                         I
         .




                                                                                                                                                              it



                                                                                                                                                                                     a




                                                                                                                                                                                                                                      .




                                                                                                                                                                                                                                                                        .
                                                                                                                                                              I




     All personsborn                                                                        respect personally but that
                             in




                           the United States and subject                                                                       evidently the ob                                                       The amendment was agreed
                                                                                                                                                    is




                                                                                                                                                                                                                                                                   to
                                                                  ,




                                                                                                                            ;
 to




      thejurisdiction thereof are citizens of the United
                                                                                                                                                                                                                                                                   .




                                                                                            ject     have no doubt myself                                                                             Mr. SAULSBURY
                                                                                                                                                         of
                                          ,




  Statesand of the State wherein they reside                                                                                    the correctness                                                                               Is   in order now to
                                                                                                                                                                                                                                                         it
                                                                                                   I
                                                                                                  .




                                                                                                                                                                                                                                             .




                                                                                            of the position                       law taken by
                                                                                                                                                             of
                                                                                                                           as




                                                                                                                    question
                                                                        .




                                                                                                                                                                                                   offer an amendment to the first section
                                                                                                                               a
                                                                                                                       ,




                                                                                                                                                                       ,
                      be




                                                                                                                                                                                                                                                                                     ?
     If




         there      any doubt about the meaning of                                          the honorable Senator from Wisconsin but sir
                                                                                                                                                                                                      The PRESIDENT pro tempore
                                                                                                                                                                          ;




                                                                                                                                                                                                                                          There are
                                                                                                                                                                                       ,

                                                                                                                                                                                              ,




   that paragraph        think that doubt          entirely
                                                                      is




                                                                                                                         to




                                                                                              feel disposed
                                                                                                                                                                                                                                                                        .




                                                                                                                 vote against his amendment
                           I,




                                                                                                                                                                                                                                 before the Senate
                                                                                            I




   removed by the second section for by the sec                                                                                                                                                    several more amendments
                                                                                                                                                                                              ,




                                                                                                                                                                                                                                                                                             ,




                                                                                                          these negroes are       be made citi
                                                                                                          if




                                                                                                                                                             to




                                                                                                                                                                                                   offered by the Senator from Michigan
                                                                                            because
                                                           ,




   ond section of this constitutional amendment                                                                                                                                                                                                  Mr.
                                                                                            zens of the United States
                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                      [




                                                                                                                             can see no reason                                                                                            The next
                                                                                                                                                                                                                 not yet acted upon
                                                                                                                                             I
                                                                                                                                             ,




                                                                                                                                                                                                   HOWARD
                                                                              all




   Indians not taxed are not counted
                                                                           in in
                                                                     at




                                                                                               justice
                                                                                                                                                                                                                    ,
                                                                                            in




                                                         the                                                  right why the Indians should
                                                                                                               or




                                                                                                                                                                                                                                                                    .
                                                                                                                     in




                                                                                                                                                                                                                          by  him will be read
               representation                                                                                         If our citizens are to                                                       amendment      offered
             of




   basis                            The words
                                                                                                                                                                                                                                                                                         .




                                                         the                                not be made citizens
                                                                                                                                                                                                      The Secretary read the amendment        which
                                             .




                                                                                                                                   .




   secondsection are as follows
                                                                                                                                                                                                                                                                                 ,




                                                                                            be increased in this wholesale manner        can
                                                                                                                                                                            I




                                                                                                                                                                                                   was to add at the end of section two the words
                                                       :




                                                                                                                                                                             ,




     Representativesshall be apportioned among
   severalStates which may be included within the
                                                          the                               not turn my back upon that persecuted race                                                                 in such State
                                                                                                                                                                                                                                 "
                                                                                                                                                                                                  "
                                                                                                                                                                                              ,




                                                                                                                                                                                                                               .




   Union according their respective numbers                                                 among whom are many intelligent educated
                             to




                                                                                                                                                                                                      The amendment was agreed
                                                                                                                                                                                                                                                                   to
         ,




                                                     count
                                                                                                                                                                       ,




   ing the whole number
                                                                            ,




                                                                                                                    fellow citizens the negro
                                                                                                                                                                                                                                                                   .
                                                                                                                                   as




                                  persons                                                   men and embrace
                                             of




                                                                in




                                                each State                                                                                                                                            The next amendment was to insert as section
                                                                                                  . ,




   excludingIndians not
                                                                                                                                                    -
                                                                                      ,




                                                                                            race                         present advised for
                                                                                                                                         , at




                            taxed
                                                                                                                                    as




                                                                                                       therefore
                                               .




                                                                                                                                                                                                   three the following
                                                                                                      I


                                                                                                                               ,




                                                                                                                                                                                       ,




      They are not
                             to




                           be regarded                                                      the reasons    have given shall vote against the
                                                                                                                                                                                                                                         :
                                                                as




                                                persons
                                                                                     to




                                                                                                               I




                                                                                                             my friend from Wisconsin al                                                                      That no person shall be Senator or Rep
    be




                                                                                                                                                                                                           3.




                                                                                            proposition                                                                                               SEC
                                                                                                                    of




                                                                                                                                                                                                                                                               a




       counted under any circumstances
                                                                                                                                                                                                           .




                                                                            Indians                                                                                                                resentative in Congress or elector of President and
                                                                                                                                                                                         ,
                                                                     be.




                                                                                                                                                                                                                                             ,




                                                                                            though believe
                                                                                                                                                             of
                                                                to




                                                                                                                               as




    not taxed are not even entitled        counted                                                                   matter      law that his                                                      Vice President or hold any office civil or military
                                                                                                                                    a
                                                                                                        I

                                                                                                                           ,




                                                                                                                                                                         ,




                                                                                                                                                                                                                                                                                             , ,
                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                          ,
    as




      persons                                                                                                                                                                                      under the United States or under any State who
                                             of
                      in




                 the basis   representation under                                           statements          are correct
                                                                                                                                                                                                                                               ,




                                                                                                                                                                                                                                                                                       ,
                                                                                                                                    .




    any circumstances                                                                          The PRESIDENT pro tempore                                                                           having previously taken an oath as               member of
                                                                                                                                                                                                                                                                        a




                        and then the section pro                                                                                 The ques
                                                                                                                                                                                                                                                               ,




                                                                                                                                                                                                   Congress or as an officer of the United States or as
                                     ;




    vides
                                                                                                                                                                  .




                                                                                                                                                                                                                                                                                       ,




                                                                                            tion   on the amendment of the Senator from
                                                                                                                                                                                                                ,
                                                                                                   is




                                                                                                                                                                                                      member of     any    State Legislature   or as an execu
                                                                                                                                                                                                  a




                                                                                                                                                                                                                                                                    , ,




                                                                                                          the amendment proposed by the                                                            tive or judicial officer of any State           support the
                                                                                                                to




      But whenever any State the
                                                                                                                                                                                                                                                                   to




                                                                                            Wisconsin
                        to in




                                       elective franchise
                            ,




                                                  ,




                                                                                                                                                                                                                                                      engaged
             be




    shall denied        any portion                                                                                                                                                                Constitution   of  the  United  States  shall have
                                                                                            Senator from Michigan
                                                       of
                                                            its




                                                                                                                                                                                                                                                          ,




     ants being citizens of the            male inhabit                                                                                                                                                                                               or given
                                                                                                                                                                                                       insurrection or rebellion against the same Congress
                                                                                                                                                                                                   in
      ,




                                                                                                                                        .




                                United States
                                                                                                                                                                                                                                                                                ,




                                                                                               Mr. DOOLITTLE
                                                                      &




                                                                                                                     ask for the yeas and                                                                                                         But
                                                                      ,

                                                                     .c




                                                                                                                                                                                                   aid   or comfort  to  the enemies   thereof
                                                                                                                                        I




       Now can any reasonable man conclude
                                                                                                                                                                                                                                                                    .
                                                                                                                                . .




                                                                                                                                                                                                                vote of two thirds of each House remove
             ,




                                                     that                                   nays on that question                                                                                  may by
                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                    a
                                                                                                                                                                                                           ,




    the word citizens                                                                                                                                                                              such disability
                              there applies                                                    The yeas and nays were ordered
                  , "




                                                                      to
                                     "




                                                 Indians
                                                                                                                                                                                                                          .
                        or




     not taxed
                                                                                                                                                                   .




                       includes Indians not taxed                                              Mr. VAN WINKLE                                                                                          Mr. HENDRICKS                               amend the
                                                                                                                                                                                                                                                                        to




                                                                                                                                   have the                                                                                             move
                                                                                                                                                                        to




                                                                                                                        desire
                                                                                                                                                                                                                                                 I
                                                                                                                                             I




                                                                                                                                                                                                                                             .
                                                                                      ,




                                                                                                                                        .




    when they are expressly
                                                                                                                                                                                                                               by




                                    excluded from the                                       amendment to the amendment read                                                                                             inserting   after the word shall
                                                                                                                                                                                                                                                                                             "
                                                                                                                                                                                                                                                                                ""
             of




                                                                                                                                                                                                   amendment
                                                                                                                                                                      .




                                                                                                                                                                                                                                        the words during
    basis     representation and cannot
                                                                                      be




                                                                                               The Secretary read the amendment                                                                         the thirty seventh line
                                                                                                                                                                                     to




                                                                                                                                        the
                                                                                                                                                                                                   in




    taken into the                              even
                                                                                                                                                                                                                         -




                       enumeration of persons rpon                                                                                                                                                                                  presume       understand
                                                                                                                                                                                                                    of
                                                                                                                                          to




                                                                                                                                                                                                                                                                   I




                                                                                                                      insert after the word                                                                       his office
                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                           "




                                                                                            amendment    which was                                                                                 the term
                                                                                                                                                                                                                                         .
                                                                                                               ,




           39TH CONG 1ST
                                  SESS.-No.                                    182
                                     .




                                                                                     .
                        Case 1:25-cv-10139-LTS                                                         Document 5-27                                         Filed 01/21/25                                      Page 12 of 14
       3042                                                                                    THE CONGRESSIONAL GLOBE .                                                                                                                                                     June 8,
         Several SENATORS     Now let us vote on all                                                                                                                                                                   ADJOURNMENT                      TO MONDAY
                                                                                                     the question     The Senator from California




                                                                                                                                                                                                                                                                             .
                                           .




                                                                                                                             .
       the other amendments together                                                                                          propose     occupy the                                                         Mr. HARRIS                       move that when the Senate




                                                                                                                                                                     to
                                                                                                     need not suppose that




                                                                                                                                                                                                                                     I
                                                                            If




                                                                                                                                             I
                                                                .




                                                                                                                                                                                                                                     it .
         The PRESIDING OFFICER               such be




                                                                                                                 of




                                                                                                                                                                                                                                            be




                                                                                                                                                                                                                                                                    on
                                                                                                     time     the Senate unnecessarily       proposed                                                    adjourn   day                 Monday next




                                                                                                                                                                                                                                            to
                                                                                                                                                                                                                       to
                                                                                                                                                                                                                               meet




                                                                  .




                                                                                                                                                                      I




                                                                                                                                                                                                                                ,
                                                                                                                                                                 .




                                                                                                                                                                                                                       -




                                                                                                                                                                                                                                                                                                .
                       the Senate the question will                                                     strike out the original third section




                                 of




                                                                                                                                                                                          as
                                                                                                                                                                                               it
                                                                                                                                                                                                           The motion was agreed to




                                                                                                     to
       the pleasure




                                                          ,




                                                                                                                                                                                                                                                               .
       be taken collectively on all the other amend                                                  came from the House
                                                                                                                                                                                                                     FORTIFICATION BILL




                                                                                                                                           I .
                                                                                                                                         question of




                                                                                                                                                                                                                                                                         .
                                                                                                        Mr. CONNESS




                                                                                                                                                             to
       ments                                                                                                                 rise




                                                                                                                                                             a
                  .




                                                                                                                                       .
                       JOHNSON     hope not                                                                                                      ques                                                       Mr. MORGAN            submit the following




                                                                                                                                                                                                                                                                                               re
                                                   want




                                                                                                                                         in



                                                                                                                                                            to
            Mr.




                                                                                                                   It
                                                                        I
                                                                                                     order          not    order




                                                                                                                           is
                                                                                                                                     discuss




                                                                                               a




                                                                                                                                                                                                                                            I
                                            I




                                                                                                                                                                                  a
                                        .




                                                                                                                                                                                                                                       .
                                                                       .




                                                                                                            .
       separate    vote on the third section                                                         tion after the call of the roll has been com                                                        port from the committee of conference on the




                                                                            .
           The PRESIDING OFFICER                That   the                                                                                                                                               fortification bill and     move that the Senate




                                                                                       is
                                                                                                     menced




                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                  ,
                                                                  .




                                                                                                                 .
       next section                                                                                    The PRESIDING OFFICER          The result                                                         concur       the report




                                                                                                                                                                                                                   in
                            .




                                                                                                                                                                 .




                                                                                                                                                                                                                                             :
           Mr. HENDRICKS              do not understand                                              of the vote has not been announced but the                                                            The committee of conference on the disagreeing


                                                  I




                                                                                                                                                                            ,
                                              .                                                                                                                                                          votes of the two Houses on the amendment      the bill




                                                                                                                                                                                                                                                                                   to
       this     Can this resolution be adopted by voting                                             roll has been called
                                                                                                                              If am not in order




                                                                                                                                          .
                                                                                                                                                                                                          H. R. No. 255) making appropriations for the con
            .




       on sections separately                                                                             Mr. JOHNSON




                                                                                                                                                                                                         (
                                                                                                                                                                                               I
                                                                                                                                                   I
                                                                                                                                                                                                         struction preservation and repairs     certain fortifi




                                                                                                                                                                                                                                                                       of
                                                                                                                                       .
                                                ?
           Mr. FESSENDEN




                                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                             ,
                                    No.                                                              will take my seat      but     barely possible that                                                 cations and other works of defense for the year end




                                                                                                                                                is
                                                                                                                                                it
                                              .




                                                                                                                                     ;
          The PRESIDING OFFICER                The Senate                                                                                                                                                ing June 30 1867 having met after full and free
                                                                                                     the Senator from California may not be




                                                                                                                                                                                               in




                                                                                                                                                                                                                        ,


                                                                                                                                                                                                                                  ,




                                                                                                                                                                                                                                                             ,
                                                                  .
                                                                                                                                                                                                         conference have agreed      recommend and do rec




                                                                                                                                                                                                                                                   to
                                                        in                                           order




                                                                                          as
           now concurring
                                           in




                                                                                                                                                                                                                                                                           ,
                                amendments made                                                                                                                                                          ommend to their respective Houses as follows
       is




                                                                                                             .




                                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                                                                       :
       Committee of the Whole                                                                            Mr. CONNESS            am quite aware                                                             That the House of Representatives recede from




                                                                                                                                                                                   of
                                                                                                                                                    that




                                                                                                                                          I
                                                      .




                                                                                                                                                                                               ;
                                                                                                                                       .
           Mr. SHERMAN             No amendment was                                                  but believe        have right       raise the ques                                                  their disagreement to the amendment of the Senate




                                                                                                                                                            to
                                                                                                                                             a
                                                                                                       I
                                            .




                                                                                                                              I
                                                                                                                                                                                                         to said bill and agree




                                                                                                                                                                                                                                             to
       made to the third section                                                                     tion of order                                                                                                               the same




                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                         E. D. MORGAN
                                                            .




                                                                                                                              .




                                                                                                                                                                                                                                                                                           ,
           Mr. HENDRICKS            That     what    want                                                Mr. JOHNSON            do not object                                                                                            L. M. MORRILL
                                                                  is



                                                                                                                                                  that




                                                                                                                                                                              to
                                                                                 I




                                                                                                                                           I
                                              .




                                                                                                                                                                                                                                                                                              , ,
                                                                                                                                       .




                                                                                                                                                                                           .
       to understand        understand that there       no                                                                     Very well then let the                                                                                    W. SAULSBURY
                                                                                       is                Mr. CONNESS
                                  I




                                                                                                                                                                 ;
                                .




                                                                                                                                                                                                                                       Managers on the part of theSenate




                                                                                                                                       .
       amendment from the Committee of the Whole                                                      Chair decide




                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                 H. J. RAYMOND




                                                                                                                             .
       to the third section                                                                              The PRESIDING OFFICER




                                                                                                                                                                                                                                                                                              , ,
                                                                                                                                              No discus                                                                                                          W. E. NIBLACK




                                                                                                                                                                 ,
                                          .




           Mr. FESSENDEN            Yes we struck out the                                             sion is in order until after the vote           an                                                                                                         S. PERHAM




                                                                                                                                                                                       is
                                                            ,




                                                                                                                                                                                                                                                                                     ,
                                              .




                           reported and inserted                                                                                                                                                                                       Managers on the part of the House
                                                                                                      nounced but by common consent Senators
                                  as




       third section                                  sub




                                                                                                                                                                                                                                                                                                 .
                                                                                      a




                                                                                                                     ;

                                                                                                                               ,




                                                                                                                                                                            ,
        stitute for                                                                                                                                                                                          The report was concurred




                                                                                                                                                                                                                                                                  in
                            it




                                                                                                      may be allowed          explain their own votes




                                                                                                                                       to
                            .




                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                               ,
           The PRESIDING OFFICER                 The ques                                             but no extended remarks can be allowed                                                                         ENROLLED BILLS SIGNED




                                                                                                                                                                                       to ,
                                                                    .




                                                                                                                                                                                                                                                                             .
       tion      on the amendment made as in Commit                                                      Mr. CONNESS                    no right       ex
                  is




                                                                                                                              There




                                                                                                                                                            is
                                                                                                                                       .
                                                                                                                                                                                                                                             Representa




                                                                                                                                                                                                                                                                       of
                                                                                                                                                                                                             A
       tee   of the Whole  to the  third section                                                      plain                                                                                                   message from the House
                                                                                                               vote
                                                                            .




                                                                                                                 a


           Mr. JOHNSON              ask for the yeas and                                                 Mr. JOHNSON       .     moved to strike out the                                                 tives by Mr. MCPHERSON its Clerk announced




                                                                                                                                                                                                               ,




                                                                                                                                                                                                                                                        ,




                                                                                                                                                                                                                                                                         ,
                                                                                                                                           I
                                              I




                                                                                                                                       .
                                                                                                                                                                                                         that the Speaker of the House
                                          .




                                                                                                                                                                                                                                                                       of
       nays on that                                                                                   third section as     came from the other House                                                                                         Representa

                                                                                                                                     it
                            .




                                                                                                                                                                                                   .
           The yeas and nays were ordered                                                             That motion was carried and afterward what                                                         tives had signed the following enrolled bills




                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                   ,
                                                                        .




                                                                                                                                                                                                         which were thereupon signed by the President
SEE




           Mr. SHERMAN            The third section was                                               now appears upon the face of the resolution
                                           .




                                                                                                                                                                                                         pro tempore




                                                                                                                                                                                                                                R.of
       the original section that came from the House                                                      the third section was proposed and adopted                                                                     the Senate
                                                                                                      as




                                                                                                                                                                                                                                                           :
A
                                                                                                                                                                                                              bill H.




                                                                                                                                                                                                                                                   15
                                                                                                                                          voted just this                                                                 No.    authorizing document




                                                                                                                                                                                                             A
       disfranchising the southern people from voting                                                 as     separate amendment




                                                                                                                                                                                                                   (




                                                                                                                                                                                                                                                   )
                                                                                                           a




                                                                                                                                                            I
                                                                                                                                                        .
                                                                                                                                                                                                         ary evidence of title to be furnished        the
                                                                                               .




                                                                                                                                                                                                                                                                                        to
       That has been stricken out                                                                                                                     The
                                                                                                                       to




                                                                                                      moment        strike out what was adopted
                                                          .




                                                                                                                                                                                   .
                                                                                                                                                                                                                                    the city
maht




                                                                                                                                                                                                         owners of certain lands




                                                                                                                                                                                                                                                       in



                                                                                                                                                                                                                                                                             of
           Mr. HOWARD          The question        on con                                             effect of that would have been to restore the                                                                                            St. Louis




                                                                                                                                                                                                                                                                                                ;
                                                                            is




                                                                                                                                                                                                         and
                                        .




       curring in the amendment we made to the                                                        original third section perhaps
:                                                                                                                                           but    meant




                                                                                                                                                                            I
                                                                                                                                              ,




                                                                                                                                                                 ,                                            bill H. R. No. 281




                                                                                                                                                                                                                                                             to
                                                                                                                                                                                                             A
       third section                                                                                  when that was done to move to strike out the                                                                                     amend the postal




                                                                                                                                                                                                                   (




                                                                                                                                                                                                                                                        )
                             .




           Mr. SHERMAN           That was to strike out                                               third section so as to leave no such section                                                       laws




                                                                                                                                                                                                               .
                                                                                                                                                                                               .
                                          .




       the third section which came from the House                                                       The PRESIDING OFFICER                   On this                                                               REPORT           FROM               COMMITTEE




                                                                                                                                                                                                                                                       A




                                                                                                                                                                                                                                                                                .
                                                                                                                                                                      .

        and insert another                                                                           question                                                                                               Mr. HOWE from the Committee on Claims
                                          .




                                                                                                                                                                                                                                ,




                                                                                                                                                                                                                                                                                                 ,
           The question was taken by yeas and nays                                                    Mr. HENDRICKS What question



                                                                                                                                                                                                         to
                                                                                                                                                                                                            whom was referred the petition




                                                                                                                                                                                                                                                                                  of
                                                                                                                                                                                                                                                   George
                                                                                                                                                                                   ?
                                                                                                                                              .
                                                                                               ,




        with the following result                                                                     The PRESIDING OFFICER   The ques                                                                   W. Tarlton praying for the restoration




                                                                                                                                                                                                                                                                                         of
                                                                                                                                                                                                                                                       his
                                                      :




                                                                                                                                                                     .




                                                                                                                                                                                                                           ,
          YEAS Messrs Anthony Chandler Clark Con                                                     tion was on concurring        the amendment made
                                                                                                                                                  in




                                                                                                                                                                                                         property confiscated under proceedings insti
                   -



                                                      ,




                                                                        ,


                                                                                      ,
                                    .




        ness Cowan Cragin Creswell Davis Doolittle Ed                                                       Committee of the Whole which was to
                                                                                                           in




                                                                                                     as                                                                                                  tuted in the United States district court for the
                                                                                        ,
                                                                    ,
                                                          ,
                        ,



                                        ,
             ,




                                                                                                                                                                 ,




       munds Fessenden Foster Grimes Guthrie Harris                                                  strike out the third section and insert other                                                       northern district of New York submitted
                                                                                  ,



                                                                                               , ,
                                                  ,



                                                                ,
                  ,




                                    ,




                                                                                                                                                                                                                                                                                                 a
       Henderson Hendricks Howard Howe Kirkwood




                                                                                                                                                                                                                                                                       .
                        ,




                                            ,




                                                              ,


                                                                         ,




       Lane of Indiana Lane of Kansas McDougall Mor                                                  words in lieu of          The result of that vote
                                                                                                                                                                                                   is
                                                                                                                                       it




                                                                                                                                                                                                         written report and asked




                                                                                                                                                                                                                                                            of to
                                                                                                                                                                                                                                      be discharged from
                                                                                                                                       .
                                 ,




                                                                ,




                                                                                      , ,




                                                                                                      42




       gan Morrill Norton Nye Poland Pomeroy Ram
                                                                                                            in




                                                                                                            the affirmative and
                                                                                                                                                           in




                                                                                                                                        the negative     So                                              the further consideration     the subject
                                        -1. , , , ,
                                                  ,



                                                                  ,




                                                                                                                                                                                                                                                      The
            , ,




                            ,




                                                                                                                                                     1




       sey Saulsbury Sherman Sprague Stewart Sumner
                                                                                                                                                                                       .




                                                                                                     the amendment           concurred         The Secre




                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                 in
                                                                                                                                       is




                                                                                                                                                                                                         committee was discharged and the report was
                             ,




                                                                ,




                                                                                               , ,




                  Van Winkle Wade Willey Williams
                                                                                 .




                                                                                                                                                                 .




       Trumbull                                                                                      tary will read the next amendment
                  - ,




                                                              ,



                                                                            ,




       Wilson and Yates 42                                                                                                                                                                               ordered       to
                                                                                                                                                                                                                     be printed
                                    -




                                                                                                                                                                          .
                  ,




         NAY Mr Johnson



                                                                                                                                                                                                                                                   .
                                                                                                         The Secretary read the next amendment                                                              Mr. HENDERSON            move that the Sen
                        -.




                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                                        I
         ABSENT Messrs Brown Buckalew Dixon Nes



                                                                                                                                                                                                                                                   .
                                                                                                     which was to strike out the fourth and fifth
                                                                                       ,
                                                      . ,




                                                                        ,




                                                                                                                                                                                                         ate adjourn
                                       .




       mith Riddle and Wright
                                               -      6




                                                                                                                                                                                                                           .
              ,



                            ,




                                                                                                                         insert the following section
                                                                                                                                  to




                                                                                                                 and
                                                                                                                                                                                                   in




                                                                                                     sections                                                                                               The motion was agreed         and the Senate




                                                                                                                                                                                                                                                               to
                                                                                                                   ,




                                                                                                                                                                                                                                                                ;
          Mr. HENDRICKS            before the result was                                             lieu of them                                                                                        adjourned
                                                 ,
                                                (




                                                                                                                              :




                           think the vote just taken
                                                                                                                                                                                                                       .
                                                                                               is




       announced                                                                                        SEC      The validity of the public debt of the
                                I
                            )
                            .




                                                                                                             .




       not correctly understood                                                                      United States authorized by law including debts                                                           HOUSE OF REPRESENTATIVES
                                                      .




                                                                                                                              ,




                                                                                                                                                                 ,




          The PRESIDING OFFICER                No discus                                             incurred for payment of pensions and bounties for




                                                                                                                                                                                                                                                                                         .
                                                                    .




                                                                                                     services in suppressing insurrection or rebellion shall                                                        FRIDAY June 1866
                                                                                                                                                                                        ,




                 in order the vote has not been an                                                                                                                                                                                                           8,
                   is




                                                                                                                                                                                                                                            at ,




       sion                                                                                          not be questioned      But neither the United States

                                                                                                                                                                                                                                                                         .
                                       ;




                                                                                                                                     .




       nounced                                                                                        nor any State shall assume or pay any debt or obli                                                   The House met twelve o'clock            Prayer


                                                                                                                                                                                                                                                                              .m
                        .




                                                                                                                                                                                                                                                                                                    .
                                                                                                      gation incurred in aid of insurrection or rebellion
          Mr. HENDRICKS                am not going into                                                                                                                                                 by the Chaplain Rev.
                                                                                                                                                                                                                                                             B.
                                                                                                                                                                                                                                                        C.


                                                                                                                                                                                                                                        BOYNTON
                                                      I




                                                                                                      against the United States or any claim for the loss
                                                                                                                                                                                                                                     ,
                                                .




                                                                                                                                                                                                                                                                                   .
       any discussion but have right
                                                                                          of




                                                        the
                                                                                                                                                 ,




                                                                                                                                                                                                                               yesterday was read and
                                                                            to




                                                                                                                                                                                                                                            of




                                                 ask                                                  or emancipation of any slave but all such debts                                                       The Journal
                                                            a
                                           I
                                 ,




                                                                                                                                                         ;




                                                                                                                                                                                                   ,




       Chair the precise question                   let any                                           obligations and claims shall be held illegal and                                                   approved
                                                                                 to




                                           time
                                                            if in




                                                                                                                       ,




                                                                                                                                                                                                                       .




                                                                                                      void
                                                                                        to




       gentleman change his vote         he desires      do                                                                                                                                                  MUTILATED NOTES OF NATIONAL BANKS
                                                                                                           .




                                                                                                                                                                                                                                                                                           .
       so The motion was not originally                                                                  The amendment was concurred in
                                                                                  to




                                                     strike
                                                                                                                                                                                                            Mr. HUBBARD of West Virginia by unan
                                                                                                                                                                            .
            .




       out the third section as came from the House
                                                                                                                                                                                                                                            ,
                                                      it




                                                                                                        The amendments
                                                                                                                                                                                                                                                                                ,


                                                                                                                             were ordered to be en
       and to insert another They were separate                                                                                                                                                          imous consent submitted the following reso
                                                                                                               and the joint resolution
                                                                                                                                                                                  be




                                                                                                      grossed
                                                                                                                                                                            to




                                                                                                                                              read
                                                  .




                                                                                                                                                                                                   a




                                                                                                                                                                                                         lution    which was read       considered    and
                                                                                                                                                                                                                 ;
                                                                                 to




                    Then ought there not            be two                                                         The joint resolution was read the
                                                                                                                                                                                                                                                             ,




                                                                                                                                                                                                                                                                                       ,



       motions                                                                                        third time
                                                                                                .




                                                                                                                                                                                                         agreed to
                        .




                                                                                                                        . .




       votes upon this section now                                                                    third time
                                                                                                                                                                                                                       :
                                                              ?




                                                                                                                                                                                                           Resolved That the Committee on Banking and Cur
                                                                                                         The PRESIDING OFFICER
                                                                                                                                                                                                                       ,




           Mr. SHERMAN              suppose any Senator                                                                                   This joint                                                     rency be instructed to inquire into the expediency
                                                I




                                                                                                                                                                     .
                                            .




                                                                                                                                                                                                            providing by law either by the establishment
                                                                                                                                                                                                                                                                                                 of



        can call for     division                                                                     resolution having been read three times the
                                                                                                                                                                                                          of
                                a




                                                                                                                                                                                                                                         ,
                                                 .




                                                                                                                                                                                         ,




                                                                                                                                                                                                                        Redemption in connection with the
           Mr. HENDRICKS
                                                                                                                                                                                                                           of




                                    There     no need to                                                                                                                                                    Bureau
                                                                       is




                                                                                                      question
                                                                                                                                                                                                         a
                                                                                                                       is




                                                                                                                  on its passage
                                                                                                                                                                                                                                                                                        as




                                                                                                                                                                                                         Treasury Department or such other mode            may
                                                .




                                                                                                                                                                                                                                             ,




        call for division because there were two dis
                                                                                                                                                        .




                                                                                                         Mr. JOHNSON           ask for the yeas and                                                      be deemed most advisable for the redemption of
                        a




                                                                                                                                              I




                                                                                                                                                                                                                                                        ,
                                                                                                                                          .




                            There was first     motion to                                                                                                                                                                                      disfigured
                                                                                                                                                                                                                                                               or




        tinct motions                                                                                 nays                                                                                               the worn out mutilated altered                   bank
                                                                         a




                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                   -
                                 .




                                                                                                                                                                                                         notes issued under the national currency act so as
                                                                                                                                                                                                                                                                                                 to
                                                                                                            .




                                         motion to insert
                                                                                                                                                                                                                                                                                    ,




        strike out and afterward                                                                        Several SENATORS The yeas and nays must
                                                            a




                                                                                                                                                                                                         obviate the necessity of sending such notes
                                                                                                                                                                                                                                                                                        to




                                                                                                                                                                                                                                                           each
                                                                                                                                            .




        something             Now the precise question                                                                                                                                                   particular bank of issue for redemption and that the
                                                                                                       be




                                                                                                                             of




                      else                                                                               taken     course
                                                                                                                                                                                                                                                                            ;
                                                      ,
                                      .




                                                                                                                       ,




                                                                                                                                                                                                                                   report by bill
                                                                                                                                            .




                                                                                                                                                                                                                                                                              or




                                 whether the third section                                                                                                                                                                                           otherwise
                                                                                                                                                                                                                                                to




        before the Senate
                                            is




                                                                                                        The yeas and nays were ordered and being                                                         committee have leave
                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                          ;




              came from the House shall be stricken                                                                                                                                                         Mr. HUBBARD          West Virginia moved
                                                                                                                                                                                                                                                   of
                                                                                                                                                                     11
                                                                                                                              -
              it




        as
                                                                                                                                                                              as




                                                                                                      taken resulted   yeas 33 nays       follows
                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                     ;
                                                                                                                 ,




                                                                                                                                                     ,




                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                   :




        out and then there will be another question                                                                                                                                                         reconsider the vote by which the resolution
                                                                                                                                                                                                          to




                                                                                                        YEAS Messrs Anthony Chandler Clark Conness
                                                                                                                 -
              ,




                                                                                                                                                  , ,




                                                                                                                                                                    . ,


                                                                                                                                                                                 ,



                                                                                                                                                                                                   , ,




        not yet voted upon by the Senate whether we
                                                                                                                                  .




                                                                                                      Cragin Creswell Edmunds Fessenden Foster Grimes                                                    was agreed to and also moved that the motion
                                                                       ,




                                                                                                                                                                                                                                ;
                                                                                                                 , ,



                                                                                                                                 ,




                                                                                                                                                                                   ,




         shall insert the third section which was agreed                                              Harris Henderson Howard Howe Kirkwood Lane                                                         to reconsider be laid on the table
                                                                                                                                     ,




                                                                                                                                                     , ,


                                                                                                                                                                 ,




                                                                                                                                                                                       , , ,




                                                                                                                                                                                                                                                                            .




                                                That is the                                           of Indiana Lane of Kansas Morgan Morrill Nye
        to as in Committee of the Whole                                                                                                                                                                     The latter motion was agreed
                                                                                                                  - , ,




                                                                                                                                                                    , , ,




                                                                                                                                                                                                   ,




                                                                                                                                                                                                                                                                         to




                                                                                                      Poland Pomeroy Kamsey Sherman Sprague Stew
                                                                       .




                                                                                                                                                                                                                                                                         .
                                                                                                                 ,



                                                                                                                    - ,

                                                                                                                                                  ,




        way     stands                                                                                art Sumner Trumbull Wade Willey Williams Wil
                  it

                                 .




                                                                                                                                                                                                                                TO LIEUTENANT GENERAL                                  SCOTT
                                                                                                           , ,




                                                                                                                                            ,


                                                                                                                                                        ,




                                                                                                                                                                                         ,




                                                                                                      son and Yates 33                                                                                       MONUMENT
                             Oh no
                                                                                                                                                                                                                                                                                               .




          Several SENATORS
                                                                                                                                     .
                                                           ,

                                                                  .
                                              .




           Mr. JOHNSON      Mr. President                                                               NAYS Messrs Cowan Davis Doolittle Guthrie
                                                                                                                                                                                                            Mr. HALE by unanimous consent submit
                                                                                                                                                ,




                                                                                                                                                                                 , ,



                                                                                                                                                                                                   , ,
                                                                                                                  .




                                                                                                                                                            .




                                                                                                                           McDougall
                                                                                                                                                                                                                                                                                 ,
                                            .




                                                                                                                                                                                                                                ,




                                                                                                      Hendricks Johnson               Norton   Riddle
                                                                                                                       , ,




                                                                                                                                         ,




                                                                                                                                                                ,




                                                                                                                                                                                                         ted the following resolution which was read
                                                                                                                                                   -11




                                       discussion
                                                                                                at




           Mr. CONNESS       object
                                                                    to




                                                                                                      Saulsbury and Van Winkle
                                                                                                                                                                                                                                                                                                 ,
                                              I




                                                                                                                                                                                                                                                               ;
                                           .




                                                                                                                                                            .




                                                                                                        ABSENT Messrs Brown Buckalew Dixon Nes
                                                                                                                                                                                                                                                        to
                                                                                                                       -




        this time                                                                                                                                                                                        considered   and agreed
                                                                                                                                                     ,




                                                                                                                                                                          ,



                                                                                                                                                                                        ,




                                                                                                                                                                                                                        ,
                                                                                                                                  -5. .




                                                                                                                                                                                                                                                           :




                                           The dis
                        .




                                                                                                      mith and Wright
           The PRESIDING OFFICER                                                                                                                                                                           Resolved That the Committee on Military Affairs
                                                                                                             ,
                                                                         .




                                                                                                                                                                                                                       ,




                                                                                                         The PRESIDING OFFICER            The joint                                                                      inquire into the expediency      pro
                                                                                                                                                                                                                                                                                         of




                        order the vote has not been
                                                                                                                                                                                                                                to




                                                                                                                                                                                                          be instructed
                                      in




                    not
                        is




        cussion                                                                                                                                                                                           viding by law for the erection of      monument at
                                                      ;




                                                                                                                                                                      .




                                                                                                                                                                                                                                                                       a




                                                                                                      resolution   passed having received the votes
                                                                                                                             is




        announced                                                                                                                                                                                         West Point to the  memory    of Lieutenant   General
                                                                                                                                            ,
                            .




           Mr. JOHNSON       am not about to discuss                                                  of two thirds of the Senate                                                                                               report by bill or otherwise
                                                                                                                                                                                                                                            to




                                                                                                                                                                                                          Winfield Scott and
                                                I




                                                                                                                                                            .




                                                                                                                                                                                                                            ,




                                                                                                                                                                                                                                                                                             .
                                           .
                    Case 1:25-cv-10139-LTS                                                             Document 5-27                                     Filed 01/21/25                                    Page 13 of 14
 3148                                                                                       THE CONGRESSIONAL GLOBE .                                                                                                                                                June 13,
                                                                                                       In my youth , in my manhood , in my old age ,                                                    endangers the Government of the
                                 -
both branches of it , yet as we were compelled to unite                                                                                                                                      ment




                                                                                                                                                                                                            it
on some measure and we must all yield some of our
                                                                              -                   I had fondly dreamed that when any fortunate                                              country both State and national and may
opinions upon various questions involved there are
                                                                 -




                                                                                                                                                                                                               ,




                                                                                                                                                                                                                                                                       ;
five sections in this proposed article I feel bound to                                             chance should have broken up for awhile the                                              give the next Congress and President                   the




                                                                                                                                                                                                                                                                                              to
vote against this amendment offered by the Senator                                                foundation of our institutions , and released us                                           reconstructed      rebels      With their enlarged




                                                                                                                                                                                                                                            .
from Wisconsin , though in my judgment it would do                                                from obligations the most tyrannical that ever                                            basis of   representation




                                                                                                                                                                                                                                                                                          I of
                                                                                                                                                                                                                            and exclusion          the




                                                                                                                                                                                                                                                 ,
more than any other to heal the difficulties by which                                                                                                                                       loyal men




                                                                                                                                                                                                                        of
we are surrounded ."                                                                               man imposed in the name of freedom , that the                                                              color from the ballot box            see




                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                hope




                                                                                                                                                                                                                    of
                                                                                                                                                      ,
                                                                                                  intelligent , pure and just men of this Republic                                                                                 prescription




                                                                                                                                                                                                                                                     in
                                                                                                                                                                                            no             safety             the




                                                                                                                                                                                                                                                                                                   as to of
                                                                                                                                                                                                                   unless
   There is an open confession that he is about                                                   true to their professions and their consciences ,                                         proper enabling acts which shall




                                                                                                                                                                                                                                                                            do
                                                                                                                                                                                                                                          justice




                                                                                                                                                                                                                                           ,
to vote against an amendment which he enter                                                       would have so remodeled all our institutions                                              the freedmen and enjoin enfranchisement
tains no doubt would do more to heal our dif
                                                                                                  as to have freed them from every vestige of                                                  condition recedent




                                                                                                                                                                                            a
ficulties than anything else !




                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                     -p
                                                                                                  human oppression , of inequality of rights , of                                              The fourth section which renders inviolable




                                                                                                                                                                                                                                           ,
   Now , sir , no man can excuse himself for a                                                    the recognized degradation of the poor , and                                              the public debt and repudiates the rebel debt
thing of that kind ; and while I admire the hon




                                                                                                                                                                                                                                                                                                   ,
                                                                                                  the superior caste of the rich . In short , that                                          will secure the approbation of all but traitors
esty of his confession , that he is doing it for




                                                                                                                                                                                                                                                                                                   .
                                                                                                  no distinction would be tolerated in this puri                                               The fifth section




                                                                                                                                                                                                                                           is
                                                                                                                                                                                                                        unaltered




                                                                                                                                                                                                                                                                .
party and political purposes , yet I utterly detest                                               fied Republic but what arose from merit and con                                              You perceive that while see much good




                                                                                                                                                                                                                                                                                                   in
                                                                                                                                                                                                                                                      I
the odious principle that he avows for mere                                                       duct . This bright dream has vanished " like                                              the proposition do not pretend




                                                                                                                                                                                                                                                                               be
                                                                                                                                                                I




                                                                                                                                                                                                                                                                     to
                                                                                                                                                                                                                                            satisfied




                                                                                                                                                                                                                             I
party purposes .                                                                                  the baseless fabric of a vision . "    find that we
     I                                                                                                                                                                                      with        And yet am anxious for




                                                                                                                                                                                                                                                                                   its
                                                                                                                                                                                                           it
                                                                                                                                                                                                                                              speedy




                                                                                                                                                                                                                                   I
                                                                                                                                                                                                           .
     ask the attention of the House to an extract
                                                                                                  shall be obliged to be content with patching up                                           adoption for dread delay The danger




                                                                                                                                                                                                                                                                                          is
                                                                                                                                                                                                                                                  that




                                                                                                                                                                                                                         I
                                                                                                                                                                                                                ,
from another speech , and , mark you , I am not




                                                                                                                                                                                                                                                      .
                                                                                                  the worst portions of the ancient edifice , and                                           before   any constitutional     guards  shall have been
now offering you         copperhead " testimony ,                                                 leaving it , in many of                                                                   adopted Congress will be flooded by rebels




                                                                                                                                             , its
                                                                                                                                parts      be swept




                                                                                                                                                                 to
The extract is from a speech made by one of




                                                                                                                                                           ,
                                                                                                  through by the tempests the frosts and the                                                and rebel sympathizers           Whoever has mingled




                                                                                                                                                                    ,
your great northern lights , the celebrated Wen




                                                                                                                                                                                                                                                 .
                                                                                                  storms of despotism                                                                       much in deliberative bodies must have observed
dell Phillips . I ask the Clerk to read it .




                                                                                                                                   .
                                                                                                     Do you inquire why holding these views and                                                                          physical nervousness




                                                                                                                                                                                                                          as
                                                                                                                                                                                            the mental




                                                                                                                                                                                                                                            as
                                                                                                                                                                                                               well




                                                                                                                                                                                                                                                                                                   to of
                                                                                                                                    ,
   The Clerk read as follows :                                                                                                my own                                                        many members impelling them too often




                                                                                                                                        of




                                                                                                                                                                                   I so
                                                                                                  possessing some will                      accept




                                                                                                                                                                                                                               ,
                                                                                                                                                               I
                                                                                                                                                               ,
    Mr. Phillips hoped the Senate's amendment of the                                              imperfect proposition                                                                     injudicious action
"




                                                                                                                                  answer because                                                                       Whoever has watched the




                                                                                                                   a




                                                                                                                                             I
reconstruction plan would meet with an ignominions




                                                                                                                                         ?




                                                                                                                                                                    ,




                                                                                                                                                                                                                                   .
                                                                                                  live among men and not among angels among                                                 feelings this House during the tedious months




                                                                                                                                                                                                                   of
defeat and that Massachusetts would reject           He
                                                                                   it




                                                                                                                                                                        ;
         ,




                                                                                   .




                                                                                                                                                                                              of
would welcome every Democrat and copperhead vote                                                  men as intelligent as determined       and as inde                                            this session listened         the impatient whis




                                                                                                                                                                                                                                                     to
                                                                                                                                                           ,
                                                                                                                              ,




                                                                                                                                                                                                                             ,
   help its defeat He would go step further and                                                                                                                                             pering of some and the open declarations
to




                                                                                                  pendent       myself who not agreeing with me




                                                                                                                                                                                                                                                                                                   by of
                                                                                                                   as
                                                            a
                             .




                                                                                                                                                                                      ,
                                                                                                                              ,


                                                                                                                                        ,
        hope that the Republican party          goes to
                                                                         if




said
                                                                              it




                                                                                            If                        yield their opinions                                                             especially when able and sincere men
     I




                                                                                                                                                                         to
     ,




                                                                      ,




                                                                                                  do not choose                                 mine


                                                                                                                          to
the polls next fall on this basis will be defeated                                                                                                                                          others




                                                                                                                                                                                                            ;
                                                                                                                                                                                      , .
                                                      ,




                                                                                       .




                                                                                                                                      our only resort




                                                                                                                                                                                                                     to
        the only thing that the party has                                                                                                                                                   propose         gratify personal predilections
                                                                           to




                                                offer                                             Mutual concession therefore
                                                                                       " it




this




                                                                                                                                                     is
         is




                                                                                          ,




                                                                                                                               ,




                                                                                                                                                      ,
deserves defeat The Republican party          day seeks
                                                                         to




                                                                                                  or mutual hostilities                                                                     breaking the ranks




                                                                                                                                                                                                                                             of
                                                                                                                                                                                                                           the Union forces and
                                                                         -
                        .




                                                                                                                                   .
                       God grant that     may lose
                                                                                       it




only
         to




         save its life
                                                                 it




     *         *        *        *           *     *        *        *                               We might well have been justified        making                                        presenting




                                                                                                                                                                                                                                                                                                   of
                                                                                       !




                                                                                                                                                                                                                          to
                                                                                                                                                                        in
                                                                                                                                                                                                                the enemy         ragged front
                                 .




                                                                                                                                                                                                                                                          toa
    The Republicans go     the people in deceit and                                               renewed and more strenuous efforts for better                                             stragglers    must be anxious
                                             to




                                                                                                                                                                                                                                  hasten the result




                                                                                                                                                                         a
"




                                                                                                                                                                                                                   ,
hypocrisy with their faces masked and their convic                                                plan could we have had the cooperation                                                    and prevent the demoralization




                                                                                                                                                                                                                                                                     of
                                                                                                                                                                              of
                                                                                                                                                   the                                                                                  our friends
              ; ,




             hope to God they will be defeated




                                                                                                                                                                                                                                                                                                   .
tions hid
                                                                                        I
               I




                                                                                                                                                                                                                     no longer delay take what
                                                                                       !




                                                                                                  Executive With his cordial assistance the rebel
want another serenade not only to uncover the hid




                                                                                                                                                                                                                                     us
                                                                                                                                                                                            Hence       say let




                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                           ,


                                                                                                                                                                                                                         ,
                                                                                                                                                                                                               I
                                                                                                                   .
                                     ,




                                                                                                  States might have been made model republics                                               we can get now and hope for better things




                                                                                                                                                                                                                                                                                                   in
den sentiments of    Cabinet but to smoke out the
                                 a



                                                    ,




                                                                                                                                                                                      ,




                                                                                                                                                                                                                               ,
United States Senate that we may see how many of                                                  and this nation an empire                    of
                                                                                                                                 universal freedom                                          further legislation            enabling acts




                                                                                                                                                                                                                                            in
                                     ,




                                                                                                                                                                                                                                                                                         or
                                                                                                                                                                                                                                                other
them range by the side of Sumner Ben Wade Judge




                                                                                                                                                                                                                                      ;
                                                                                                                                                                                      .
                                                                                                                                                                                            provisions
                                                                                  ,




                                                                                                  But he preferred restoration
                                                           ,




                                                                                                                                          reconstruc
                                                                  .




                                                                                                                                                           to
Kelley and Thad Stevens

                                                                                                                                                               "
                                                                                                                           "




                                                                                                                                                     "
                                               "




                                                                                                                                                                                                                     .
         ,




                                             of .
                             .




                                                                                                  tion      He chooses that the slave States should                                              now sir ask for the question
                                                                                                       "
                                                                                                       .




                                                                                                                                                                                             I
                                                  sir




                                                                                                                                                                                                                ,

                                                                                                                                                                                                                        ,
     Mr.




                                                                                                                                                                                                                                                                    .
                                                                                                                  , as




                                                                                                                                                                                               The SPEAKER The question before the
                                                                                            ,




                                                                                                                                   as




                                                                                                                                                          in
                                                                                                                                           their ancient
              of




some      the men named there have since given




                                                                                                                                                                                      he
                                                                                                   condition with such small modifications                                                  House       on concurring         the amendments of




                                                                                                                                                                                                                                                     in
                                                                                                                                                                                 as




                                                                                                                                                                                                                is
                                                                                                            his




way and fallen and are
                                                    , no




                                longer
                                                                         on




                                          Phillips's                                                       prime minister should suggest without                                                                          requires by the Consti




                                                                                                                                                                                                                                      as
                                                                                                   and                                                                                      the Senate      and
                         As,




                                                                                                                                                                                                                                            it
               list




                                                                                                                                                                                                                     ;
                                                                                                                                                                        ,
                                                                 am




loyal
                                                    sir




                     said               not reading                                                any impertinent interference from Congress                                               tution two thirds vote the vote will be taken
                             I
                                          or ,




                                                                                                                                                                                                            a
                                                       I
               .




                                                 cop




                                                                                                                                                                                                                                                 ,
           testimony             testimony
                                                                                  of




                                                                                                                                                                                                                        -
 southern                   the
                                                                                                                                                                                      .
                                                                                                   He anticipated the legitimate action                                                     by yeas and nays
                                                                                                                                                                             of
                                     ,




                                                                                                                                                      the
 perheads    but from this great northern light




                                                                                                                                                                                                                                 .
                                                                                                   national Legislature and by rank usurpation                                                 Mr. DEFREES
                                                                                            ,




                                                                                                                                                                                                                          ask the consent of the
                  ;




                                                                                                                                                                                                                                       I
                                                                                                                                   ,




the man who has done more for the Republi




                                                                                                                                                                                                                                    .
                                                                                                                                 the conquered prov
                                                                                                                                        in




                                                                                                   erected governments                                                                                   print some remarks upon this ques




                                                                                                                                                                                                                to
                                       the country                                                                                                                                          House
can party than any other man
                                                                in




                                                                                                  inces imposed upon them institutions                the
                                                                                                                                                                              in
                                                                                            .




                                                                                                                                                                                            tion which have not had an opportunity of
He was raised among them he has affiliated
                                                                                                        ;




                                                                                                                                                                                                       ,




                                                                                                                                                                                                                     I
                                                                                                  most arbitrary and unconstitutional manner
                                                           ;




                                                                                                                                                                                            delivering
                                                                                            to
                                                                                       as




                                                                                                                                                                                      ;



with them     and he cannot be deceived

                                                                                                                                                                                                                   .
                                                                                                                                    legitimate govern
                   ;




                                                                                                  and now maintains them
                                                                                                                                                as




                    He charges that this Repub
                                                                                                                                                                                                No objection was made and leave was




                                                                                                                                                                                                                                                          ,
their purposes                                                                                    ments and insolently demands that they shall




                                                                                                                                                                                                                                                                be
                                                                                                                                                                                            granted        The speech will
                            .




                                                                                                                                                                                                                                                                                          in
                going before the country wearing                                                                                                                                                                                      found        the
                                                                                                           ,




lican party
                                                                                                                                                                                                                    ] [
                                                                                                                                                                                                               .
                        is




                                                                                                                         in




                                                                                                  be represented        Congress on equal terms with                                        Appendix
             hypocrisy with its visage masked
                  of




   mask                                                                                           loyal and regular States                                                                     Mr. WRIGHT
                                                                                                                                                                                                                   .
                                                                                            ,
a




                                         ,




                                                                                                                                                                                                                         ask the same     privilege
                                amend the Consti



                                                                                                                                                                                                                                      I
                                                                                                                                        .




and that its object     not
                                                    to




                                                                                                                                                                                                                                 .




                                                                                                                                                                                                                                                                                                   .
                                     is




                                                                                                     To repress this tyranny and the same time
                                                                                                                                                          at




tution but as Senator SHERMAN says                                                                                                                                                             No objection was made and leave was
                                                                                  to




                                                                                                                                                                                                                                                          ,
                                                save
                                                                                                         some justice
                                                                                                       do
         ,

                    ,




                                                                          ,




                                                                                                                            conquered rebels requires
                                                                                                  to




                                                                                                                                                                                            granted        The speech will be found
                                                                                                                                  to




                                                                                                                                                                                                                                                                                          in
            the Republican party and he says                                                                                                                                                                                                       the
               of




the life
                                                                                                                                                                                                                     ] [
                                                                                                                                                                                                               .




                                                                                                              The great danger
                                                               " ;




                                                                                                  caution
                                                                                        I. I ,




                                                                                                                                      that the seceders                                     Appendix
                                                                                                                                                     is




   God grant they    may                Now sir
                                                                                                            .
                                                           it




                           lose
                                                                                                                                                                                                                   .
"




                                                                                                  may soon overwhelm the loyal men
                                                                                                                                                                         in




                                                                                                                                                                                               The joint resolution
                                                                                       ,




                                                                                                                                                    Con
                                                                              ,




                                                                                                                                                                                                                                                                              by
                                                           !




                                                                                                                                                                                                                                                 as
                question such authority                                                                                                                                                                                      amended       the Sen
                                                                                  as




cannot call                                     this
                        in




                                                                                                                                upon      by some loyal
                                                                                                                                                          us




                                                                                                  gress    The haste    urged                                                                       as follows
                                                                                                                                                                                                       is




                              talking                                                                                                                                                       ate
He must know what he                   about and
                                                                                                                                                                                                                                 :
                                                                                                        .
                                                 is




                                                                                                  but impetuous men their anxiety
                                                                              ,




                                                                                                                                                                    to




                                                                                                                                                embrace                                     Joint resolution proposing an amendment




                                                                                                                                                                                                                                                                                              to
                                                                                                                                                                                                                                                   the
                                                                                                                                  ;




                    you what he says
                              to




have had read
                                                                                                                                   of




                                                                                                                             rebels their ambition
                                                                                                                                                                                      to




                                                                                                  the representatives                                                                                 Constitution of the United States
                                                                     .




                                                                                                                                                     ;




                                                                                                                                                                                                                                                                                .
    Here the hammer fell                                                                          display their dexterity
                                                                                                                                                                of




                                                                                                                                                                                                                     of by
                                                    , ]




                                                                                                                                 the use      the broad
                                                                                                                                         in




                                                                                                                                                                                                                                             Representatives
 [




                                                 .




                          now sir move the pre
                                                                                                                                                                                                                                                                 of
   Mr. STEVENS                                                                                                                                                                                 Resolved       the Senate and House
                                                                                                                                                                                            of the United States of America             Congressassembled
                                                                                                               of




                                                                                                              charity and especially the danger
                                                                                                                                                                                                                                                          in
                                     I

                                                            ,




                                                                                                  mantle
                                 .




                                                                                                                                                                                                                                                                                                   ,
                                                                                                                              ;




vious question                                                                                    arising from the unscrupulous use                                                           two thirds       both Houses concurring That the fol
                                                                                                                                                                     of




                                                                                                                                                 patron                                                                                                             ),
                                                                                                                                                                                            (
                             .




                                                                                                                                                                                             lowing article be proposed            the Legislatures
                                                                                                                                                                                                                                                     to




                                                                                                                                                                                                                                                                                              of
                                                                                                                                                                                                                                                           the
   The previous question was seconded and the                                                     age and from the oily orations of false prophets                                          several States as an amendment to the Constitution
                                                                                                                                                                                      ,




main question ordered                                                                             famous for    sixty    ay  obligations   and for pro                                       of the United States which when ratified by three
                                          .




                                                                                                                                                                                                                                     ,


                                                                                                                                                                                                                                                     ,




                                                                                                                                                                                                                                                                                     as
                                                                                                                                                                                             fourths of said Legislatures shall be valid               part


                                                                                                                                                                                                                                                                                                   of
                                                                                                                          -d




   ENROLLED BILL AND RESOLUTION SIGNED                                                            tested political promises admonish
                                                                                                                                                                         to




                                                                                                                                                                                                                                                 ,
                                                                                                                                                                    us




                                                                                                                                                   make
                                                                                       .




                                                                                                                                                                                            the Constitution namely
                                                                                                                                        ,




                                                                                                                                                                                                                             ,



                                                                                                                                                                                                                                             :




                                                    from the Committee                            no further   delay
    Mr. TROWBRIDGE                                                                                                                                                                                                     ARTICLE
                                                                                                                          .
                                              ,




                                                                                                                                                                                                                                                          .




                                                                                                         few words will suffice to explain the                                                                                                       the Uni
                                                                                                       A




on Enrolled Bills reported that the commit                                                                                                                                                              All persons born or naturalized
                                                                                                                                                                                                                                                                                in
                                                                                                                                                                                                       1.




                                                                                                                                                                                               SEC
                                 ,




                                                                                                                                                                                                       .
                                                                                                                          by




                     and found truly enrolled                                                                                          the proposition                                                                       the jurisdiction thereof are
                                                                                                                                                                                                                 subject
                                                                                                                                                                                                                                            to
                                                                                                                                                      in




tee had examined                                                                                  changes made         the Senate                                                           ted States and
                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                ,




                                                                                                  which we sent them                                                                         citizens of the United States and of the State wherein
            No. 328 for the relief of Mrs. Abi                                                                                                                                                                                              enforce any law
              , S.




                                                                                                                                  .




an act                                                                                                                                                                                      they reside
                                                                                                                                                                                                                                                                or or or




                                                                                                                                                                                                              No State shall make
                                     )
                (




                                                                                                     The first section        altered by defining who
                                                                                                                                                                                                                   .
                                                                                           51




gail Ryan and joint resolution
                                                                         R.




                                                                                                                                   is




                                        No.                                                                                                                                                  which shall abridge the privileges
                                                                                                                                                                                                                                                                                                   of
                                                                S.




                                                                                                                                                                                                                                             immunities
                                                                                                  are citizens of the United States and of the
                                                                                           )
                                                                (




                                                                                                                                                                                            citizens   of  the    United    States   nor   shall  any State
                                          , to




respecting bounties      colored soldiers   and
                                                                                                                                                                                                                                                      ;
                                                                                  ,




                                                                                                                                                                                                                         life liberty       property with
                                                                                                                                                                                                                                     , of




                                                                                                            This                                    long                                    deprive any person
                                                                                                                         is




the pensions bounties and allowances to their                                                     States              an excellent amendment
                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                              to ,
                                                                                                                                                                                                                                                ,




                                                                                                                                                                                                      process    of law nor    deny      any  person
                                                                                                           .




                                                                                                                                                                             ,




                                                                                                                                                                                            out due                                                    within
                       ,




                                                                                                              settle conflicting decisions between
                                                                                                               to




                                                       -
heirs when the Speaker signed the same                                                            needed                                                                                    its jurisdiction the equal protection             the laws
                                                                                                                                                                                                                                                           of




                                                                                                                                                       It
         ;




                                                                                                                                                                                                                                                                                          .




                                                                                                  the several States and the United States
                                                                                   .




                                                                                                                                                                                                       Representatives       shall be  apportioned     among
                                                                                                                                                                                                       2.




                                                                                                                                                                                               SEC
                                                            AGAIN
                                                                                                                                                                              .




                    RECONSTRUCTION
                                                                                                                                                                                                       .




                                                                                                                                                                                            the several States according            their respective num
                                                                                                                                                                                                                                                     to




                                                                                                  declares this great privilege        belong
                                                                      .




                                                                                                                                                     to




                                                                                                                                                   every
                                                                                                                                                                         to




                                                                                                                                                                                                   counting                             of persons       each
                                                                                                                                                                                                                                                                                          in




                                                                                                                                                                                            bers                the  whole   number
                                                                           do not in
                                                                                                                                                                                                       ,




  Mr. STEVENS      Mr. Speaker                                                                    person born or naturalized        the United States
                                                                                                                                                in




                                                                                                                                                                                            State excluding Indians not taxed                But when the
                                                                 ,
                                                                  AI




                                                                                                                                                                                      .
                                 .




                                                                                                                                                                                                       ,




                                                                                                                                                                                                                                                                .




       detain the House long                                                                                                                                                                right to vote at any election for the choice of elect
          to




tend                                                                      few words                  The second section has received but slight
                                                                                                                                                       It
                                                            .




will suffice                                                                                      alteration       wish      had received more                                              ors for President and Vice President of the United
                                                                                                                                  it
                                                                                                                    I
                    .




                                                                                                                                                                                            States Representatives in Congress the executive
                                                                                                                  .




                                                                                                                                                                              .




                                                                                                                                                                                                                                                                 ,




   We may perhaps congratulate the House                                                          contains much less power than
                                                                                                                                                                                                       ,




                                                                                                                                            could wish                                      and judicial officers of State
                                                                                                                                                                                                                                                                                              of
                                                                                                                                                                                                                                                     or




                                                                                                                                                                                                                                       the members the
                                     ,
                    ,




                                                                                                                                                                                      ;




                                                                                                                                                                                                                                   is a
                                                                                                                                                          It I




                                                                                                                                                                                                                                                     ,




and the country on the near approach                                                                  has not half the vigor of the amendment                                                                               denied to any
                                                                                  to




                                                                                                                                                                                                                                                                             in , - of




                                           com                                                                                                                                              Legislature thereof                                    the male
                                                                                                  it




                                                                                                                                                                                                                                    ,




                                                                                                                                                                                            inhabitants of such State being twenty one years
                                                                                   to




pletion of proposition                                                                                                                      or the prop
                                                  to




                                             the                                                  which was lost
                                                                                                                          in




                            be submitted                                                                                the Senate
                                                                                                                                                                                                                                                 ,




                                                                                                                                                                                                                                                   or in any
                    a




                                                                                                                                                                                            of   age  and citizens     of  the  United    States
                                                                                                                                                     .




                                                                                                                                                                                                           ,




people for the admission                                                                          osition offered by Senator WADE would have
                                                      of
                                                            an




                                 outlawed com                                                                                                                                               way abridged except for participation                   rebellion
                                                                                                                                                                                                                       ,




munity into the privileges and advantages of                                                      worked the enfranchisement of the colored                                                                                       representation
                                                                                                                                                                                                                                                 of




                                                                                                                                                                                                                                                      therein
                                                                                                                                                                                            of of or




                                                                                                                                                                                                 other crime the basis
                                                                                            a




                                                                                                                                                                                                                         ,
                                                                                                                                                                                                           be




                                                                                                  man in half the time                                                                                               the proportion which the number
                                                                                                                                                                                                                               in




civilized and free Government                                                                                                                                                               shall     reduced
                                                                                                                                                                                                                                                          to
                                                            .




                                                                                                                               .




                                                                                                                                                                                                such male    citizens  shall   bear     the  whole    number
   When say that we should rejoice                                                                   The third section has been wholly changed
                                                                                  at




                                            such                                                                                                                                                male citizens twenty one years            age such State
                                                                                                                                                                                                                                                                           orin
                                                                                                                                                                                                                                                            of
                I




                                                                                                                                                                                                                                                                                                   .
                                                                                                  by




                                                                                                                                                                                                                                      -




                                                                                                                                                                                                                                                 Represent
                             at do




completion                                                                                            substituting the ineligibility       certain high                                                 No person shall be Senator
                                                                                                                                                                                                       in3.
                                                                              so




                   not thereby intend
                                                                                                                                                           of




                                           much                                                                                                                                                SEC
                                                                                                                                                                                                                                                     a
              ,




                                                                                                                                                                                                         .




                                                                                                                                                                                                                                                      of
                       I




                      superior                                                                                                                                                                         Congress                       President and Vice
                                                                                                                                                                                                                                   or or




                                                                                                                                                                                                                        elector
                                                                                   of




           joy                               the                                                  offenders for the disfranchisement of all rebels                                          ative
to




   express        the          excellence
                                                                                                                                                                                                                               ,




                                                                                                                                                                                                                    any  office civil      military
                                                                                                                                                                                                                                                                or




                                                                                                                                                                                                                                                        under
                                                                                                                                                                                                                or




                                                                                                                                                                                            President        hold
                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                 ,




                                                                                                  until 1870
                                                                                                                                                                                                                ,
                                                       to
                   as




             that there        be
                                                                                   -
                                                 is




scheme                                scheme                                                                                                                                                                             under any State who having
                                                                 a




                                                                                                                                                                                            the United States
                                                                                            , a
              ,




                                                                                                            It I .




                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                     ,




scheme containing much positive good
                                                                              of as




                                                                                                                                                          as




                                           well                                                               cannot look upon            an improve
                                                                                                                                                                                                                                 an




                                                                                                     This
                                                                                                                                                                                                                                          or as




                                                                                                                                                                                            previously taken                                       Congress,
                                                                                                                                                                                                                                                                              of




                                                                                                                                                                                                                       oath         member
                                                                          ,




                                                                                                                                                                                                                                          as a




                                           many                                                                                                                                             or as an officer of the United States or as member
                                                                                                                                                                                                                                                                             a




                                                                                                  ment                                                                                                                                                  judi
                         to




                                                                                                              opens the elective franchise
                                                                                                                                                                            to




                                                                                                                                                                                                                                                               ,
                                              as




  am bound      admit     the omission                                                                                                              such
                                                                                                                                                                                                                                                                                         or
I




                                                                                                                                                                                                any State Legislature
                                                                                                        .




                                                                                                                                                                                                                                    an executive
                                         ,




                                                                                                                                                                                            of




                                                                                                                                                                                                                                          ,
                                                                                                  as




better things                                                                                                                             In my judg
                                                                                                                                        to




                                                                                                      the States choose         admit                                                                         any State        support the Constitution
                                                                                                                                                                                                                    of




                                                                                                                                                                                                                                       to




                                                                                                                                                                                            cial officer
                        .




                                                                                                                                                                                                                                       ,
                                                                                                                                                      .
                      Case 1:25-cv-10139-LTS                          Document 5-27                 Filed 01/21/25              Page 14 of 14

 1866 .                                                 THE CONGRESSIONAL GLOBE .                                                                              3149
 of the United States, shall have engaged in insurrec           Mr. ELDRIDGE .             I
                                                                                       desire to state that     if   table and the demand for the previous ques
 tion or rebellion against the same, or given aid or          Messrs . Brooks and Voorhees had not been              tion .
 comfort to the enemies thereof . But Congress may ,
 by a vote of two thirds of each House , remove such          expelled , they would have voted against this             Mr. STEVENS .            I
                                                                                                                                             move that the House
 disability .                                                 proposition . [ Great laughter . ]                     adjourn .
    SEC. 4. The validity of the public debt of the United
 States, authorized by law, including debts incurred
                                                                Mr. SCHENCK . And              I
                                                                                           desire to say that           The SPEAKER . Will the gentleman from
 for payment of pensions and bounties for services in         if Jeff. Davis were here , he would probably           Pennsylvania [ Mr. STEVENS ] withdraw the
 suppressing insurrection or rebellion , shall not be         also have voted the same way .         [Renewed        motion to allow the Chair to lay before the
 questioned. But neither the United States nor any            laughter . ]                                            House several executive communications ?
 State shall assume or pay any debt or obligation
 incurred in aid of insurrection or rebellion against            Mr. WENTWORTH . And so would Jake                      Mr. STEVENS .        I
                                                                                                                                            will withdraw the motion
 the United States, or any claim for the loss or eman         Thompson .                                             for that purpose .
 cipation of any slave ; but all such debts , obliga
                                                                 The result of the vote having been announced                  DIRECT TAXES IN GEORGIA .
 tions, and claims shall be held illegal and void .
   SEC. 5. The Congress shall have power to enforce ,         as above recorded ,                                       The SPEAKER laid before the House the
 by appropriate legislation , the provisions of this            Mr. STEVENS moved to reconsider the vote
 article.                                                                                                            following message from the President of the
                                   concurring with the        by which the amendments      of the Senate were        United States :
     The question was put on                                  concurred in ; and also moved to lay the motion
   amendments of the Senate ; and there were                  to reconsider on the table .                           To the Senate and House of Representatives :
   yeas 120, nays 32 , not voting 32 ; as follows :                                                                    I  communicate , and invite the attention of
           -
     YEAS Messrs. Alley , Allison , Ames , Delos R.
   Ashley, James M. Ashley , Baker , Baldwin , Banks ,
                                                                 The latter motion was agreed to ..
                                                                The   SPEAKER .     The House is now en
                                                                                                                     Congress to , a copy of joint resolutions of the
   Barker , Baxter , Beaman , Bidwell , Bingham , Blaine ,    gaged in executing the order of the House to
                                                                                                                     Senate and House of Representatives       of the
   Boutwell , Bromwell , Buckland , Bundy , Reader W.                                                                State of Georgia , requesting the suspension of
                                                              proceed to business upon the Speaker's table .         the collection of the internal revenue tax due
   Clarke, Sidney Clarke , Cobb , Conkling , Cook , Cul
  lom, Darling , Davis , Dawes , Defrees , Delano , Dodge,              RIVER AND HARBOR BILL .                      from that State pursuant to an act of Congress
  Donnelly, Driggs , Dumont , Eckley , Eggleston , Eliot ,
  Farnsworth , Farquhar , Ferry , Garfield , Grinnell ,          The next business upon the Speaker's table          of 5th of August , 1861 .
  Griswold , Hale , Abner C. Harding , Hart , Hayes , Hen     was the amendments      of the Senate to House                              ANDREW JOHNSON .
  derson, Higby , Holmes , Hooper , Hotchkiss , Asahel                                                                  WASHINGTON , D. C. , June 11 , 1866 .
  W. Hubbard , Chester D. Hubbard , John H. Hubbard ,         bill No. 492 , making appropriations for the
  James R. Hubbell , Jenckes , Julian , Kelley , Kelso ,      repair , preservation , and completion of cer            The message , with accompanying documents ,
  Ketcham , Kuykendall , Laflin , Latham , George V.          tain public works heretofore commenced under           was referred to the Committee of Ways and
  Lawrence, Loan , Longyear , Lynch , Marvin , Me

                                                                                                                                                      -
  Clurg, McKee , McRuer , Mercur , Miller , Moorhead ,        authority of law , and for other purposes .            Means and ordered to be printed .
  Morrill , Morris , Moulton , Myers , Newell , O'Neill ,        Mr.  ELIOT.I      move that the House non                 AGRICULTURAL COLLEGE           GEORGIA .
  Orth, Paine , Perham , Phelps , Pike , Plants , Pomeroy ,   concur in the amendments of the Senate , and
 Price , William H. Randall , Raymond , Alexander H.
                                                              ask for a committee of conference on the dis             The SPEAKER also laid before the House
 Rice , John H. Rice , Sawyer , Schenck , Scofield , Shel
 labarger, Sloan , Smith , Spalding . Stevens , Stilwell ,    agrecing votes of the two Houses .                     the following message from the President of
 Thayer, Francis Thomas , John L. Thomas , Trow                                                                      the United States :
 bridge, Upson , Van Aernam , Robert T. Van Horn ,
                                                                The motion was agreed to .
 Ward , Warner , Henry D. Washburn , William B.                  Mr. ELIOT moved to reconsider the vote              To the Senate and House of Representatives :
 Washburn , Welker , Wentworth , Whaley , Williams ,          just taken ; and also moved that the motion to            It is proper that I should inform Congress
           - -
 James F. Wilson , Stephen F. Wilson , Windom , and
 the Speaker 120.                                             reconsider be laid on the table .                      that a copy of an act of the Legislature of
    NAYS Messrs . Ancona , Bergen , Boyer , Chanler ,            The latter motion was agreed to .                   Georgia of the 10th of March last has been
 Coffroth, Dawson , Denison , Eldridge , Finck , Gloss                                                               officially communicated     to me , by which that
brenner , Grider , Aaron Harding , Hogan , Edwin N.                    STEAMBOAT       INSPECTION   LAW .
                                                                                                                     State accepts the donation of land for the ben
 Hubbell , James M. Humphrey , Kerr , Le Blond , Mar
shall , Niblack , Nicholson , Samuel J. Randall , Ritter ,       The next business upon the Speaker's table          efit of colleges for agriculture and the mechanic
Rogers , Ross , Sitgreaves , Strouse , Taber , Taylor ,       was the amendments      of the Senate to House         arts , which donation was provided for by the
    NOT VOTING         -
Thornton , Trimble , Winfield , and Wright      -   32.
                         Messrs . Anderson , Benjamin ,       bill No. 477 , further to provide for the safety       acts of Congress       of 2d July and 14th April ,
Blow , Brandegee , Broomall , Culver . Deming , Dixon ,       of the lives of passengers on board of vessels         1864 .                  ANDREW JOHNSON .
Goodyear , Harris , Hill , Demas Hubbard , Hulburd ,          propelled in whole or in part by steam , to reg
James Humphrey , Ingersoll , Johnson , Jones , Kasson ,                                                                  WASHINGTON , D. C. , June 11 , 1866 .
William Lawrence , Marston , McCullough , McIndoe ,           ulate the salaries of steamboat inspectors , and
                                                              for other purposes .                                      The message was laid upon the table and
Noell , Patterson , Radford , Rollins , Rousseau , Shank
lin , Starr , Burt Van Horn , Elihu B. Washburne , and
Woodbridge 32.    -                                              Mr. ELIOT .       I move that the bill and
                                                                                                                      ordered to be printed .
                                                                                                                                 DRAFT IN PENNSYLVANIA ,
                                                              amendments     be referred to the Committee on
    The SPEAKER . Two thirds of both Houses                   Commerce .                                                The SPEAKER also laid before the House
having concurred in the joint resolution (H. R.                 The motion was agreed to .                           a communication from the Secretary of War , in
No. 127) proposing an amendment to the Con                             EXAMINERS OF PATENTS .                        answer to a resolution of the House of Repre
stitution of the United States , the joint reso
                                                                                                                     sentatives of the 11th instant , in regard to the
lution has passed .                                              The next business upon the Speaker's table          draft in the eighth congressional district of
     During the roll -call on the foregoing vote ,            was Senate   bill No. 350 , to authorize the Com       Pennsylvania .
     Mr. KELLEY said :       I
                             desire to announce                missioner of Patents to pay those employed as            Mr. ANCONA .         I
                                                                                                                                             move that this communi
that Mr. BROOMALL , and Mr. WASHBURNE of                       examiners and assistant examiners the salary          cation be printed and referred to the Commit
 Illinois , are paired with Mr. SHANKLIN upon                 fixed by law for the duties performed by them ;        tee on  Military Affairs .
this question .                                               which was read a first and second time .                  The motion was agreed to .
   Mr. LAFLIN said :        I wish to announce that              Mr. JENCKES .         Iask that this bill be put
                                                                                                                               BRITISH AMERICAN TRADE .
my colleague , Mr. VAN HORN , is paired upon                  upon its passage now .
this question with Mr. GOODYEAR .                                Mr. RANDALL , of Pennsylvania . Let the                The SPEAKER also laid before the House
   Mr. ANCONA said : My colleague , Mr.                       bill be read .  I want to know what it is .            a communication from the Secretary of the
JOHNSON , is absent on account of sickness ,                     The bill was read at length . It authorizes         Treasury in answer to a resolution of the House
and is paired upon this question with Mr. ROL                 the Commissioner of Patents to pay those em            of Representatives of March 28 , 1866 , calling
LINS and Mr. MARSTON , of New Hampshire .                     ployed in the Patent Office from April 1 , 1861 ,      for information in regard to commercial rela
   Mr. DARLING said :            I
                            desire to state that              until August 1 , 1865 , as examiners and assist        tions with British America .
my colleague , Mr. JAMES HUMPHREY , is de                     ant examiners of patents , at the rate fixed by           The question was upon ordering the commu
tained at home by sickness .            If
                                    present he                law for those respective grades , provided that        nication to be printed .
would have voted in the affirmative .                         the same be paid out of the Patent Office fund ,          Mr. DAVIS . Can an objection be made at
   Mr. WINFIELD said : My colleague , Mr.                     the compensation thus to be paid not to exceed          this time to the printing of this communication ?
RADFORD , is unavoidably detained      from his               that paid to those duly enrolled as examiners             The SPEAKER . It is customary to order
 seat . Ifhere he would have voted against the                and assistant examiners for the same period .          the printing of all executive communications
 Senate amendment .                                              Mr. JENCKES . This matter has been con              without putting the question to the House ,
   Mr. ASHLEY , of Ohio , said : My colleague ,               sidered by the House Committee on Patents ,            unless objections be made to the printing .
 Mr. LAWRENCE , has been called home in con                   who have recommended it once during the last              Mr. DAVIS .     I  object to the printing of this
 sequence of the death of his father .
                               17
                                           pres If            Congress    and once during the present Con            communication .
 ent he would have voted " ay ."                              gress . I call the previous question upon the             The SPEAKER . Objection being made , the
   Mr. COBB said : Mr. McINDOE is detained                    passage of the bill ."                                 question of printing will be submitted to the
from his seat by illness .
in the affirmative .
                                 If here he would vote           Mr. HARDING , of Illinois .        I move that      House .
                                                              the bill be laid upon the table .                         Mr. DAVIS . Before the question is taken
   Mr. MOULTON said : My colleague , Mr.                         Mr. RANDALL , of Pennsylvania .            I sug    I desire to say a single word upon it .
                                                                                                                     understand this communication
                                                                                                                                                                      If I
INGERSOLL , has gone home under leave of ab                   gest that this bill better be referred to the Com
sence from the House .                                        mittee on Patents .                                       Mr. WENTWORTH . What is the question
   Mr. HART said : Mr. HUBBARD , of New                          Mr. FARNSWORTH .              Iunderstand that      before the House ?
York , is absent on account of death in his                   the Committee on Patents of this House have               The SPEAKER . It is whether the commu
family .     If
              he had been here he would have                  examined this bill and decided to report unan          nication from the Secretary of the Treasury
voted  " ay.   "                                              imously in its favor .                                 in regard to commercial relations with British
   Mr. WASHBURN , of Indiana , said : My                         Mr. ROSS . Is a motion to refer the bill            America shall be printed .
colleague Mr. HILL , is absent by leave of the                now in order ?                                            Mr. WENTWORTH . Before that question
House .      If
              here he would have voted in the                    The SPEAKER . That motion is not now                is voted upon , or even debated , I insist thatthe
affirmative .                                                 in order , pending the motion to lay upon the          communication shall be read .      I object to one
